Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20   PageID.37924   Page 1
                                    of 58




                         Exhibit 3
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                  PageID.37925      Page 2
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                     799
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          have probable cause to believe a car is
          subject to forfeiture, or have validly seized                GEICO CORPORATION,
          a car for forfeiture, the polic[e] may search                   et al., Plaintiffs,
          the car without a warrant.’ ’’) (quoting
                                                                                    v.
          United States v. Pace, 898 F.2d 1218, 1245
          (7th Cir. 1990) ).                                    AUTOLIV, INC., et al., Defendants.

             The officers determined the Jeep had no                         Case No. 16-13189
          lawful reason to be parked in the driveway                 United States District Court,
          of the Hemlock residence and was subject                 E.D. Michigan, Southern Division.
          to impound for this reason alone. However,
          the police had probable cause to believe                           Signed 08/30/2018
          the car was subject to forfeiture for the          Background: Automobile insurer, as auto
          separate reason that it was being used for         parts purchaser, automobile purchaser,
          the transportation of narcotics. See 21            and insurer reimbursing its insureds or
          U.S.C. § 881(a)(4) (‘‘All conveyances, in-         third-party claimants, brought action
          cluding TTT vehicles TTT which are used            against auto parts manufacturers and sup-
          TTT to transport, or in any manner facili-         pliers alleging conspiracies to fix prices,
          tate the transportation, sale, receipt, pos-       rig bids, and allocate markets in violation
          session, or concealment of controlled sub-         of federal antitrust laws and state laws.
          stances TTT are subject to forfeiture.’’); see     Defendants moved to dismiss for lack of
          also United States v. Decker, 19 F.3d 287,         subject matter jurisdiction and for failure
          290 (6th Cir. 1994) (‘‘[W]here police have         to state a claim.
          probable cause to believe a car is subject
                                                             Holdings: The District Court, Marianne
          to forfeiture, or have validly seized a car
                                                             O. Battani, J., held that:
          for forfeiture, the polic[e] may search the
          car without a warrant.’’)(internal quotation       (1) proper remedy for insurer’s misjoinder
          marks omitted).                                        of sixteen part-specific antitrust claims
                                                                 was severance of each claim into sepa-
                                                                 rate actions, rather than dismissal of
            IV.   CONCLUSION
                                                                 entire action;
            Accordingly, for the reasons articulated         (2) insurer had Article III standing to
          above, the Defendant’s Motion to Suppress              bring federal antitrust claims;
          Evidence [# 27] is DENIED.
                                                             (3) insurer lacked Article III standing to
            SO ORDERED.                                          bring state antitrust claims;
                                                             (4) insurer had antitrust standing in its
                                                                 capacity as purchaser, but not in its
                                                                 role of making insurance payments;

                       ,                                     (5) insurer failed to state antitrust claims
                                                                 under laws of various states;
                                                             (6) insurer stated claim under Nevada
                                                                 consumer protection law; and
                                                             (7) insurer stated unjust enrichment
                                                                 claims under laws of various states.
                                                             Motion granted in part and denied in part.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                              PageID.37926        Page 3
                                    of 58




          800                   345 FEDERAL SUPPLEMENT, 3d SERIES


          1. Antitrust and Trade Regulation               largely unique to subset of defendants in-
                 O972(4)                                  volved in each market for subject auto
               Automobile insurer sufficiently al-        part, and remaining defendants would
          leged separate conspiracy for each of           have little or no involvement or relation-
          sixteen auto parts, as required to state        ship to operative facts of other conspira-
          antitrust claims against auto parts manu-       cies. Fed. R. Civ. P. 20(a)(2).
          facturers and suppliers in connection
                                                          6. Federal Civil Procedure O241
          with alleged conspiracies to fix prices,
                                                               The logical relationship test for per-
          rig bids, and allocate markets, where in-
                                                          missive joinder is satisfied if there is sub-
          surer alleged one conspiracy for each
                                                          stantial evidentiary overlap in the facts
          auto part identified in complaint, that
                                                          giving rise to the cause of action against
          each conspiracy involved subset of one
                                                          each defendant. Fed. R. Civ. P. 20(a)(2).
          or more specific defendants along with
          unnamed co-conspirators, and time peri-         7. Federal Civil Procedure O241
          ods for each alleged conspiracy.                     To satisfy the logical relationship test
          2. Federal Civil Procedure O241                 for permissive joinder, a plaintiff’s claims
               The standards for permissive joinder       must share an aggregate of operative
          are liberally construed, in order to pro-       facts. Fed. R. Civ. P. 20(a)(2).
          mote trial convenience and expedite the         8. Federal Civil Procedure O241
          final determination of disputes by avoiding
                                                               The logical relationship test is a flexi-
          multiple lawsuits where possible. Fed. R.
                                                          ble and case-specific standard, and the
          Civ. P. 20(a)(2).
                                                          mere fact that a case involves independent
          3. Federal Civil Procedure O241                 actors as defendants does not necessarily
               Permissive joinder serves the larger       bring the case outside the scope of the
          objective under the Federal Rules of Civil      permissive joinder rule. Fed. R. Civ. P.
          Procedure of entertaining the broadest          20(a)(2).
          possible scope of action consistent with        9. Federal Civil Procedure O87, 1750
          fairness to the parties. Fed. R. Civ. P.
                                                                Proper remedy for automobile insur-
          20(a)(2).
                                                          er’s misjoinder of sixteen part-specific an-
          4. Federal Civil Procedure O241                 titrust claims against auto parts manufac-
               The permissive joinder of defendants       turers and suppliers was severance of each
          is encouraged for purposes of judicial effi-    alleged claim of conspiracy to fix prices,
          ciency. Fed. R. Civ. P. 20(a)(2).               rig bids, and allocate markets of sixteen
                                                          auto parts into separate actions, rather
          5. Federal Civil Procedure O251
                                                          than dismissal of entire action, since mis-
                Permissive joinder of sixteen part-spe-   joinder of parties was not ground for dis-
          cific antitrust claims by automobile insurer    missing an action, and district court had
          against auto parts manufacturers and sup-       wide latitude in fashioning appropriate re-
          pliers was not warranted, even if some          lief, including adding or dropping a party
          defendants were involved in more than one       or severing any claim against a party.
          alleged conspiracy to fix prices, rig bids,     Fed. R. Civ. P. 20(a)(2), 21.
          and allocate markets for auto parts, since
          evidence that would be needed to show           10. Federal Civil Procedure O103.2
          that defendants involved in each conspira-           To demonstrate Article III standing, a
          cy had entered into agreement would be          plaintiff must first allege that it has suf-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                  PageID.37927        Page 4
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                     801
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          fered an ‘‘injury in fact,’’ that is, an inva-     facts that are necessary to support the
          sion of a legally protected interest which is      claim. U.S. Const. art. 3, § 2, cl. 1.
          (1) concrete and particularized, and (2) ac-
                                                             16. Antitrust and       Trade     Regulation
          tual or imminent, not conjectural or hypo-
                                                                   O963(3)
          thetical. U.S. Const. art. 3, § 2, cl. 1.
              See publication Words and Phrases                   Automobile insurer sufficiently al-
              for other judicial constructions and           leged injury-in-fact, as required for Article
              definitions.                                   III standing to bring federal antitrust
          11. Federal Civil Procedure O103.3                 claims against auto parts manufacturers
               To demonstrate Article III standing,          and suppliers, whether as auto parts pur-
          the alleged injury must be fairly traceable        chaser, automobile purchaser, or as insur-
          to the challenged action of the defendant,         er reimbursing its insureds or third-party
          and not the result of the independent ac-          claimants; insurer alleged that it directly
          tion of some third party not before the            purchased subject auto parts, that it was
          court. U.S. Const. art. 3, § 2, cl. 1.             indirect purchaser by virtue of its owner-
                                                             ship of fleet of vehicles, and that it directly
          12. Federal Civil Procedure O103.3                 paid repair professionals for auto parts
               To demonstrate Article III standing, a        after they repaired insured vehicles, and
          plaintiff must allege that a favorable feder-      insurer’s allegation that defendants’ al-
          al court decision is likely to redress the         leged price-fixing activities led to higher
          alleged injury. U.S. Const. art. 3, § 2, cl.       reimbursement payments for insurance
          1.                                                 claims that did not entail purchase of auto
                                                             parts did not give rise to separate claims,
          13. Federal Civil Procedure O103.2
                                                             rather it was issue of damages. U.S.
              The party invoking federal jurisdiction
                                                             Const. art. 3, § 2, cl. 1.
          bears the burden of establishing the ele-
          ments for Article III standing. U.S.               17. Antitrust and       Trade     Regulation
          Const. art. 3, § 2, cl. 1.                               O963(3)
          14. Federal Civil Procedure O103.2                       Automobile insurer did not sufficiently
                Because Article III standing is not a        allege injury-in-fact, and, thus, lacked Arti-
          mere pleading requirement, but rather an           cle III standing to bring antitrust claims
          indispensable part of the plaintiff’s case,        under various state laws against auto parts
          each element must be supported in the              manufacturers and suppliers; insurer did
          same way as any other matter on which              not allege that it actually purchased any
          the plaintiff bears the burden of proof, i.e.,     relevant auto part or made any reimburse-
          with the manner and degree of evidence             ment payment for repair of insured vehicle
          required at the successive stages of the           in any particular state, and injury in each
          litigation. U.S. Const. art. 3, § 2, cl. 1.        state could not be assumed from fact that
                                                             it was second largest automobile insurer in
          15. Federal Civil Procedure O103.5,                the United States. U.S. Const. art. 3, § 2,
                 1829                                        cl. 1.
               At the pleading stage of a case, gener-
          al factual allegations of injury resulting         18. Federal Civil Procedure O103.2
          from the defendant’s conduct may suffice                 Article III standing cannot be in-
          to demonstrate Article III standing, for on        ferred, but instead must affirmatively ap-
          a motion to dismiss, a court presumes that         pear in the record. U.S. Const. art. 3, § 2,
          general allegations embrace those specific         cl. 1.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                               PageID.37928        Page 5
                                    of 58




          802                    345 FEDERAL SUPPLEMENT, 3d SERIES


          19. Antitrust and       Trade     Regulation      of damages, and the existence of more
                O963(3)                                     direct victims of the alleged conspiracy,
               Automobile insurer sufficiently al-          weigh heavily against judicial enforcement
          leged traceability, as required for Article       of the plaintiff’s antitrust claim.
          III standing to bring federal antitrust           22. Antitrust and Trade Regulation
          claims against auto parts manufacturers                  O960
          and suppliers, whether as auto parts pur-
                                                                 Antitrust standing is a threshold,
          chaser, automobile purchaser, or as insur-
                                                            pleading-stage inquiry, and when a com-
          er reimbursing its insureds or third-party
                                                            plaint by its terms fails to establish this
          claimants; insurer alleged that defendants
                                                            requirement, the court must dismiss it as a
          conspired to fix prices, rig bids, and allo-
                                                            matter of law.
          cate markets for auto parts, that such
          allegedly anticompetitive conduct led to          23. Antitrust and Trade Regulation
          supra-competitive prices for auto parts                  O960
          that it directly purchased or directly paid           The factors for antitrust standing are
          repair professionals for after they repaired      to be balanced, and no single factor is
          insured vehicles, and whether allegedly           conclusive.
          anticompetitive conduct resulted in higher
          claim payments for damaged vehicles or            24. Antitrust and Trade Regulation
          totaled vehicles reflected separate types of             O965
          damages, rather than separate claims.                  Automobile insurer had antitrust
          U.S. Const. art. 3, § 2, cl. 1.                   standing, in its capacity as purchaser of
                                                            auto parts and owner of fleet of vehicles, to
          20. Antitrust    and    Trade     Regulation      bring price-fixing claims against auto parts
                O960                                        manufacturers and suppliers; any direct
               To establish antitrust standing, a           purchases of auto parts at supra-competi-
          plaintiff cannot rely solely upon allegations     tive prices was direct link between defen-
          of consequential harm resulting from a            dants’ alleged antitrust violations and re-
          violation of the antitrust laws, because          sulting harm to insurer, and purchasing
          Congress did not intend to allow every            vehicle that contained auto parts that were
          person tangentially affected by an anti-          allegedly price-fixed by defendants satis-
          trust violation to maintain an action to          fied antitrust standing factors.
          recover threefold damages for the injury
                                                            25. Antitrust and Trade Regulation
          to his business or property.
                                                                   O967
          21. Antitrust and       Trade     Regulation           Automobile insurer did not have anti-
                O963(1)                                     trust standing to bring price-fixing claims
                Even when an antitrust plaintiff alleg-     against auto parts manufacturers and sup-
          es an antitrust violation and resulting           pliers arising from its payments to repair
          harm to support antitrust standing, his           professionals for cost of replacement auto
          claim may not go forward if other relevant        parts used to repair vehicles belonging to
          factors, including the nature of the plain-       insureds and third-party claimants, since
          tiff’s injury, the tenuous and speculative        risk of duplicative recovery and existence
          character of the relationship between the         of more direct victims weighed heavily
          alleged antitrust violation and the plain-        against insurer’s antitrust standing, given
          tiff’s alleged injury, the potential for dupli-   that repair professionals were indirect pur-
          cative recovery or complex apportionment          chasers of relevant auto parts that were
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37929        Page 6
                                    of 58



                                     GEICO CORP. v. AUTOLIV, INC.                                    803
                                      Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          subject of defendants’ alleged price-fixing       er did not allege that any anticompetitive
          conspiracies and were putative class mem-         conduct by defendants affected its claim
          bers in related class action against defen-       adjustment process.
          dants by indirect purchasers, and there
          was insufficient connection between insur-        28. Federal Civil Procedure O1831
          er’s repair payments and pertinent auto                Issue of whether releases granted by
          part markets.                                     insureds, as indirect purchasers, to auto
                                                            parts manufacturers and suppliers in relat-
          26. Antitrust and Trade Regulation
                                                            ed multidistrict litigation (MDL) extin-
                  O967
                                                            guished any subrogation rights of automo-
               Automobile insurer did not have anti-        bile insurer to bring antitrust claims
          trust standing to bring price-fixing claims
                                                            against manufacturers and suppliers aris-
          against auto parts manufacturers and sup-
                                                            ing from insurer’s payments to insureds
          pliers arising from its payments to in-
                                                            and third-party claimants could not be re-
          sureds or third-party claimants to settle
                                                            solved at motion to dismiss phase because
          automotive damage or repair claims that
                                                            of factual dispute as to whether defendants
          might or might not entail purchase and
                                                            had knowledge or notice of insurer’s poten-
          installation of replacement auto parts,
                                                            tial subrogation rights arising from its
          since payments covered cost of separate
                                                            claim payments to insureds.
          indirect purchases of auto parts, duplica-
          tive recovery was not only possibility but        29. Insurance O3513(3)
          near certainty, given settlements reached              The doctrine of equitable subrogation,
          in related multidistrict litigation (MDL)         as applied in the insurance context, allows
          between defendants and indirect purchas-          an insurer to sue a third party for injuries
          ers of auto parts, indirect purchasers in-        that the third party caused to the insured,
          volved in related MDL were more direct            when the insurer compensated the insured
          victims, and reimbursement payments               for those injuries.
          were made in role as insurer, not as partic-
          ipant in pertinent auto parts markets.            30. Insurance O3523(3)
                                                                 A subrogation claim by an insurer de-
          27. Antitrust and Trade Regulation
                                                            pends upon the claim of the insured and is
                 O967
                                                            subject to whatever defenses the tortfea-
               Automobile insurer did not have anti-
                                                            sor has against the insured.
          trust standing to bring price-fixing claims
          against auto parts manufacturers and sup-         31. Insurance O3523(4)
          pliers arising from its payments to in-                When an insured settles with or re-
          sureds or third-party claimants for vehi-         leases a third party from liability for a loss
          cles declared a total loss, even though           that the third party has caused, the insur-
          there was neither risk of duplicative recov-      er’s subrogation right against such party
          ery nor more direct victim, given that pay-       may be destroyed.
          ments did not reimburse for any purchase
          of replacement auto parts, since any injury       32. Insurance O3523(4)
          to insurer from making total loss pay-                 Where a third party obtains a release
          ments did not occur in auto part markets          from an insured with knowledge that the
          in which defendants allegedly conspired,          latter has already received payment from
          insurance market in which total loss pay-         the insurer or with information that, rea-
          ments were made was not inextricably              sonably pursued, should give him knowl-
          linked with auto parts markets, and insur-        edge of the existence of the insurer’s sub-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                               PageID.37930        Page 7
                                    of 58




          804                   345 FEDERAL SUPPLEMENT, 3d SERIES


          rogation rights, such a release does not        complaint affirmatively show that the
          bar the insurer’s right of subrogation; this    claim is time-barred, and it is the plaintiff’s
          exception to the general rule, that a re-       burden in this instance to affirmatively
          lease bars the insurer’s right of subroga-      plead circumstances which would indicate
          tion, is intended to prevent a release from     why the events giving rise to a claim were
          operating as a fraud upon the insurer.          not discovered earlier or why the statute
                                                          of limitations should be tolled. Fed. R.
          33. Insurance O3513(2)
                                                          Civ. P. 8(c)(1), 12(b)(6).
              An insurer’s right of subrogation at-
          taches, by operation of law, upon its pay-      38. Limitation of Actions O58(1)
          ment of an insured’s loss caused by a third
          party.                                               Although under the continuing viola-
                                                          tion doctrine, each overt act starts a new
          34. Federal Civil      Procedure     O677,      period of limitation for claims arising from
                1752.1                                    the overt act, the commission of a separate
               It generally is not appropriate to         new overt act generally does not permit
          grant a motion to dismiss for failure to        the plaintiff to recover for the injury
          state a claim on the basis of an affirmative    caused by old overt acts outside the limita-
          defense, because a plaintiff ordinarily has     tion period.
          no obligation to plead around the affirma-
          tive defense in order to state a viable         39. Limitation of Actions O126.5
          claim. Fed. R. Civ. P. 8(c)(1), 12(b)(6).
                                                               The commencement of a class action
          35. Federal Civil Procedure O1752.1             suit tolls the applicable statutes of limita-
               A motion to dismiss for failure to state   tion for all those who would have been
          a claim may be granted where the undis-         members of the putative class but instead
          puted facts as set forth in the pleadings       elect to opt out of the class action and file
          conclusively establish an affirmative de-       individual claims.
          fense as a matter of law. Fed. R. Civ. P.
          8(c)(1), 12(b)(6).                              40. Antitrust and       Trade     Regulation
                                                                O972(3)
          36. Federal Civil Procedure O1831
                                                               Automobile insurer did not sufficiently
               Issue of whether automobile insurer’s
                                                          allege nexus between intrastate commerce
          claims against auto parts manufacturers
                                                          and allegedly anticompetitive conduct by
          and suppliers under federal antitrust laws,
                                                          auto parts manufacturers and suppliers,
          state antitrust laws, and state consumer
                                                          and, thus, failed to state antitrust claims
          protection laws, and for unjust enrichment
                                                          against manufacturers and suppliers under
          were barred by applicable statute of limi-
                                                          Alabama, Mississippi, Nevada, New York,
          tations could not be resolved at motion to
                                                          North Carolina, South Dakota, Tennessee,
          dismiss phase because of factual dispute as
                                                          West Virginia, and District of Columbia
          to accrual of claims and availability of, and
                                                          law on such basis, where insurer did not
          interaction among, class action tolling, dis-
                                                          allege that it resided in or purchased alleg-
          covery rule, doctrine of fraudulent conceal-
          ment, and continuing violations doctrine.       edly price-fixed auto parts or automobiles
                                                          containing such auto parts in Alabama,
          37. Federal Civil Procedure O1754               Mississippi, Nevada, New York, North
              Dismissal for failure to state a claim is   Carolina, South Dakota, Tennessee, West
          appropriate where the allegations in the        Virginia, or District of Columbia.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                               PageID.37931       Page 8
                                    of 58



                                     GEICO CORP. v. AUTOLIV, INC.                                  805
                                      Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          41. Antitrust and Trade Regulation                damages resulting from their alleged anti-
                 O972(3)                                    competitive activities that occurred on or
              Automobile insurer did not allege that        after effective date of amendment that al-
          it was citizen or resident of Utah, and,          lowed indirect purchasers to recover for
          thus, failed to state antitrust claim under       violations of unfair competition provision,
          Utah law against auto parts manufacturers         since insurer was pursuing price-fixing
          and suppliers on such basis; insurer al-          conspiracy claim, not claim for unfair
          leged that it had sufficient contacts with        methods of competition, and amendment
          Utah to sue or be sued in Utah courts, but        only affected unfair competition provision,
          Utah’s antitrust law demanded Utah citi-          not provision prohibiting restraints of
          zenship or residency, not a capacity to sue       trade, price fixing, and limitation of pro-
          or be sued in Utah. Utah Code Ann. § 76-          duction. Haw. Rev. Stat. §§ 480-2, 480-4,
          10-3109(1)(a).                                    480-13.
          42. Antitrust and Trade Regulation                45. Antitrust and Trade Regulation
                 O972(5)                                           O496
               Automobile insurer did not sufficiently           Automobile insurer sufficiently alleged
          allege any injury to person or property in        that auto parts manufacturers and suppli-
          Oregon, and, thus, failed to state antitrust      ers engaged in deceptive trade practice, as
          claim under Oregon law against auto parts         required to state claim under Nevada con-
          manufacturers and suppliers based on in-          sumer protection law, where insurer al-
          terstate trade or commerce; insurer did           leged that defendants knowingly agreed to
          not allege that it resided in Oregon or that      fix prices of auto parts and undertook ef-
          it owned any property in Oregon, and in-          forts to conceal their agreements from in-
          surer’s allegations that it paid supra-com-       surer and other purchasers. Nev. Rev. St.
          petitive prices for auto parts did not indi-      § 598.0923.
          cate if any such purchases occurred in            46. Antitrust and Trade Regulation
          Oregon. Or. Rev. Stat. § 646.715(2).                     O496
          43. Antitrust and Trade Regulation                     Automobile insurer sufficiently alleged
                 O967                                       false or deceptive acts by auto parts manu-
               Any recovery by automobile insurer           facturers and suppliers, as required to
          under New Hampshire or Utah antitrust             state claim under Arkansas and New Mex-
          laws was limited to damages resulting             ico consumer protection laws, since such
          from alleged anticompetitive activities by        laws were not limited to unconscionable
          auto parts manufacturers and suppliers            conduct, and insurer alleged that defen-
          that occurred on or after effective date of       dants agreed to fix prices of auto parts and
          each state’s respective amendment of anti-        undertook efforts to conceal their agree-
          trust law that allowed recovery by indirect       ments from insurer and other purchasers.
          purchasers. N.H.RSA 356:11; Utah Code             N.M. Stat. Ann. § 57-12-2(E); Ark. Code
          Ann. § 76-10-3109(1)(a).                          Ann. § 4-88-107(a).
          44. Antitrust and Trade Regulation                47. Antitrust and Trade Regulation
                  O821, 983                                        O221
               Any recovery by automobile insurer                Automobile insurer’s alleged injuries
          under Hawai‘i antitrust law for alleged           arising from purchasing auto parts and
          price-fixing conspiracy by auto parts man-        owning fleet of vehicles were not too re-
          ufacturers and suppliers was not limited to       mote from alleged anticompetitive conduct
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                           PageID.37932        Page 9
                                    of 58




          806                  345 FEDERAL SUPPLEMENT, 3d SERIES


          by auto parts manufacturers and suppliers     quired to plead with the particularity man-
          to support claim under Arkansas, New          dated by the heightened fraud and mistake
          York, and Vermont consumer protection         pleading standard. Fed. R. Civ. P. 9(b).
          laws; any direct purchases of auto parts at
          supra-competitive prices was direct link      51. Antitrust   and    Trade    Regulation
          between defendants’ alleged anticompeti-            O141
          tive conduct and resulting harm to insurer,
                                                             Automobile insurer did not qualify as
          and purchasing vehicle that contained auto
                                                        ‘‘consumer’’ within meaning of Vermont’s
          parts that were allegedly price-fixed by
          defendants satisfied remoteness inquiry       consumer protection law to extent it made
          under state consumer protection laws.         payments to repair facilities for auto parts
                                                        or to insureds or third-party claimants to
          48. Antitrust and Trade Regulation
                                                        settle damage or total loss claims, since
                   O221
                                                        insurer’s payments were one step removed
                Automobile insurer’s alleged injuries
                                                        from consumer transaction that Vermont’s
          arising from making payments to repair
                                                        law was intended to regulate, i.e., underly-
          facilities for auto parts or to insureds or
                                                        ing purchase of relevant auto part by a
          third-party claimants to settle damage or
                                                        buyer from a seller. 9 Vt. Stat. Ann.
          total loss claims were too remote from
          alleged anticompetitive conduct by auto       §§ 2451a(a), 2461(b).
          parts manufacturers and suppliers to sup-         See publication Words and Phrases
          port claims under Arkansas, New York,             for other judicial constructions and
          and Vermont consumer protection laws;             definitions.
          insurance payments were not inextricably
                                                        52. Antitrust   and    Trade    Regulation
          linked with auto parts markets, and, with
          respect to repair and reimbursement pay-            O141
          ments, there existed more direct victims           Automobile insurer qualified as ‘‘con-
          and risk of duplicative recovery.             sumer’’ within meaning of Vermont’s con-
          49. Antitrust and Trade Regulation            sumer protection law to extent it pur-
                 O496                                   chased any price-fixed auto parts and
              Automobile insurer sufficiently alleged   owned fleet of vehicles that contained
          nexus between allegedly anticompetitive       price-fixed auto parts, since insurer’s pur-
          conduct by auto parts manufacturers and       chases of any auto parts and vehicles
          suppliers and intrastate commerce, as re-     amounted to actual sale of goods or ser-
          quired to state claim under California,       vices involving a buyer, a seller, and the
          New Hampshire, New York, and North            goods or services. 9 Vt. Stat. Ann.
          Carolina consumer protection laws, even       §§ 2451a(a), 2461(b).
          though insurer did not allege that it paid
                                                            See publication Words and Phrases
          supra-competitive price for auto parts in         for other judicial constructions and
          each state, where insurer alleged that de-        definitions.
          fendants’ price-fixing conspiracy caused
          supra-competitive prices nationwide.          53. Federal Civil Procedure O675.1
          50. Antitrust and Trade Regulation                 A plaintiff is permitted to plead multi-
                O357                                    ple theories of recovery in the alternative,
              Federal Civil Procedure O636              and there is no requirement that each such
              To state a consumer protection claim      theory must rest upon its own independent
          under Florida law, a plaintiff is not re-     set of allegations. Fed. R. Civ. P. 8(a)(3).
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                               PageID.37933         Page 10
                                    of 58



                                     GEICO CORP. v. AUTOLIV, INC.                                    807
                                      Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          54. Antitrust and Trade Regulation                57. Implied and Constructive Contracts
                  O967                                            O3
               Implied and Constructive Contracts                 Automobile insurer was not required
                  O3                                        to allege that it failed to receive benefit of
                Automobile insurer’s unjust enrich-         bargain to state claims of unjust enrich-
          ment claims under Illinois, Maryland, and         ment under laws of various states and
          Rhode Island law against auto parts manu-         District of Columbia against auto parts
          facturers and suppliers were not precluded        manufacturers and suppliers in connection
          on basis that indirect purchasers were            with its purchase of auto parts, ownership
          barred from recovering under antitrust            of fleet of vehicles, and payments to repair
          laws of same states, where Illinois law only      facilities for auto parts or to insureds or
          barred indirect purchasers from pursuing          third-party claimants to settle damage or
          class action antitrust lawsuits, and Mary-        total loss claims; parties were not in direct
          land and Rhode Island law did not bar             bargaining relationship through which in-
          indirect purchaser antitrust actions. 740         surer could have attained benefit of any
          Ill. Comp. Stat. Ann. 10/7(2).                    contractually agreed-upon bargain.
          55. Implied and Constructive Contracts
                 O3
               The critical inquiry in evaluating the
          direct benefit element of a claim of unjust
          enrichment is not whether the benefit is            Dan W. Goldfine, Diane R. Hazel, Fred-
          conferred directly on the defendant, but          erick J. Baumann, Lewis Roca Rothgerber
          whether the plaintiff can establish that the      Christie LLP, Denver, CO, Kelly A.
          relationship between his detriment and the        Myers, Rebecca J. Cassell, Myers &
          defendant’s benefit flows from the chal-          Myers PLLC, Howell, MI, for Plaintiffs.
          lenged conduct of the defendant.
                                                               Meredith Jones Kingsley, Peter Kontio,
          56. Implied and Constructive Contracts            Alston and Bird LLP, Atlanta, GA, Alden
                 O3                                         Lewis Atkins, Craig P. Seebald, Lindsey
               Automobile insurer sufficiently alleged      R. Vaala, Vinson & Elkins, L.L.P., Wash-
          relationship between its purported detri-         ington, DC, Brandon W. Duke, Winston &
          ment and benefit that flowed to auto parts        Strawn LLP, Houston, TX, Eva W. Cole,
          manufacturers and suppliers from their al-        Jeffrey J. Amato, Jeffrey L. Kessler, Lau-
          leged price-fixing conspiracies, and, thus,       ren E. Duxstad, Winston & Strawn LLP,
          insurer stated unjust enrichment claims           Peter L. Simmons, Steven M. Witzel,
          against manufacturers and suppliers under         Fried, Frank, Harris, Shriver & Jacobson,
          laws of various states and District of Co-        LLP, New York, NY, Jason R. Gourley,
          lumbia, where insurer alleged that it pur-        Bodman LLP, Detroit, MI, Thomas J. Tal-
          chased auto parts at supra-competitive            lerico, Bodman PLC, Troy, MI, Cody D.
          prices, that it owned fleet of vehicles that      Rockey, Dykema Gossett PLLC, Peter M.
          were purchased at allegedly inflated prices       Falkenstein, Jaffe Raitt Heuer & Weiss,
          due to alleged conspiracies, and that it          PC, Ann Arbor, MI, Howard B. Iwrey,
          made payments to repair shops to cover            Bloomfield Hills, MI, Andrew Marovitz,
          cost of replacement parts used in fixing          Britt M. Miller, Mayer Brown LLP, Chica-
          vehicles belonging to insureds or third-          go, IL, James Kresta, Jaffe Raitt Heuer &
          party claimants.                                  Weiss, Southfield, MI, for Defendants.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                 PageID.37934        Page 11
                                    of 58




          808                      345 FEDERAL SUPPLEMENT, 3d SERIES


          OPINION AND ORDER REGARDING                         GEICO’s state law claims are subject to
             DEFENDANTS’   COLLECTIVE                         dismissal for a number of reasons.
             MOTION TO DISMISS SECOND                           On November 9, 2017, the Court heard
             AMENDED COMPLAINT                                oral argument on Defendants’ motion.1 For
            MARIANNE O. BATTANI, United                       the reasons set forth below, Defendants’
          States District Judge                               motion is GRANTED IN PART and DE-
                                                              NIED IN PART, and Plaintiffs are grant-
          I.     INTRODUCTION
                                                              ed leave to file amended pleadings in ac-
             Plaintiffs GEICO Corporation and a               cordance with the Court’s rulings.
          number of affiliated entities (collectively
          ‘‘GEICO’’) brought this suit on September           II.   FACTUAL AND          PROCEDURAL
          2, 2016, asserting federal antitrust and                  BACKGROUND
          state law claims against fourteen auto                 Plaintiff GEICO offers several forms of
          parts manufacturers and suppliers arising           insurance coverage, including automobile
          from alleged conspiracies among the De-             insurance. It brought this suit under fed-
          fendant manufacturers and suppliers to fix          eral antitrust law and the laws of a num-
          prices, rig bids, and allocate the markets          ber of states, alleging that the fourteen
          for sixteen auto parts. GEICO was a puta-           Defendant auto part manufacturers and
          tive member of the proposed liability and           suppliers unlawfully conspired among
          settlement classes in a number of the class         themselves and with other non-party co-
          action suits comprising In re Automotive            conspirators to fix prices, rig bids, and
          Parts Antitrust Litigation, No. 12-md-              allocate the markets for sixteen auto parts:
          02311. However, GEICO has elected to opt            air flow meters, alternators, ATF warm-
          out of the settlement classes certified to          ers, automotive wire harness systems,
          date in this multidistrict litigation               electronic throttle bodies, fuel injection
          (‘‘MDL’’), and to instead pursue its own            systems, high intensity discharge (‘‘HID’’)
          claims as, in effect, an indirect purchaser         ballasts, ignition coils, inverters, motor
          of certain of the auto parts involved in the        generators, occupant safety restraint sys-
          MDL.                                                tems, radiators, starters, steering angle
             Before the Court is Defendants’ collec-          sensors, switches, and valve timing control
          tive motion to dismiss GEICO’s second               devices. The named Defendants include (i)
          amended complaint. Among other grounds              Autoliv, Inc., and its subsidiaries, Autoliv
          for dismissal, Defendants contend (i) that          ASP, Inc., Autoliv B.V. & Co. KG, Autoliv
          GEICO has alleged an implausible single             Safety Technology, Inc., and Autoliv Japan
          conspiracy involving sixteen auto parts or,         Ltd.; (ii) Hitachi Automotive Systems, Ltd.
          alternatively, has improperly joined six-           (‘‘HIAMS’’); (iii) Lear Corporation and an
          teen separate conspiracies in a single suit,        affiliated joint venture, Kyungshin-Lear
          (ii) that GEICO lacks both Article III and          Sales and Engineering, LLC; (iv) Panason-
          antitrust standing, (iii) that GEICO’s              ic Corporation and its subsidiary, Panason-
          claims have been released by virtue of the          ic Corporation of North America; (v)
          settlements reached by GEICO’s insureds,            T.RAD Co., Ltd. and its subsidiary,
          (iv) that GEICO’s claims are barred by the          T.RAD North America; and (v) TRW
          relevant statutes of limitation, and (v) that       Deutschland Holding GmbH and its affili-

          1.     The Court also heard argument on a sepa-       & Engineering, LLC. This motion will be ad-
               rate motion to dismiss brought by Defendants     dressed in a separate opinion and order.
               Lear Corporation and Kyungshin-Lear Sales
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37935         Page 12
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                    809
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          ate, ZF TRW Automotive Holdings Corpo-             Court subsequently entered a series of
          ration.                                            orders to coordinate and consolidate these
             According to GEICO’s complaint, each            suits in multidistrict litigation designated
          of the sixteen auto parts at issue is install-     as In re Automotive Parts Antitrust Liti-
          ed in new cars as part of the automotive           gation, No. 12-md-02311. Generally speak-
          manufacturing process. In particular, origi-       ing, this litigation has been organized into
          nal equipment manufacturers (‘‘OEMs’’)             separate class actions for each of the doz-
          purchase these parts from automotive               ens of auto parts that were the subject of
          parts suppliers, including Defendants, by          alleged price-fixing conspiracies among the
          issuing requests for quotes (‘‘RFQs’’) to          suppliers of these parts.
          the suppliers and selecting winning bid-              GEICO alleges that it was a putative
          ders. These supply arrangements typically          member of the proposed classes in sixteen
          last between four and six years. In addi-          of these suits — i.e., the class actions
          tion, Defendants and other auto parts sup-         corresponding to the sixteen auto parts
          pliers sell the auto parts at issue to auto-       identified in the present complaint. In
          motive repair professionals, who install           April of 2016, GEICO elected to opt out of
          these parts in automobiles to replace worn         the settlement classes certified in these
          out, defective, or damaged parts.                  class actions. Instead, it brought the pres-
             In 2010, authorities in the United States,      ent suit on September 2, 2016, asserting
          the European Union, and Japan began in-            federal antitrust and state law claims simi-
          vestigating a suspected conspiracy among           lar to those being pursued in the ongoing
          auto part manufacturers and suppliers to           multidistrict litigation. In support of these
          engage in anticompetitive cartel conduct.          claims brought on its own behalf, GEICO
          Over time, a number of manufacturing               alleges that it has been injured by Defen-
          firms and executives have pleaded guilty to        dants’ alleged conspiracies to fix the prices
          conspiracies to fix prices, rig bids, or allo-     of the designated sixteen auto parts, by
          cate the market for specific auto parts.           virtue of (i) its own purchase of these auto
          The firms that have pleaded guilty and             parts for use in a fleet of vehicles that it
          paid criminal fines include five Defendants        owns, and (ii) its reimbursement of in-
          in this case: Autoliv, Inc., HIAMS, Pana-          sureds and third-party claimants for either
          sonic Corporation, T.RAD Co. Ltd., and             (a) payments made to repair professionals
          TRW Deutschland Holding GmbH. In ad-               involving the replacement of these auto
          dition, the guilty pleas that resulted from        parts, or (b) the full value of a vehicle that
          this antitrust investigation encompass each        has been declared a total loss. Defendants
          of the sixteen auto parts at issue here.           now seek the dismissal of GEICO’s federal
             Beginning in 2011, civil antitrust suits        and state law claims on a variety of
          were brought in federal district courts            grounds.
          throughout the United States on behalf of
          various classes of plaintiffs who alleged          III.    STANDARD OF REVIEW
          that they were injured as a result of the             In their present motion, Defendants ask
          auto part price-fixing conspiracies revealed       the Court to dismiss GEICO’s second
          in the above-cited government investiga-           amended complaint under Fed. R. Civ. P.
          tions. On February 7, 2012, the United             12(b)(1) for lack of subject matter jurisdic-
          States Judicial Panel on Multidistrict Liti-       tion, and under Fed. R. Civ. P. 12(b)(6) for
          gation transferred these actions to the            failure to state a claim upon which relief
          Eastern District of Michigan, and this             can be granted. In addressing Defendants’
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                              PageID.37936        Page 13
                                    of 58




          810                   345 FEDERAL SUPPLEMENT, 3d SERIES


          jurisdictional challenge under the first of      bly, 550 U.S. at 555, 570, 127 S.Ct. at 1965,
          these two Rule 12 provisions, the Court          1974. ‘‘A claim has facial plausibility when
          ‘‘takes the allegations in the complaint as      the plaintiff pleads factual content that
          true,’’ inquiring whether these allegations      allows the court to draw the reasonable
          establish a basis for the exercise of subject    inference that the defendant is liable for
          matter jurisdiction. Gentek Building Prod-       the misconduct alleged.’’ Iqbal, 556 U.S. at
          ucts, Inc. v. Sherwin-Williams Co., 491          678, 129 S.Ct. at 1949.
          F.3d 320, 330 (6th Cir. 2007). Yet, ‘‘conclu-       The Supreme Court has emphasized
          sory allegations or legal conclusions mas-       that this plausibility standard ‘‘is not akin
          querading as factual conclusions will not        to a ‘probability requirement,’ but it asks
          suffice’’ to withstand a properly supported      for more than a sheer possibility that a
          Rule 12(b)(1) motion to dismiss. O’Bryan         defendant has acted unlawfully.’’ Iqbal, 556
          v. Holy See, 556 F.3d 361, 376 (6th Cir.         U.S. at 678, 129 S.Ct. at 1949. ‘‘[W]here
          2009) (internal quotation marks and cita-        the well-pleaded facts do not permit the
          tion omitted).                                   court to infer more than the mere possibil-
             Similarly, when determining whether           ity of misconduct, the complaint has al-
          GEICO’s claims are subject to dismissal          leged – but it has not shown – that the
          under Rule 12(b)(6) for failure to state a       pleader is entitled to relief.’’ Iqbal, 556
          claim, the Court must construe the com-          U.S. at 679, 129 S.Ct. at 1950 (internal
          plaint in a light most favorable to Plaintiff    quotation marks, alteration, and citation
          and accept all well-pleaded factual allega-      omitted). If a plaintiff does ‘‘not nudge[ ]
          tions as true. League of United Latin            [its] claims across the line from conceiva-
          American Citizens v. Bredesen, 500 F.3d          ble to plausible, [its] complaint must be
          523, 527 (6th Cir. 2007). Again, however,        dismissed.’’ Twombly, 550 U.S. at 570, 127
          ‘‘the tenet that a court must accept as true     S.Ct. at 1974.
          all of the allegations contained in a com-
          plaint is inapplicable to legal conclusions.’’   IV.    ANALYSIS
          Ashcroft v. Iqbal, 556 U.S. 662, 678, 129          A.   GEICO’s Complaint Properly
          S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009).               Pleads a Separate Conspiracy for
             Moreover, ‘‘[w]hile a complaint attacked             Each of the Auto Parts Involved
          by a Rule 12(b)(6) motion to dismiss does               in This Case.
          not need detailed factual allegations, a            [1] As the first of the several chal-
          plaintiff’s obligation to provide the grounds    lenges advanced in their motion, Defen-
          of his entitlement to relief requires more       dants argue that GEICO’s complaint
          than labels and conclusions, and a formula-      ‘‘posits farfetched allegations of an over-
          ic recitation of the elements of a cause of      arching, sixteen-part conspiracy involving
          action will not do.’’ Bell Atlantic Corp. v.     all Defendants.’’ (Dkt. 62, Defendants’
          Twombly, 550 U.S. 544, 555, 127 S.Ct.            Motion to Dismiss, Br. in Support at 3.)
          1955, 1964-65, 167 L.Ed.2d 929 (2007) (in-       In Defendants’ view, this claimed conspir-
          ternal quotation marks, alteration, and ci-      acy encompassing all of the Defendant
          tations omitted). Rather, to withstand a         auto part suppliers is not plausible for
          motion to dismiss, the complaint’s factual       two reasons: (i) all but two of these sup-
          allegations, accepted as true, ‘‘must be         pliers make completely different auto
          enough to raise a right to relief above the      parts, and (ii) GEICO has failed to al-
          speculative level,’’ and to ‘‘state a claim to   leged specific facts in support of its con-
          relief that is plausible on its face.’’ Twom-    clusory assertion that ‘‘[e]ach Defendant
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                 PageID.37937          Page 14
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                      811
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          acted as the principal of or agent for the         on the assessment of the U.S. Department
          other Defendants with respect to the acts,         of Justice (‘‘DOJ’’), following ‘‘six years of
          violations, and common course of conduct           grand jury investigation,’’ that the auto
          alleged’’ in the complaint, (Dkt. 53, Sec-         part suppliers that were the target of the
          ond Amended Complaint (‘‘SAC’’) at                 DOJ’s investigation ‘‘engaged in various
          ¶ 41).                                             and separate and independent conspira-
             In response, GEICO asserts that Defen-          cies’’ that each involved a particular com-
                                                             ponent part. Id. at *4. The Court further
          dants have ‘‘misconstrued [its] conspiracy
                                                             noted the absence of allegations ‘‘of deals
          allegations,’’ and that its complaint is more
                                                             between makers of different component
          properly read as ‘‘alleg[ing] sixteen sepa-
                                                             parts,’’ of competition among the defen-
          rate conspiracies, each involving different
                                                             dant part suppliers ‘‘for the sales of all
          Defendants, different parts and different
                                                             eighteen parts,’’ or of a given defendant’s
          price fixing arrangements.’’ (Dkt. 65,
                                                             knowledge of the conduct and actions of
          Plaintiffs’ Response Br. at 5-6.) GEICO
                                                             other defendants regarding parts that it
          further denies any intention to ‘‘allege that
                                                             did not sell. Id.
          each Defendant acted as a principal or
          agent for [all of] the other Defendants’’              As GEICO correctly explains, this
          across all sales of the sixteen parts refer-       Court’s ruling in the multidistrict litigation
          enced in the complaint. Instead, it insists        is readily distinguishable, where the IPPs
          that the allegations in question link each         in that case sought to plead a ‘‘massive
          Defendant only to those other Defendants           huband-spoke conspiracy’’ that is nowhere
          or non-party co-conspirators who are in-           to be found in the present complaint.
                                                             (Plaintiffs’ Response Br. at 6.) Here, in
          volved in alleged price-fixing activities with
                                                             contrast, at the very outset of the portion
          respect to a particular part. (Id. at 6.) As
                                                             of the complaint captioned ‘‘Factual Alle-
          discussed below, the Court agrees with
                                                             gations,’’ GEICO refers to Defendants’
          GEICO that Defendants’ suggested read-
                                                             ‘‘[c]onspiracies’’ to ‘‘fix prices, rig bids and
          ing of the complaint is not tenable. In the
                                                             allocate markets’’ for sixteen auto parts.
          Court’s view, the complaint is properly
                                                             (SAC at ¶ 44.) GEICO then proceeds to
          construed as pleading sixteen separate
                                                             allege sixteen separate price-fixing con-
          part-specific conspiracies, with each Defen-
                                                             spiracies, one for each auto part identified
          dant auto part supplier facing liability only
                                                             in the complaint, and each involving a sub-
          for the particular part-specific conspiracies
                                                             set of one or more specific Defendants
          in which it is alleged and found to have
                                                             along with unnamed co-conspirators. (See
          joined.
                                                             id. at ¶¶ 45-125.) Immediately following
              As Defendants observe, this Court has          these part-specific allegations, the com-
          previously addressed (and rejected) an at-         plaint features a section captioned ‘‘Defen-
          tempt by indirect purchaser plaintiffs             dants and Their Co-Conspirators Entered
          (‘‘IPPs’’) in the multidistrict litigation to      into Multiple Auto Part Conspiracies,’’ in
          combine multiple separate part-specific            which GEICO expressly alleges (i) that
          cases into a consolidated complaint alleg-         ‘‘Defendants and their co-conspirators en-
          ing a single, overarching conspiracy to fix        tered into numerous Auto Parts conspira-
          the prices of eighteen different auto parts.       cies,’’ and (ii) that according to a DOJ
          See In re Automotive Parts Antitrust Liti-         official, ‘‘there were more than a dozen
          gation, No. 12-md-02311, 2016 WL                   separate [auto part] conspiracies each op-
          8200512, at *3-*4 (E.D. Mich. April 13,            erating independently.’’ (Id. at ¶ 126.) Fi-
          2016). In so ruling, the Court relied in part      nally, GEICO enumerates each such part-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                             PageID.37938        Page 15
                                    of 58




          812                   345 FEDERAL SUPPLEMENT, 3d SERIES


          specific conspiracy, setting forth the time      part-specific conspiracies are sufficient to
          periods of these conspiracies and the par-       withstand scrutiny under Rule 12(b)(6).
          ticular Defendant suppliers involved in
          each. (See id. at ¶¶ 126(a)-(p).) Against          B.   Although GEICO Has Improperly
          this backdrop, Defendants cannot succeed                Joined Its Sixteen Part-Specific
          in their argument that GEICO seeks to                   Conspiracy Claims in a Single
          hold them jointly and severally liable for              Suit, This Misjoinder Does Not
          an overarching conspiracy to fix the prices             Warrant the Dismissal of This
          of sixteen auto parts.                                  Action in Its Entirety.
                                                              Even if — as the Court has now
             To be sure, Defendants contend in their
                                                           ruled — GEICO’s complaint is construed
          reply brief that GEICO’s complaint lacks
                                                           as alleging sixteen separate part-specific
          detailed allegations as to ‘‘specific meet-
                                                           conspiracies, Defendants argue that the
          ings or instances of collusive conduct’’
                                                           complaint nonetheless runs afoul of Fed.
          through which the Defendant suppliers
                                                           R. Civ. P. 20(a)(2) by joining multiple
          carried out the part-specific conspiracies in
                                                           claims and defendants in a single action
          which they allegedly participated. (Dkt. 67,
                                                           despite the absence of common transac-
          Defendants’ Reply Br. at 2.) Similarly, De-
                                                           tions or occurrences. Although there is
          fendants observe that GEICO identifies
                                                           some degree of overlap in the Defendant
          only one or, occasionally, two specific De-
                                                           suppliers involved in the sixteen alleged
          fendants as participants in each conspira-
                                                           conspiracies, Defendants contend that this
          cy, ‘‘leaving both Defendants and the
                                                           alone does not suffice to permit joinder,
          Court to guess TTT in which of the sixteen
                                                           where the facts and evidence needed to
          component part conspiracies any Defen-
                                                           prove each conspiracy will be unique to a
          dant allegedly participated.’’ (Id.) Yet, be-
                                                           given part, the market for the part, and
          cause Defendants raise these attacks on
                                                           the specific suppliers of the part. Defen-
          the sufficiency of GEICO’s allegations of
                                                           dants further assert that joinder would
          conspiracy for the first time in their reply
                                                           unfairly prejudice those suppliers that are
          brief, the Court elects not to consider
                                                           involved in only one or a few of the sixteen
          them. See Sundberg v. Keller Ladder, 189
                                                           alleged conspiracies. As discussed below,
          F.Supp.2d 671, 682-83 (E.D. Mich. 2002)
                                                           the Court agrees that these sixteen alleged
          (declining to address an argument raised
                                                           conspiracies may not be joined in a single
          for the first time in a reply brief). In any
                                                           suit, but finds that the remedy sought by
          event, the Court has previously rejected
                                                           Defendants — i.e., the dismissal of GEI-
          similar challenges to the sufficiency of the
                                                           CO’s complaint in its entirety — is inap-
          plaintiffs’ allegations of a price-fixing con-
                                                           propriate and would not serve the inter-
          spiracy in its rulings in the multidistrict
                                                           ests of the parties or of judicial economy.
          litigation, see, e.g., In re Automotive Parts
                                                           Rather, the Court directs GEICO to com-
          Antitrust Litigation (In re Fuel Senders),
                                                           mence a separate suit for each of the
          29 F.Supp.3d 982, 995-96 (E.D. Mich. 2014)
                                                           alleged part-specific conspiracies. The par-
          (‘‘Fuel Senders’’); In re Automotive Parts
                                                           ties are further instructed to negotiate the
          Antitrust Litigation (In re Instrument
                                                           terms of a proposed order to facilitate the
          Panel Clusters), 2014 WL 2993753, at *5-
                                                           efficient management and coordination of
          *6 (E.D. Mich. July 3, 2014) (‘‘Instrument
                                                           these several part-specific actions.
          Panel Clusters’’), and there is no basis for
          departing from these rulings here. Accord-         [2–4] Under Fed. R. Civ. P. 20(a)(2),
          ingly, GEICO’s allegations of separate           parties ‘‘may be joined in one action as
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                 PageID.37939         Page 16
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                     813
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          defendants if,’’ as relevant here: (i) the         GEICO arise out of the ‘‘same transaction,
          claims against them ‘‘aris[e] out of the           occurrence, or series of transactions or
          same transaction, occurrence, or series of         occurrences.’’
          transactions or occurrences,’’ and (ii) ‘‘any         [6–8] In addressing this question, the
          question of law or fact common to all              courts have inquired whether ‘‘there is a
          defendants will arise in the action.’’ The         logical relationship between the separate
          standards for permissive joinder under             causes of action’’ that the plaintiff seeks to
          this Rule are ‘‘liberally construed,’’ in or-      join in a single case. In re EMC Corp., 677
          der to ‘‘promote trial convenience and ex-         F.3d 1351, 1358 (Fed. Cir. 2012); see also
          pedite the final determination of disputes’’       Mosley v. General Motors Corp., 497 F.2d
          by avoiding multiple lawsuits where possi-         1330, 1333 (8th Cir. 1974); Stojcevski v.
          ble. Patrick Collins, Inc. v. John Does 1-         County of Macomb, 143 F.Supp.3d 675,
          21, 282 F.R.D. 161, 166 (E.D. Mich.) (inter-       682-83 (E.D. Mich. 2015). ‘‘The logical rela-
          nal quotation marks and citations omitted),        tionship test is satisfied if there is substan-
          adopted at 286 F.R.D. 319 (E.D. Mich.              tial evidentiary overlap in the facts giving
          2012). In this manner, permissive joinder          rise to the cause of action against each
          serves the larger objective under the Fed-         defendant.’’ EMC Corp., 677 F.3d at 1358.
          eral Rules of ‘‘entertaining the broadest          ‘‘Stated differently, the plaintiffs’ claims
          possible scope of action consistent with           must share an aggregate of operative
          fairness to the parties.’’ Patrick Collins,        facts.’’ Stojcevski, 143 F.Supp.3d at 683
          282 F.R.D. at 166 (internal quotation              (internal quotation marks, citations, and
          marks and citation omitted). ‘‘The permis-         emphasis omitted). This is a flexible and
          sive joinder of defendants is also encour-         case-specific standard, and ‘‘the mere fact
          aged for purposes of judicial efficiency.’’        that a case involves independent actors as
          282 F.R.D. at 166.                                 defendants does not necessarily bring the
             [5] To warrant the joinder of its six-          case outside the scope of Rule 20.’’ EMC
          teen part-specific conspiracy claims in a          Corp., 677 F.3d at 1357-58.
          single suit, GEICO must show that these               Applying this standard here, the part-
          claims (i) ‘‘aris[e] out of the same transac-      specific conspiracies alleged by GEICO
          tion, occurrence, or series of transactions        lack a sufficient logical relationship or evi-
          or occurrences,’’ and (ii) involve a ‘‘ques-       dentiary overlap to permit joinder under
          tion of law or fact common to all defen-           Rule 20(a)(2). To establish a given part-
          dants.’’ Fed. R. Civ. P. 20(a)(2)(A)-(B).          specific conspiracy, GEICO must show
          GEICO states without contradiction that            that the particular Defendant suppliers in-
          the conspiracies alleged in its complaint          volved in this conspiracy entered into an
          implicate common questions of fact and             agreement to fix prices, rig bids, or other-
          law, including (i) whether GEICO’s reim-           wise manipulate the market for a specific
          bursement of its insureds for auto parts           auto part. As Defendants observe, the evi-
          qualifies as antitrust injury, and (ii) wheth-     dence needed to make this showing will be
          er evidence of the business practices of a         largely unique to the limited subset of
          particular Defendant auto part supplier            Defendants suppliers involved in the mar-
          shows that this supplier participated in           ket for the component part at issue and
          more than one of the alleged conspiracies.         the characteristics of this particular mar-
          Thus, the dispositive issue presented by           ket. In contrast, the remaining Defendants
          Defendants’ claim of misjoinder is whether         joined in GEICO’s suit will have little or
          the part-specific conspiracies alleged by          no involvement in or relationship to the
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37940        Page 17
                                    of 58




          814                    345 FEDERAL SUPPLEMENT, 3d SERIES


          operative facts for this conspiracy. See Mi-         and to those Defendants that have never
          chaels Building Co. v. Ameritrust Co.,               pleaded guilty.
          N.A., 848 F.2d 674, 682 (6th Cir. 1988)
                                                             In re Automotive Parts Antitrust Litiga-
          (affirming the district court’s finding of
                                                             tion, 2016 WL 8200512, at *2. Accordingly,
          improper joinder of a defendant lender,
                                                             the Court concluded that ‘‘rather than sim-
          where the various loan transactions giving
                                                             plify[ing] this already complex litigation,
          rise to the plaintiffs’ claims ‘‘involve[d] dif-
                                                             consolidation will serve only to confuse the
          ferent banks, different contracts and dif-
          ferent terms’’). Even as to those Defen-           legal claims/defenses of the parties and
          dant suppliers that are involved in more           delay a definite outcome for the parties,’’
          than one of the alleged conspiracies, the          and thus ‘‘would not serve judicial econo-
          facts that establish a supplier’s partic-          my or the convenience of the court and of
          ipation in one such conspiracy — e.g., evi-        the parties.’’ Id. These same factors are
          dence of meetings, discussions, or other           present here, and militate against GEI-
          opportunities to collude in the setting of         CO’s joinder of sixteen separate part-spe-
          prices or allocation of the market — are           cific conspiracies in a single suit.
          likely to be largely if not entirely distinct         [9] It remains to determine the proper
          from the facts that demonstrate this sup-          remedy for GEICO’s misjoinder. As De-
          plier’s involvement in another part-specific       fendants recognize, ‘‘[m]isjoinder of parties
          conspiracy. In addition, Defendants point          is not a ground for dismissing an action.’’
          to the prejudice and additional expense            Fed. R. Civ. P. 21; see also Letherer v.
          faced by suppliers that are involved in only       Alger Group, L.L.C., 328 F.3d 262, 267
          one or two of the sixteen alleged conspira-
                                                             (6th Cir. 2003), overruled on other grounds
          cies but nonetheless must participate in
                                                             as recognized in Blackburn v. Oaktree
          large-scale discovery efforts and other pre-
                                                             Capital Management, LLC, 511 F.3d 633,
          trial proceedings encompassing all of these
                                                             636 (6th Cir. 2008). Nonetheless, the Court
          alleged conspiracies.
                                                             has wide latitude in fashioning appropriate
            Although the Court has not addressed             relief, including ‘‘add[ing] or drop[ping] a
          precisely this issue in the multidistrict liti-    party’’ or ‘‘sever[ing] any claim against a
          gation, it has cited similar considerations        party.’’ Fed. R. Civ. P. 21; see also Lether-
          in denying a request by IPPs to consoli-           er, 328 F.3d at 267.
          date eighteen separate part-specific cases
          into a single suit. In so ruling, the Court           In Defendants’ view, the proper remedy
          explained:                                         here would be to dismiss this suit and
             [A]lthough the alleged conduct by De-           require GEICO to file separate part-spe-
             fendants follows a similar pattern, the         cific actions. (See Defendants’ Motion, Br.
             facts are not the same. [In addition], the      in Support at 6 n.4.) Yet, to the extent that
             existence of different Defendants weighs        this would inconvenience the parties or fail
             against consolidation. Even though the          to serve judicial economy, the Court has
             [part-specific cases] involve overlapping       recognized its ‘‘expansive’’ authority to im-
             parties, there are twenty-two different         plement procedures that will assist in coor-
             Defendant Groups, six Settling Defen-           dinating and administering GEICO’s sev-
             dant Groups, and eighteen different             eral part-specific suits. In re Automotive
             product markets. Consolidation would be         Parts Antitrust Litigation, 2016 WL
             unfairly prejudicial to the eighteen De-        8200512, at *2; see also Fed. R. Civ. P.
             fendants who are parties in only one or         42(a) (authorizing the Court to ‘‘join for
             two of the eighteen [part-specific cases]       hearing or trial any or all matters at issue
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                  PageID.37941         Page 18
                                    of 58



                                       GEICO CORP. v. AUTOLIV, INC.                                     815
                                        Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          in the actions’’ and to ‘‘issue any other           CO’s complaint fail to forge the requisite
          orders to avoid unnecessary cost or de-             causal link between Defendants’ alleged
          lay’’). Accordingly, though the Court               overcharges for auto parts and increased
          agrees with Defendants that the eighteen            payments made by GEICO under its con-
          part-specific conspiracies alleged by GEI-          tracts with its insureds. The Court ad-
          CO are not properly joined in a single suit,        dresses each of these challenges in turn,
          it elects to address this misjoinder by (i)         after first summarizing the law governing
          directing GEICO to sever each of its part-          Article III standing.
          specific conspiracy claims into a separate
          suit, and (ii) instructing the parties to ne-          [10–12] To demonstrate Article III
          gotiate the terms of a proposed order to            standing, a plaintiff must first allege that it
          facilitate the efficient management and             has suffered an ‘‘injury in fact’’ — that is,
          coordination of the sixteen part-specific ac-       ‘‘an invasion of a legally protected interest
          tions filed by GEICO in accordance with             which is (a) concrete and particularized,
          the Court’s ruling.                                 and (b) actual or imminent, not conjectural
                                                              or hypothetical.’’ Lujan v. Defenders of
            C.   Although GEICO Has Failed in                 Wildlife, 504 U.S. 555, 560, 112 S.Ct. 2130,
                 Certain Respects to Sufficiently             2136, 119 L.Ed.2d 351 (1992) (internal quo-
                 Plead the Elements of Article III            tation marks and citations omitted). Sec-
                 Standing for Each of the Federal             ond, the alleged injury must be ‘‘fairly
                 and State Law Claims Asserted in             traceable to the challenged action of the
                 Its Complaint, It Will Be Granted            defendant, and not the result of the inde-
                 Leave to Address These Deficien-             pendent action of some third party not
                 cies in Amended Pleadings.                   before the court.’’ Lujan, 504 U.S. at 560,
             Defendants next mount three separate             112 S.Ct. at 2136 (internal quotation
          challenges to GEICO’s Article III standing          marks, alterations, and citation omitted).
          to pursue the federal and state law claims          Third, the plaintiff must allege that a fa-
          asserted in its complaint. First, although          vorable federal court decision is likely to
          GEICO claims that the payments it made              redress the alleged injury. 504 U.S. at 561,
          in its role as insurer were adversely affect-       112 S.Ct. at 2136.
          ed by Defendants’ alleged price-fixing
          schemes, Defendants observe that some of               [13–15] As the ‘‘party invoking federal
          these payments did not entail the purchase          jurisdiction,’’ GEICO ‘‘bears the burden of
          of auto parts from any of the Defendant             establishing these elements.’’ 504 U.S. at
          suppliers, and they argue that GEICO                561, 112 S.Ct. at 2136. Because Article III
          lacks ‘‘standing to sue for alleged over-           standing is ‘‘not [a] mere pleading require-
          charges on [a]uto [p]arts that were never           ment[ ] but rather an indispensable part of
          purchased.’’ (Defendants’ Motion, Br. in            the plaintiff’s case,’’ each element of this
          Support at 7.) Next, Defendants maintain            standard ‘‘must be supported in the same
          that GEICO lacks standing to sue under              way as any other matter on which the
          ‘‘the laws of any of the thirty-two states          plaintiff bears the burden of proof, i.e.,
          and the District of Columbia under which            with the manner and degree of evidence
          it seeks to recover,’’ where it fails to allege     required at the successive stages of the
          in its complaint that it made any excessive         litigation.’’ 504 U.S. at 561, 112 S.Ct. at
          payments for relevant auto parts ‘‘in any           2136. At the present pleading stage of this
          particular state.’’ (Id. at 8.) Finally, Defen-     case, ‘‘general factual allegations of injury
          dants contend that the allegations of GEI-          resulting from the defendant’s conduct
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                     PageID.37942          Page 19
                                    of 58




          816                        345 FEDERAL SUPPLEMENT, 3d SERIES


          may suffice, for on a motion to dismiss we             parts at issue here. In such cases where
          presume that general allegations embrace               ‘‘there is no sale of an [a]uto [p]art at all’’
          those specific facts that are necessary to             flowing from GEICO’s payment to an in-
          support the claim.’’ 504 U.S. at 561, 112              sured or third-party claimant, Defendants
          S.Ct. at 2137 (internal quotation marks,               contend that ‘‘GEICO simply does not
          alteration, and citation omitted).                     have standing to sue for alleged over-
                                                                 charges on Auto Parts that were never
          1.     GEICO Has Sufficiently Pleaded In-              purchased.’’ (Defendants’ Motion, Br. in
                 jury in Fact, Even as to Those                  Support at 7.)
                 Transactions That Do Not Necessar-                 In response, GEICO first observes that
                 ily Involve the Purchase of a Rele-             the claims asserted in its complaint do not
                 vant Auto Part.                                 rest solely on reimbursement payments to
             [16] As their first challenge to GEI-               insureds or third-party claimants. Rather,
          CO’s allegations of Article III standing,              the complaint also alleges (i) that GEICO
          Defendants argue that GEICO cannot es-                 itself purchased the auto parts at issue,
          tablish the ‘‘injury in fact’’ element of              (see, e.g., SAC at ¶¶ 17-25, 49),2 and (ii)
          standing with respect to alleged transac-              that GEICO ‘‘directly paid repair profes-
          tions that did not entail the purchase of              sionals’’ for auto parts ‘‘after the repair
          any of the auto parts at issue in this case.           professional[s] repaired [the] insureds’ or
          Specifically, Defendants take issue with               claimants’ vehicles,’’ (see, e.g., id. at ¶ 49).
          GEICO’s assertion that it was injured each             Because auto parts were purchased in
          time it made a payment to an insured or                these transactions, GEICO has adequately
          third-party claimant as reimbursement for              pleaded the ‘‘injury in fact’’ element of
          the cost of vehicle repairs. (See, e.g., SAC           Article III standing through its allegations
          at ¶ 49.) Defendants observe that the re-              of injury flowing from the supra-competi-
          cipient of such a payment might elect not              tive prices charged by Defendants for
          to repair his vehicle and instead ‘‘simply             these parts. (See id. at ¶¶ 8, 164-65.)
          pocket the claim payment.’’ (Defendants’                  Admittedly, although Defendants do not
          Motion, Br. in Support at 7.) Similarly,               squarely raise this issue in their motion,
          Defendants point out that when GEICO                   the Supreme Court has cautioned that
          reimburses an insured or third-party                   ‘‘standing is not dispensed in gross,’’ and
          claimant for the value of a vehicle that is            that a plaintiff instead ‘‘must demonstrate
          declared a total loss, (see, e.g., SAC at              standing for each claim he seeks to press
          ¶ 49), this payment almost certainly does              and for each form of relief that is sought.’’
          not lead to the purchase of any of the auto            Davis v. Federal Election Commission,

          2.     In its brief in opposition to Defendants’         (E.D. Mich. 2003). Nonetheless, given that
               motion, GEICO indicates that it made at             GEICO has been directed to file a separate
               least some of these direct purchases in its         suit for each of the eighteen part-specific
               capacity as the owner of ‘‘thousands of vehi-       conspiracies identified in its present com-
               cles (provided for use by its adjusters and         plaint, the Court will allow GEICO to ad-
               other employees) as part of its fleet pro-          dress this pleading deficiency when it com-
               gram.’’ (Plaintiffs’ Response Br. at 4.) As De-     mences these separate actions, particularly
               fendants observe, however, these alleged pur-       where it already has alleged that it made
               chases as a fleet owner are not expressly           direct purchases of relevant auto parts, and
               identified as such in the complaint, and a
                                                                   simply did not identify the fleet-owner con-
               plaintiff ordinarily may not ‘‘amend [its]
                                                                   text in which some of these purchases were
               complaint through a response brief.’’ Jocham
                                                                   made.
               v. Tuscola County, 239 F.Supp.2d 714, 732
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                  PageID.37943         Page 20
                                    of 58



                                       GEICO CORP. v. AUTOLIV, INC.                                     817
                                        Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          554 U.S. 724, 734, 128 S.Ct. 2759, 2769, 171        issue. (See SAC at ¶¶ 17-25, 49, 54, 59, 64,
          L.Ed.2d 737 (2008) (internal quotation              69, 74, 79, 84, 89, 94, 99, 105, 110, 115, 120,
          marks, alteration, and citations omitted).          125.) The decisions cited by Defendants, in
          The question then becomes whether GEI-              contrast, involve efforts by plaintiffs to
          CO’s direct purchases of auto parts and its         derive Article III standing from the pur-
          reimbursement payments to insureds and              chases of putative class members or third
          third-party claimants give rise to discrete         parties who are not yet (and may never be)
          ‘‘claims’’ for which GEICO must separately          parties to the suit. These cases therefore
          establish its Article III standing, or wheth-       have nothing whatsoever to say about the
          er GEICO’s direct purchases and reim-               salient issue here — namely, whether
          bursement payments are more properly                GEICO’s own direct purchases and various
          characterized as separate items of dam-             types of reimbursement payments are
          ages that GEICO may or may not be                   properly viewed as giving rise to separate
          entitled to recover upon establishing its           claims that necessitate their own distinct
          overarching claim of a price-fixing conspir-        showings of Article III standing.
          acy.
                                                                  GEICO’s discussion on this point is simi-
              The parties’ briefs have little to offer on     larly unhelpful. GEICO first states, as a
          this subject. Defendants cite a number of           matter of ipse dixit and without citation to
          cases for the proposition that a plaintiff’s        authority, that apart from its direct pur-
          purchase of a particular item does not              chases, it ‘‘has standing simply as an insur-
          confer standing to bring claims involving           ance company.’’ (Plaintiffs’ Response Br.
          different, albeit similar, items that the           at 10.) GEICO further contends that De-
          plaintiff did not purchase. See, e.g., Dapeer
                                                              fendants’ allegedly anticompetitive conduct
          v. Neutrogena Corp., 95 F.Supp.3d 1366,
                                                              ‘‘illegally inflated the prices GEICO pays,
          1373 (S.D. Fla. 2015) (holding that the
                                                              whether GEICO pays for [a]uto [p]arts for
          named plaintiff in a putative class action
                                                              its cars, pays repair shops directly or pays
          ‘‘lack[ed] Article III standing to bring
                                                              the insured or claimants.’’ (Id.) Unfortu-
          claims on behalf of the Neutrogena [sun-
                                                              nately, GEICO fails to tie these assertions
          screen] products he did not purchase’’);
                                                              in its response brief to specific allegations
          Ferrari v. Best Buy Co., No. 14-2956, 2015
                                                              in its complaint, and the Court’s own re-
          WL 2242128, at *9 (D. Minn. May 12, 2015)
                                                              view of this pleading has uncovered only
          (concluding that the named plaintiff
                                                              scant and largely conclusory support for
          ‘‘lack[ed] standing to assert claims on be-
                                                              the proposition that Defendants’ allegedly
          half of the class for televisions that he did
                                                              anticompetitive conduct has inflicted injury
          not purchase or advertising that he did not
                                                              on GEICO in the form of higher reim-
          see or rely upon’’); Granfield v. NVIDIA
                                                              bursement payments to insureds or third-
          Corp., No. 11-05403, 2012 WL 2847575, at
          *6 (N.D. Cal. July 11, 2012) (‘‘[W]hen a            party claimants, even in instances when
          plaintiff asserts claims based both on prod-        these insurance transactions did not entail
          ucts that she purchased and products that           the purchase of relevant auto parts. (See,
          she did not purchase, claims relating to            e.g., SAC at ¶¶ 164-68, 170, 193.)
          products not purchased must be dismissed               Although the question is a close one, the
          for lack of standing.’’). Yet, these cases are      Court finds that GEICO’s allegations, al-
          wholly inapposite here, given GEICO’s ex-           beit somewhat threadbare, are sufficient to
          press allegations that it directly purchased        establish the injury-in-fact element of Arti-
          and/or made reimbursement payments in-              cle III standing for each of the claims
          volving each of the relevant auto parts at          GEICO has asserted, whether as a direct
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                              PageID.37944         Page 21
                                    of 58




          818                   345 FEDERAL SUPPLEMENT, 3d SERIES


          purchaser or as an insurer reimbursing its       state,’’ Defendants contend that its ‘‘con-
          insureds or third-party claimants. As ex-        clusory assertions that it paid for some-
          plained, GEICO has affirmatively alleged         thing somewhere do[ ] not give it the right
          that it sustained injuries in both capacities.   to sue under the laws of the thirty-three
          On the other hand, its complaint admitted-       jurisdictions cited in the Complaint.’’ (De-
          ly lacks supporting detail as to precisely       fendants’ Motion, Br. in Support at 8.)
          how Defendants’ alleged price-fixing activi-        In response, GEICO first suggests that
          ties might have led to higher reimburse-         it has, in fact, alleged that it suffered an
          ment payments for insurance claims that          actual injury in each of the states listed in
          did not entail the purchase of relevant auto     the complaint. Citing Michigan as an ex-
          parts. Yet, this Court has observed in a         ample, GEICO points to its allegations
          similar context that such an ‘‘elongated TTT     that Defendants’ conspiratorial activities
          chain’’ of allegations linking price-fixing      (i) produced ‘‘artificially high’’ prices for
          activities to increased payments poses ‘‘dif-    the relevant auto parts and ‘‘eliminated
          ficulties of proof, not pleading deficien-       price competition’’ for these parts
          cies.’’ Fuel Senders, 29 F.Supp.3d at 998.       ‘‘throughout Michigan,’’ (ii) ‘‘deprived GEI-
          ‘‘At this stage of the proceedings,’’ where      CO and its insureds and claimants of free
          GEICO’s claims are evaluated on the              and open competition’’ in the markets for
          pleadings alone, GEICO need not allege           these auto parts, and (iii) ‘‘resulted in GEI-
          precisely ‘‘how [it] intend[s] to establish’’    CO paying supra-competitive, artificially
          each of its theories of damages. 29              high prices’’ for these auto parts. (SAC at
          F.Supp.3d at 998. Moreover, GEICO is not         ¶ 211(a).) GEICO further alleges that
          altogether relieved of the obligation to put     ‘‘Defendants’ illegal conduct substantially
          forward allegations linking Defendants’ al-      affected commerce in Michigan,’’ and that
          legedly anticompetitive activities to result-    GEICO ‘‘has been injured in its business
          ing injury: as discussed below, GEICO            and property’’ as a ‘‘direct and proximate
          must overcome similar obstacles to satisfy       result’’ of this unlawful conduct. (Id. at
          the ‘‘fairly traceable’’ element of Article      ¶¶ 211(b)-(c).) GEICO makes essentially
          III standing and the requirement of anti-        the same allegations for each of the other
          trust standing.                                  thirty-one states and the District of Co-
          2.   GEICO Has Not Adequately Alleged            lumbia. As Defendants correctly observe,
               Its Standing to Pursue Claims Un-           however, these allegations fall short of a
               der the Laws of Each of the States          direct assertion that GEICO actually pur-
               Referenced in Its Complaint, But It         chased an auto part or made a reimburse-
               Will Be Granted Leave to Rectify            ment payment in Michigan or any other
               This Pleading Deficiency.                   particular state.
             [17] Defendants’ next Article III chal-          [18] Nonetheless, GEICO insists that
          lenge is directed at GEICO’s assertion of        it is reasonable to assume that it has made
          claims under the laws of thirty-two states       a purchase or reimbursement payment in
          and the District of Columbia. In Defen-          each of the relevant states, where it is ‘‘the
          dants’ view, GEICO lacks standing to sue         second largest automobile insurer in the
          under the law of a given state in the            United States’’ and ‘‘issu[es] insurance pol-
          absence of allegations that it made a pay-       icies and adjust[s] claims in all 50 states
          ment, and hence suffered an injury, in that      and the District of Columbia.’’ (Plaintiffs’
          specific state. Because GEICO ‘‘does not         Response Br. at 12.) Indeed, GEICO flatly
          allege any [p]ayments in any particular          states in its response brief that it has
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37945         Page 22
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                    819
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          ‘‘conducted business, purchased parts and          Court has previously determined that
          made payments for parts in every state             GEICO should be granted leave to bring a
          and the District of Columbia.’’ (Id.) Yet,         separate suit for each of the part-specific
          these supposed facts about the nature and          conspiracies alleged in its complaint, and
          extent of GEICO’s auto part purchases              to address other pleading deficiencies in its
          and insurance business are nowhere to be           existing complaint. Accordingly, GEICO
          found in the complaint, and Defendants             may avail itself of this opportunity to en-
          aptly cite the principle that ‘‘[s]tanding         sure that it has properly alleged injuries
          cannot be inferred’’ but instead ‘‘must af-        sustained in each of the jurisdictions iden-
          firmatively appear in the record.’’ Dela-          tified in its complaint.
          ware Valley Toxics Coalition v. Kurz-Has-          3. GEICO Has Sufficiently Alleged
          tings, Inc., 813 F.Supp. 1132, 1139 (E.D.                That Its Alleged Injuries Are Fairly
          Pa. 1993). As confident as GEICO might                   Traceable to Defendants’ Allegedly
          be that it will ultimately be able to produce            Anticompetitive Conduct.
          evidence of a purchase or payment in each
                                                                [19] As their final challenge to GEI-
          of the relevant states that was adversely
                                                             CO’s Article III standing, Defendants ar-
          impacted by Defendants’ allegedly anti-
                                                             gue that GEICO has failed to plead the
          competitive activities, Defendants quite
                                                             requisite causal connection between Defen-
          rightly insist that GEICO still must plead
                                                             dants’ alleged price-fixing conspiracies and
          this ‘‘injury in fact’’ element of its Article
                                                             resulting injury to GEICO. It bears em-
          III standing in order to pursue claims
                                                             phasis, as a threshold matter, that this is
          under the laws of each of the jurisdictions
                                                             not an across-the-board challenge. Most
          identified in its complaint.
                                                             notably, in transactions in which GEICO
             To be sure, Defendants acknowledge              itself allegedly purchased the auto parts at
          this Court’s holding in the multidistrict          issue, Defendants concede that such alle-
          litigation that it may be appropriate to           gations, taken as true, suffice to establish a
          defer a standing inquiry until the plaintiff       causal connection between Defendants’ al-
          has an opportunity to engage in discovery          leged price-fixing activities and GEICO’s
          that could uncover evidence of relevant            payment of allegedly supra-competitive
          transactions and resulting injury in each of       prices for these parts.
          the pertinent jurisdictions. See, e.g., Fuel          Moreover, in its capacity as owner of a
          Senders, 29 F.Supp.3d at 1000. Yet, Defen-         fleet of vehicles, GEICO is similarly situat-
          dants correctly observe that the courts            ed to the End-Payor Plaintiffs (‘‘EPPs’’) in
          typically adopt this approach in class ac-         the multidistrict litigation. As GEICO ob-
          tions, where the named plaintiffs generally        serves, this Court has rejected challenges
          lack information about transactions en-            to the Article III standing of EPPs. See,
          gaged in by members of the putative plain-         e.g., Fuel Senders, 29 F.Supp.3d at 997-99;
          tiff class. Here, in contrast, GEICO’s             Instrument Panel Clusters, 2014 WL
          claims rest solely upon transactions in            2993753, at *7-*8; In re Automotive Parts
          which this insurer itself participated. Thus,      Antitrust Litigation (In re Wire Harness
          there is no justification in this case for a       Cases), 2013 WL 2456612, at *8-*9 (E.D.
          wait-and-see approach to the requirement           Mich. June 6, 2013) (‘‘Wire Harnesses’’). In
          that a plaintiff must plead each of the            one of these decision, the Court explained
          elements of Article III standing.                  that the defendant part suppliers had ‘‘cit-
            Nonetheless, even though GEICO’s                 ed no authority requiring an indirect pur-
          present pleading falls short of this stan-         chaser to allege the detailed mechanics of
          dard, this is not the end of the matter. The       the pass-through process to plead injury-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                       PageID.37946           Page 23
                                    of 58




          820                        345 FEDERAL SUPPLEMENT, 3d SERIES


          in-fact and causation for purposes of con-              bursement payments for totaled vehicles
          stitutional standing to survive a Rule                  pose a risk of double recovery, given that
          12(b)(6) motion.’’ Wire Harnesses, 2013                 the original purchasers of the vehicles al-
          WL 2456612, at *8. GEICO’s theory of                    ready have an opportunity to recover from
          causation, in its role as the owner of a fleet          the Defendant auto part suppliers in the
          of vehicles, is fully consonant with this               multidistrict litigation for the increased
          Court’s rulings on Article III standing in              cost of their vehicles due to Defendants’
          the multidistrict litigation, and there is no           alleged price-fixing conspiracies.
          basis for a different outcome here.3                       These concerns are legitimate, and lead
             Nonetheless, Defendants contend that                 back to the question noted earlier: namely,
          GEICO has insufficiently pleaded the                    whether GEICO’s efforts to recover for
          ‘‘fairly traceable’’ element of Article III             direct part purchases, vehicle purchases as
          standing in those instances ‘‘where no                  a fleet owner, and reimbursement pay-
          one — much less GEICO — purchased an                    ments as an insurer all constitute separate
          Auto Part.’’ (Defendants’ Reply Br. at 5.)              claims for which GEICO must establish its
          Specifically, Defendants cite the examples              Article III standing, or instead reflect sep-
          of claim payments (i) to insureds or third-             arate types of damages that GEICO seeks
          party claimants who do not actually pur-                to recover through its overarching claims
          chase replacement auto parts but instead                that Defendants engaged in price-fixing
          pocket the payments, and (ii) made when                 conspiracies. At a minimum, GEICO has
          vehicles are determined to be a total loss.             pleaded the causal element of Article III
          As Defendants recognize, this Court has                 standing as to at least some of its theories
          not demanded detailed allegations regard-               of recovery, and Defendants, as the mov-
          ing the mechanisms by which supra-com-                  ing parties, have not explained why more
          petitive auto part prices are passed                    should be required at this juncture. More-
          through to end purchasers of vehicles. Yet,             over, Defendants’ challenge to GEICO’s
          GEICO must establish a more elaborate                   allegations of antitrust injury implicates
          pass-through mechanism here, under                      similar issues of causation, and the Court
          which the same allegedly anticompetitive                finds that these questions are better ad-
          activities that inflate the prices of new               dressed in that context. Accordingly, the
          vehicles somehow result in higher claim                 Court concludes that GEICO has ade-
          payments for damaged or totaled vehicles.               quately alleged that its injuries are fairly
          In addition, GEICO potentially has the                  traceable to Defendants’ allegedly anticom-
          opportunity to offset these higher claim                petitive activities.
          payments through such means as in-
          creased insurance premiums. In Defen-                     D.   GEICO Has Adequately Alleged
          dants’ view, GEICO’s complaint fails to                        Its Standing Under Antitrust Law
          address these complexities in the causal                       to Seek Redress As a Fleet Owner
          relationship between an alleged price-fix-                     and a Direct Purchaser of Defen-
          ing conspiracy and resulting injury to                         dants’ Auto Parts, But Not As an
          GEICO as an insurer making claim pay-                          Insurer.
          ments. Defendants further note that GEI-                 Apart from adequately pleading the ele-
          CO’s claims of injury arising from reim-                ments of Article III standing, GEICO also

          3.     As noted earlier, to the extent that the alle-    vehicles, GEICO will have an opportunity to
               gations of GEICO’s present complaint do not         address this deficiency in the pleadings it files
               clearly set forth a theory of recovery based on     in response to the Court’s rulings in this opin-
               GEICO’s status as the owner of a fleet of           ion and order.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37947         Page 24
                                    of 58



                                     GEICO CORP. v. AUTOLIV, INC.                                     821
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          must establish antitrust standing — i.e.,          III standing are not one and the same,’’
          that it is appropriately situated to obtain        and that a claim is subject to dismissal
          relief under federal and state antitrust law.      under Rule 12(b)(6) when the former is
          Citing the multi-factor test adopted by the        lacking. NicSand, Inc. v. 3M Co., 507 F.3d
          Supreme Court for determining whether a            442, 449 (6th Cir. 2007). To establish the
          plaintiff has antitrust standing, see Associ-      requisite antitrust standing, a plaintiff can-
          ated General Contractors of California,            not rely solely upon ‘‘allegations of conse-
          Inc. v. California State Council of Carpen-        quential harm resulting from a violation of
          ters, 459 U.S. 519, 545, 103 S.Ct. 897, 912,       the antitrust laws,’’ because ‘‘Congress did
          74 L.Ed.2d 723 (1983) (‘‘AGC’’ ), Defen-           not intend to allow every person tangen-
          dants argue that GEICO’s antitrust claims          tially affected by an antitrust violation to
          are subject to dismissal because this insur-       maintain an action to recover threefold
          er’s alleged injuries are too remote from          damages for the injury to his business or
          the alleged price-fixing schemes carried           property.’’ AGC, 459 U.S. at 535, 545, 103
          out by the Defendant auto part suppliers.          S.Ct. at 907, 912 (internal quotation marks
             In response, GEICO first maintains that         and citation omitted). Rather, even when a
          Defendants’ challenge to its antitrust             plaintiff alleges an antitrust violation and
          standing is foreclosed by this Court’s rul-        resulting harm, his claim may not go for-
          ings in the multidistrict litigation. To the       ward if ‘‘[o]ther relevant factors — the
          extent that GEICO owns a fleet of vehicles         nature of the [plaintiff’s] injury, the tenu-
          and has reimbursed repair shops for their          ous and speculative character of the rela-
          purchases of auto parts installed in the           tionship between the alleged antitrust vio-
          vehicles of GEICO’s insureds and third-            lation and the [plaintiff’s] alleged injury,
          party claimants, GEICO argues that it is           the potential for duplicative recovery or
          similarly situated to the EPPs in the multi-       complex apportionment of damages, and
          district litigation that have withstood chal-      the existence of more direct victims of the
          lenges to their antitrust standing. More-          alleged conspiracy — weigh heavily
          over, GEICO points to its allegations of           against judicial enforcement of the [plain-
          direct auto part purchases as demonstrat-          tiff’s] antitrust claim.’’ AGC, 459 U.S. at
          ing its antitrust standing. Finally, to the        545, 103 S.Ct. at 912.
          extent that GEICO participates in the in-
                                                                [22, 23] ‘‘[A]ntitrust standing is a
          surance market, as opposed to the market
                                                             threshold, pleading-stage inquiry[,] and
          for auto parts, it contends that these two
                                                             when a complaint by its terms fails to
          markets are sufficiently intertwined to
                                                             establish this requirement[,] [the court]
          support a finding of antitrust standing
                                                             must dismiss it as a matter of law.’’ Nic-
          with respect to GEICO’s alleged injuries
                                                             Sand, 507 F.3d at 450. Yet, the AGC fac-
          arising from its payment of insurance
                                                             tors ‘‘are to be balanced,’’ and ‘‘no single
          claims. As discussed below, the Court finds
                                                             factor is conclusive.’’ Bodie-Rickett & As-
          that GEICO has sufficiently pleaded its
                                                             sociates v. Mars, Inc., 957 F.2d 287, 290
          antitrust standing to pursue claims in its
                                                             (6th Cir. 1992); see also Fuel Senders, 29
          roles as fleet owner and direct purchaser
                                                             F.Supp.3d at 1001. Although AGC by its
          of auto parts, but not in its capacity as an
                                                             terms applies only to claims under federal
          insurer making claim payments to its in-
                                                             antitrust law, Defendants state without
          sureds or third-party claimants.
                                                             contradiction that the same or similar prin-
             [20, 21] The Sixth Circuit has empha-           ciples of antitrust standing govern the
          sized that ‘‘antitrust standing and Article        state law antitrust claims asserted in GEI-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                             PageID.37948        Page 25
                                    of 58




          822                   345 FEDERAL SUPPLEMENT, 3d SERIES


          CO’s complaint. See Fuel Senders, 29            competitive prices, this direct link between
          F.Supp.3d at 1002 (recognizing that the         Defendants’ alleged antitrust violations
          jurisdictions under which the plaintiffs in     and resulting harm to GEICO obviates the
          that case brought state law antitrust           need for consideration of the AGC factors.
          claims ‘‘either apply the AGC factors, look     See, e.g., In re Cardizem CD Antitrust
          to federal law to interpret their state stat-   Litigation, 332 F.3d 896, 911 (6th Cir.
          utes, or apply a similar remoteness analy-      2003) (holding that the alleged injury of
          sis to state antitrust claims’’).               ‘‘paying higher prices for a product due to
             In determining whether GEICO has an-         a lack of competition in the market’’ is
          titrust standing, the Court must distin-        sufficient to establish antitrust standing).
          guish among the types of injuries alleged       As for the injuries allegedly sustained by
          in GEICO’s complaint and elsewhere in           GEICO as the owner of a fleet of vehicles,
          the record. First, GEICO alleges that it        GEICO contends that this alleged harm is
          has directly purchased relevant auto parts,     precisely the same as the injury claimed
          (see, e.g., SAC at ¶¶ 17-25, 165), although     by the EPPs in the multidistrict litigation,
          the complaint does not provide any details      who likewise are indirect purchasers of
          as to the circumstances in which these          auto parts that were installed either (i) in
          purchases have occurred. Next, GEICO            new vehicles purchased by the EPPs, or
          states — albeit in its response to Defen-       (ii) in the process of repairing damaged
          dants’ motion, and not in its complaint —       vehicles owned by the EPPs. See, e.g.,
          that it is an indirect purchaser of relevant    Fuel Senders, 29 F.Supp.3d at 992-93. As
          auto parts by virtue of its ownership of a      GEICO observes, this Court has held in
          fleet of vehicles. Finally, GEICO identifies    the multidistrict litigation that EPPs satis-
          three types of payments it has made in its      fy the AGC standard for antitrust stand-
          role as an insurer: (i) payments to auto        ing, see, e.g., Fuel Senders, 29 F.Supp.3d
          repair professionals on behalf of insureds      at 1001-03; Wire Harnesses, 2013 WL
          and third-party claimants for replacement       2456612, at *14-*18, and Defendants fail to
          auto parts installed by the repair shop         suggest why the outcome should be differ-
          (referred to by Defendants as ‘‘Repair          ent here.
          Payments’’); (ii) reimbursement payments          Matters are more complicated, however,
          to insureds or third-party claimants to set-    when considering the injuries allegedly
          tle automotive damage or repair claims          sustained by GEICO in its role as auto
          that potentially involved the purchase and      insurer. In particular, the AGC factors
          installation of replacement auto parts          must be separately analyzed for each type
          (‘‘Reimbursement Payments’’); and (iii)         of payment GEICO has made in this ca-
          payments to insureds or third-party claim-      pacity. The Court addresses in turn each
          ants for the full value of vehicles declared    of the forms of payment made by GEICO
          a total loss (‘‘Total Loss Payments’’). (See,   as an insurer.
          e.g., SAC at ¶ 49.)                                       1.   Repair Payments
             [24] Turning first to the injuries alleg-      [25] In the case of Repair Payments,
          edly suffered by GEICO that did not arise       GEICO reimburses a repair professional
          from the payment of insurance claims, it is     for the cost of replacement auto parts
          clear that GEICO has standing to pursue         installed in the course of repairing an in-
          antitrust claims arising from these inju-       sured’s or third-party claimant’s vehicle.
          ries. To the extent that GEICO itself has       In this instance – unlike the other types of
          purchased relevant auto parts at supra-         payments made by GEICO as an auto
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37949         Page 26
                                    of 58



                                     GEICO CORP. v. AUTOLIV, INC.                                     823
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          insurer – Defendants have no cause for                In response, GEICO does not deny that
          concern that GEICO’s payment might                 its claims arising from Repair Payments
          have been wholly unrelated to the pur-             pose a risk of duplicative recovery. In-
          chase of auto parts, such that this transac-       stead, it more broadly contends that ‘‘du-
          tion should be characterized as occurring          plicative recovery is not a properly consid-
          outside the auto parts market in which             ered AGC factor in this case,’’ (Plaintiffs’
          Defendants allegedly carried out their             Response Br. at 16), where it has asserted
          price-fixing conspiracies. Rather, the prin-       antitrust claims under the laws of jurisdic-
          cipal AGC factors implicated by GEICO’s            tions that have enacted so-called ‘‘Illinois
          Repair Payments are the risk of duplica-           Brick repealer statutes’’ – that is, statutes
          tive recovery and the existence of more            that override the Supreme Court’s decision
          direct victims of Defendants’ alleged anti-        in Illinois Brick Co. v. Illinois, 431 U.S.
          trust violations. Accordingly, the Court fo-       720, 97 S.Ct. 2061, 52 L.Ed.2d 707 (1977),
          cuses primarily on these two factors in            and allow recovery by indirect purchasers
          determining whether GEICO has sus-                 under state law. In support of this sweep-
          tained an antitrust injury as a result of its      ing invitation to disregard the possibility of
          Repair Payments.                                   duplicative recovery, GEICO points to this
                                                             Court’s decision in Wire Harnesses, 2013
            In Defendants’ view, ‘‘[t]he risk of dupli-      WL 2456612, at *18, as well as another
          cative recovery weighs heavily against             district court ruling, In re Flash Memory
          standing here.’’ (Defendants’ Motion, Br.          Antitrust Litigation, 643 F.Supp.2d 1133,
          in Support at 14 (footnote omitted).) In           1156 (N.D. Cal. 2009), that this Court has
          particular, Defendants point to the EPPs           cited with approval in the multidistrict liti-
          in the multidistrict litigation as more di-        gation.
          rect victims of the alleged price-fixing con-          To be sure, this Court has recognized
          spiracies who have ‘‘already asserted TTT          that a state’s enactment of an Illinois
          and settled’’ claims against the Defendant         Brick repealer statute evidences a state
          auto part suppliers, and thereby ‘‘vindicat-       policy to ‘‘allow indirect purchasers to
          ed the public interest’’ that might other-         bring [antitrust] claims’’ despite a height-
          wise be served through GEICO’s purport-            ened risk of duplicative recovery. Fuel
          edly less direct effort to recoup its Repair       Senders, 29 F.Supp.3d at 1003; see also
          Payments. (Id. at 15 (internal quotation           Wire Harnesses, 2013 WL 2456612, at *18.
          marks omitted).) Indeed, Defendants go             Yet, the Court has not gone so far as to
          further in their reply brief, submitting that      say that these enactments render the
          GEICO ‘‘seeks recovery for the same                threat of duplicative recovery wholly irrel-
          transaction – the same Auto Parts install-         evant to an antitrust standing inquiry un-
          ed in the same vehicles – as the end-              der AGC. To the contrary, rather than
          payors.’’ (Defendants’ Reply Br. at 7 (em-         relying solely on a state’s repeal of Illinois
          phasis in original).) In light of this pur-        Brick as conclusively resolving AGC’s ‘‘du-
          ported ‘‘certainty’’ that ‘‘a more directly        plicative recovery’’ factor in favor of an
          affected plaintiff’’ may challenge – and, in       indirect purchaser’s antitrust standing,
          Defendants’ view, has challenged – the             this Court has gone on to cite specific
          price-fixing conspiracies alleged by GEI-          allegations by the indirect purchaser that
          CO, Defendants assert that the relevant            ‘‘lessen the risk of duplicative recovery.’’
          AGC factors ‘‘could not weigh more heavily         Wire Harnesses, 2013 WL 2456612, at *18
          against antitrust standing.’’ (Defendants’         (citing In re Flash Memory, 643 F.Supp.2d
          Motion, Br. in Support at 15.)                     at 1156); see also Fuel Senders, 29
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                      PageID.37950         Page 27
                                    of 58




          824                        345 FEDERAL SUPPLEMENT, 3d SERIES


          F.Supp.3d at 1003. In its Fuel Senders                  recovery and the existence of more direct
          decision, for example, the Court pointed to             victims – weigh heavily against GEICO’s
          the indirect purchasers’ allegations that               antitrust standing.
          the overcharges they paid were ‘‘distinct                  The remaining AGC factors do not tip
          and traceable,’’ and it further observed                the balance in GEICO’s favor with respect
          that the direct purchaser OEMs were not
                                                                  to its Repair Payment claims. First, re-
          pursuing their own antitrust claims. 29
                                                                  garding ‘‘the nature of [GEICO’s] alleged
          F.Supp.3d at 1003; see also Wire Harness-
                                                                  injury[,] including the status of [GEICO]
          es, 2013 WL 2456612, at *18 (citing similar
                                                                  as consumer or competitor in the relevant
          allegations of ‘‘distinct and traceable’’ over-
                                                                  market,’’ Southaven Land Co. v. Malone &
          charges as ‘‘lessen[ing] the risk of duplica-
                                                                  Hyde, Inc., 715 F.2d 1079, 1085 (6th Cir.
          tive recovery’’).
                                                                  1983), all are agreed that the injuries al-
             Here, in contrast, Defendants state                  legedly incurred by GEICO as a result of
          without contradiction that duplicative re-              its Repair Payments were not a product of
          covery is not only a possibility but a cer-             GEICO’s participation in the markets for
          tainty, where the settlements reached in                the various auto parts at issue here. Rath-
          the multidistrict litigation between the de-            er, GEICO made the Repair Payments to
          fendant auto parts suppliers and the EPPs               reimburse repair professionals, who in
          define the settlement classes as including              turn were indirect purchasers of the rele-
          indirect purchasers of replacement auto                 vant auto parts that were the subject of
          parts. (See Defendants’ Motion, Ex. B-2
                                                                  Defendants’ alleged price-fixing conspira-
          (chart of relevant settlement agreement
                                                                  cies. Nonetheless, GEICO correctly ob-
          provisions).) 4 Thus, the repair profession-
                                                                  serves that it need not be a direct partici-
          als who are reimbursed through Repair
                                                                  pant in the relevant auto part markets, so
          Payments evidently are eligible to recover
                                                                  long as the market in which it did partici-
          in the multidistrict litigation as part of the
                                                                  pate is ‘‘inextricably linked and inter-
          EPP settlement classes. Moreover, al-
                                                                  twined’’ with these markets. Fuel Senders,
          though the Illinois Brick repealer statutes
                                                                  29 F.Supp.3d at 1002.
          reflect a policy that indirect purchasers
          should be permitted to bring claims even                   The allegations of GEICO’s complaint
          at the risk of duplicative recovery by di-              fail to forge this link. Admittedly, GEICO
          rect purchasers, Defendants correctly ob-               has affirmatively alleged that ‘‘[t]he indi-
          serve that GEICO’s Repair Payment                       vidual Auto Parts Submarkets and the
          claims ‘‘seek[ ] recovery for the same                  market for vehicles are inextricably linked
          transaction[s] – the same Auto Parts in-                and intertwined,’’ (SAC at ¶ 166), and this
          stalled in the same vehicles’’ – that the               Court has deemed such an allegation suffi-
          indirect purchaser repair professionals                 cient to establish the antitrust standing of
          rely upon to obtain reimbursement                       indirect purchasers in the multidistrict liti-
          through the Repair Payments. (Defen-                    gation, see, e.g., Fuel Senders, 29
          dants’ Reply Br. at 7 (emphasis in origi-               F.Supp.3d at 1002; Wire Harnesses, 2013
          nal).) Under these circumstances, two of                WL 2456612, at *15-*16. These rulings are
          the AGC factors – the risk of duplicative               unavailing here, however, because GEICO

          4.     In some more recent cases, the proposed            16-13997, Dkt. 1, Complaint at ¶¶ 143-44
               classes do not include indirect purchasers of        (part of the Access Mechanisms Actions, No.
               replacement parts, but only those individuals        16-04103).) The EPP settlements identified by
               or entities who have purchased or leased new         Defendants, however, encompass these indi-
               vehicles. (See, e.g., Ascher v. Alpha Corp., No.     rect purchases of replacement parts.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                 PageID.37951         Page 28
                                    of 58



                                       GEICO CORP. v. AUTOLIV, INC.                                    825
                                        Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          has not explained how its Repair Pay-               at 966-67. In support of this ruling, the
          ments could be characterized as made in             court reasoned that the plaintiff benefit
          ‘‘the market for vehicles’’ or some other           plans were ‘‘neither consumers nor com-
          market that has been recognized as inex-            petitors in the relevant market of ciga-
          tricably intertwined with the auto part             rettes and tobacco products,’’ and that
          markets in which Defendants carried out             ‘‘[t]o the extent they have suffered injury,
          their alleged price-fixing conspiracies.            their claims are entirely derivative of the
          Rather, GEICO makes Repair Payments                 injuries suffered by smokers.’’ 185 F.3d at
          in its role as an auto insurer, and although        967. The court further explained that the
          GEICO insists that ‘‘this [insurance] mar-          plaintiffs’ claimed injuries were too remote
          ket too is inextricably intertwined with the        from the alleged wrongdoing of the defen-
          market[s] for Auto Parts,’’ (Plaintiffs’ Re-        dant tobacco companies to permit a recov-
          sponse Br. at 17), Defendants aptly ob-             ery under antitrust law, where absent ‘‘any
          serve that GEICO has neither pleaded any            injury to smokers, plaintiffs would not
          such connection in its complaint nor cited          have incurred the additional expenses in
          any authority recognizing such a link be-           paying for the medical expenses of those
          tween a product market and an insurer of            smokers.’’ 185 F.3d at 963; see also Labor-
          participants in that market. Cf. Southaven          ers Local 17 Health & Benefit Fund v.
          Land Co., 715 F.2d at 1086 (explaining              Philip Morris, Inc., 191 F.3d 229, 239 (2d
          that a plaintiff’s injury is ‘‘inextricably in-     Cir. 1999) (holding in a similar case involv-
          tertwined’’ with the injury allegedly inflict-      ing only RICO claims that the plaintiff
          ed by an antitrust defendant on partici-            health and welfare benefit funds lacked
          pants in the relevant market if the plaintiff       standing because their claimed injuries
          is ‘‘manipulated or utilized by [the defen-         were ‘‘purely contingent on harm to third
          dant] as a fulcrum, conduit or market force
                                                              parties’’ and ‘‘their damages [we]re entire-
          to injure’’ the participants in that market).
                                                              ly derivative of the harm suffered by plan
            To the contrary, Defendants have point-           participants as a result of using tobacco
          ed to case law that casts doubt on GEI-             products’’).
          CO’s effort to forge a sufficiently close
          connection between its Repair Payments                 In an effort to distinguish this case law
          and the pertinent auto part markets. In             involving the tobacco industry, GEICO
          Oregon Laborers-Employers Health &                  contends that it has alleged ‘‘direct’’ rather
          Welfare Trust Fund v. Philip Morris Inc.,           than indirect or derivative injuries by vir-
          185 F.3d 957 (9th Cir. 1999), for example,          tue of ‘‘paying inflated prices for Auto
          the plaintiff health and welfare benefit            Parts.’’ (Plaintiffs’ Response Br. at 16
          plans brought suit against tobacco compa-           n.13.) Yet, in making Repair Payments,
          nies, asserting claims under federal and            GEICO does not directly ‘‘pay[ ] inflated
          state Racketeer Influenced and Corrupt              prices for Auto Parts,’’ but instead reim-
          Organizations (‘‘RICO’’) and antitrust laws         burses indirect purchasers for the alleged-
          for costs incurred in paying for treatment          ly supra-competitive prices they paid to
          of smoking-related illnesses suffered by            acquire those parts. This is an indirect
          plan participants and beneficiaries. Apply-         injury, purely derivative of the harm suf-
          ing the AGC factors, as well as similar             fered by participants in the markets for
          considerations governing RICO standing,             auto parts. To be sure, GEICO has alleged
          the court held that the plaintiffs could not        that this injury is directly traceable to the
          recover under either RICO or antitrust              harm allegedly inflicted by Defendants on
          law. Oregon Laborers-Employers, 185 F.3d            the markets for auto parts, but this consid-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                               PageID.37952        Page 29
                                    of 58




          826                    345 FEDERAL SUPPLEMENT, 3d SERIES


          eration is relevant to another AGC factor,        cient to satisfy the pertinent AGC factors.
          discussed below. The fact that GEICO’s            See, e.g., Wire Harnesses, 2013 WL
          alleged injuries might be directly traceable      2456612, at *17. Though GEICO’s claims
          to Defendants’ alleged price-fixing conspir-      admittedly add one more link to this chain
          acies does not assist GEICO in showing            of alleged overcharges, the Repair Pay-
          either (i) that it sustained these injuries as    ments theory of recovery does not inject
          a participant in the auto part markets in         an insurmountable degree of uncertainty
          which Defendants allegedly conspired, or          or speculation into the task of tracing
          (ii) that these auto part markets were inex-      overcharges and resulting injuries through
          tricably intertwined with the insurance           the distribution chain, particularly in the
          market in which GEICO operated when               pleading stage of this litigation.
          making Repair Payments. Accordingly,
          this AGC factor militates against a finding          Upon balancing these various AGC fac-
          of antitrust standing.                            tors, the Court concludes that GEICO
                                                            lacks antitrust standing to pursue its
              The remaining AGC factors, in contrast,
                                                            claims arising from Repair Payments.
          tend to support a finding of antitrust
                                                            Most notably, GEICO’s recovery under
          standing. These factors call for consider-
                                                            this theory would be entirely duplicative of
          ation of ‘‘the causal connection between the
                                                            the recoveries obtained by EPPs in their
          violation and the harm,’’ and ‘‘the direct-
                                                            settlements with Defendants in the multi-
          ness of the injury, and whether damages
          are speculative.’’ Fuel Senders, 29               district litigation. Moreover, these indirect
          F.Supp.2d at 1001. Defendants posit a             purchasers of relevant auto parts are bet-
          ‘‘complex’’ chain of distribution for auto        ter positioned than GEICO to vindicate
          parts and prices that are ‘‘affected by nu-       the public interest in holding Defendants
          merous market factors.’’ (Defendants’ Mo-         accountable for their alleged price-fixing
          tion, Br. in Support at 19; see also id. at       conspiracies. In addition, GEICO has
          13-14 (diagrams representing these distri-        failed to plead facts from which it could be
          bution chains).) GEICO, on the other hand,        concluded that the insurance market in
          alleges that the relevant auto parts are          which GEICO sustained its injuries is in-
          ‘‘identifiable, discrete physical products’’      extricably intertwined with the auto part
          that ‘‘may be traced through the chain of         markets in which Defendants carried out
          distribution,’’ and that the ‘‘cost and price’’   their alleged conspiracies. Although other
          of these parts ‘‘also may be traced.’’ (SAC       factors tend to support a finding of anti-
          at ¶ 167.) The complaint further alleges          trust standing, these considerations tip the
          that the supra-competitive prices charged         balance decisively in the other direction.
          by Defendants are passed along to repair               2.   Reimbursement Payments
          professionals who obtain replacement
          parts in order to repair vehicles belonging          [26] The next type of injury identified
          to GEICO’s insureds and third-party               by GEICO as supporting a recovery under
          claimants, and that GEICO in turn is im-          antitrust law is its Reimbursement Pay-
          pacted by these supra-competitive prices          ments – that is, payments made to in-
          when it reimburses these repair profes-           sureds or third-party claimants to settle
          sionals for the artificially inflated costs       automotive damage or repair claims that
          they have incurred. (See id. at ¶¶ 164-65.)       potentially entail the purchase and installa-
          This Court has cited similar allegations of       tion of replacement auto parts. Much of
          overcharges that are passed and traceable         the preceding analysis addressing GEI-
          through the chain of distribution as suffi-       CO’s Repair Payments applies with equal
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                        PageID.37953          Page 30
                                    of 58



                                           GEICO CORP. v. AUTOLIV, INC.                                        827
                                            Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          force here, so the Court may proceed more               this alleged wrongdoing and obtained re-
          quickly through its consideration of the                lief through the settlements in the multi-
          AGC factors.                                            district litigation.
             First, to the extent that GEICO’s Reim-                 Next, it is clear that GEICO makes both
          bursement Payments cover the cost of re-                Repair and Reimbursement Payments in
          placement auto parts used in the process                its role as insurer, and not as a participant
          of repairing an insured’s or third-party                in the pertinent markets for auto parts.
          claimant’s vehicle, these payments are ma-              Consequently, the Court’s analysis of the
          terially indistinguishable from GEICO’s                 AGC factor concerning the nature of GEI-
          Repair Payments in terms of the risk of                 CO’s alleged injury applies with equal
          duplicative recovery and the existence of               force to both Repair and Reimbursement
          more direct victims of Defendants’ alleged              Payments. In short, just as with the Re-
          price-fixing conspiracies. In either case, an           pair Payments, three of the AGC factors
          indirect purchaser obtains replacement                  weigh strongly against a finding of anti-
          auto parts for use in vehicle repair, and               trust standing.
          GEICO in turn makes an insurance pay-                     However, the comparison between Re-
          ment that covers the cost of this indirect              pair and Reimbursement Payments breaks
          purchase. Accordingly, the Court’s earlier              down in situations where the latter are
          assessment of Repair Payments applies                   not, in fact, used to cover the cost of
          here as well: duplicative recovery is not               purchasing replacement auto parts. As De-
          only a possibility but a near certainty,                fendants observe, the recipient of a Reim-
          given the settlements reached in the multi-             bursement Payment will not necessarily
          district litigation between the Defendant               use this payment to purchase replacement
          auto part suppliers and the indirect pur-               parts, but instead might elect to forgo
          chasers, and the definition of the settle-              repairs and pocket the insurance proceeds.
          ment classes as including indirect purchas-             In these circumstances, two of the AGC
          ers of replacement auto parts.5 Likewise,               factors no longer militate against standing,
          these indirect purchasers are more direct               because the absence of a part purchase
          victims of Defendants’ alleged antitrust vi-            means that there is neither a risk of dupli-
          olations, and they have already challenged              cative recovery nor a more direct victim

          5.     In its response to Defendants’ motion, GEI-         classes that account for this marketplace real-
               CO suggests that Defendants’ protest against          ity. (Id.)
               duplicative recovery should be viewed as ‘‘a             As Defendants observe, however, any such
               case of buyers’ remorse,’’ where Defendants           potential for duplicative recoveries among
               agreed to settlement classes in the multidis-         members of the settlement classes in the mul-
               trict litigation that ‘‘included automobile in-       tidistrict litigation is unhelpful to GEICO in
               surers’’ among the indirect purchasers of re-         establishing antitrust standing in this case.
               placement parts, but then failed to negotiate         Rather, GEICO must show that the AGC fac-
               settlement terms that accounted for the situa-        tors, including the risk of duplicative recov-
               tions in which ‘‘automobile insurers [we]re           ery, favor a finding of antitrust standing un-
               the party paying for’’ these replacement parts.       der the circumstances presented here, and it
               (Plaintiffs’ Response Br. at 20 n.16.) In GEI-        is wholly immaterial that insurers who are
               CO’s view, ‘‘[b]ecause automobile insurers            similarly situated to GEICO have been includ-
               pay for the vast majority of replacement parts        ed in settlement classes in the multidistrict
               in the United States,’’ Defendants’ negotiation       litigation without having to make this show-
               of settlement agreements that frequently re-          ing. GEICO could have obtained this benefit
               sult in payments to two parties arising from a        by participating in the settlements, but it in-
               single purchase of replacement parts reflects         stead elected to opt out and pursue its own
               a missed opportunity to craft settlement              claims.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                             PageID.37954        Page 31
                                    of 58




          828                   345 FEDERAL SUPPLEMENT, 3d SERIES


          who is better positioned to challenge De-        litigation to establish the antitrust stand-
          fendants’ alleged antitrust violations. Yet,     ing of indirect purchasers, see, e.g. Wire
          any advantage to GEICO under these two           Harnesses, 2013 WL 2456612 at *17, and
          factors is more than offset by other consid-     the Court has explained that GEICO’s Re-
          erations. After all, if a Reimbursement          pair Payment claims do not add so much
          Payment is not used to cover the cost of         complexity to the pass-through of over-
          replacement parts, it cannot possibly be         charges that they should tip the balance of
          viewed as made in either the market for          the relevant AGC factors against standing.
          auto parts or any other market that is           It follows, then, that the Court’s reasoning
          inextricably intertwined with this market.       with respect to GEICO’s Repair Payments
          GEICO has not cited any authority for            should likewise govern the analysis of
          treating such payments in a wholly sepa-         GEICO’s Reimbursement Payments, at
          rate market as antitrust injuries. Cf. Sou-      least insofar as these two types of pay-
          thaven Land Co., 715 F.2d at 1086-87             ments reflect similar reimbursements to
          (finding that an injury that was only a          indirect purchasers for the cost of obtain-
          ‘‘tangential by-product’’ of the defendant’s     ing auto parts at allegedly supra-competi-
          allegedly anticompetitive conduct was ‘‘not      tive prices.
          sufficiently linked to the pro-competitive          The same cannot be said for the sit-
          policy of the antitrust laws’’ to confer anti-   uation in which no parts are purchased
          trust standing). It follows that the AGC         in connection with a Reimbursement
          factor addressing the nature of GEICO’s          Payment. Even assuming that the claim
          alleged injury tilts the balance decisively      payments made by GEICO in these cir-
          against a finding of antitrust standing in       cumstances bear some relationship to
          instances where a Reimbursement Pay-             the allegedly supra-competitive prices of
          ment is not associated with the purchase of      auto parts that would have to be ac-
          a relevant auto part.                            quired if the insured’s or third-party
             As for the remaining AGC factors – the        claimant’s vehicle were actually re-
          causal connection between the violation          paired, Defendants correctly observe
          and the harm, and the directness of the          that GEICO’s complaint is wholly silent
          injury and the related question whether          as to the claim adjustment process
          damages are speculative – they are no            used by GEICO to determine the
          more favorable to a claim of antitrust           amounts of these payments. Thus, the
          standing derived from Reimbursement              Court is left to speculate on such rele-
          Payments than from Repair Payments,              vant matters as (i) whether insureds
          and arguably less so under some circum-          and third-party claimants are reim-
          stances. To the extent that a Reimburse-         bursed for the full amount they would
          ment Payment compensates for the pur-            have paid for the replacement parts
          chase of auto parts, GEICO has alleged (i)       necessary to repair their vehicles, and
          that both the parts and their costs may be       (ii) whether GEICO’s agreements with
          traced through the chain of distribution,        its insureds invariably provide for this
          and (ii) that the supra-competitive prices       full reimbursement or instead apply dif-
          charged by Defendants for these parts            ferent claim adjustment schemes and
          were passed along to GEICO by its in-            formulas that depend upon the insured’s
          sureds, third-party claimants, or the repair     choice of a particular policy or type of
          professionals that obtained and installed        coverage. As Defendants aptly summa-
          these parts. (See SAC at ¶¶ 164-65, 167.)        rize, GEICO’s Reimbursement Payments
          As discussed earlier, similar allegations        are ‘‘a further step removed from the
          were deemed sufficient in the multidistrict      market[s] in which Defendants partici-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                               PageID.37955        Page 32
                                    of 58



                                     GEICO CORP. v. AUTOLIV, INC.                                   829
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          pated,’’ (Defendants’ Reply Br. at 12),            for GEICO’s claims arising from Total
          which injects additional uncertainty into          Loss Payments.
          the analysis of the AGC factors that                  The remaining AGC factors, however,
          call for consideration of (i) the causal           tip the balance decisively against a finding
          connection between Defendants’ alleged             of antitrust standing. First, because Total
          antitrust violations and harm to GEI-              Loss Payments are not made in connection
          CO, and (ii) the directness of GEICO’s             with the purchase of auto parts, the injury
          injury and speculative nature of the re-           allegedly inflicted on GEICO does not oc-
          sulting harm. In light of the Court’s              cur in the auto part markets in which
          conclusion that GEICO’s allegations are            Defendants allegedly conspired. As al-
          insufficient to establish its antitrust            ready discussed in the context of Reim-
          standing to pursue its Repair Payment              bursement Payments that do not cover the
          claims, these same allegations necessari-          cost of replacement parts, GEICO has not
          ly fail to overcome the additional obsta-          put forward any allegations or authority to
          cles that stand in the way of GEICO’s              support a finding that the insurance mar-
          effort to recover its Reimbursement                ket in which Total Loss Payments are
          Payments under antitrust law.                      made is inextricably linked with the mar-
                   3. Total Loss Payments                    ket for auto parts.
             [27] The final type of injury for which            The final two AGC factors – the causal
          GEICO seeks to recover is its Total Loss           connection between the violation and the
          Payments – i.e., payments made to in-              harm, and directness of the injury and the
          sureds or third-party claimants for vehi-          related question whether the resulting
          cles declared a total loss. Again, the analy-      damages are speculative – also militate
          sis of the AGC factors with respect to             against a finding of antitrust standing.
          GEICO’s Total Loss Payments does not               GEICO’s apparent theory of harm with
          differ considerably from the analysis of           respect to Total Loss Payments is that
          GEICO’s other claims arising from its pay-         these payments, like the prices paid for
          ments as an insurer. Indeed, because the           new vehicles, are inflated by virtue of De-
          injuries arising from GEICO’s Total Loss           fendants’ overcharges for the component
          Payments are materially indistinguishable          parts of the vehicles. As observed earlier,
          from the injuries sustained by this insurer        however, GEICO has not described its
          as a result of Reimbursement Payments              claim adjustment process for determining
          where no auto parts are purchased, the             the amount of Total Loss Payments, much
          Court travels no new ground in addressing          less alleged that Defendants’ alleged over-
          GEICO’s antitrust standing to recover its          charges somehow affect this process in a
          Total Loss Payments.                               predictable manner and produce increased
             First, because GEICO’s Total Loss Pay-          payments that can be traced to Defen-
          ments do not reimburse their recipients            dants’ overcharges and quantified in order
          for any purchase of replacement auto               to arrive at a non-speculative award of
          parts, there is neither a risk of duplicative      damages. Rather, the complaint addresses
          recovery nor a more direct victim who is           this subject at only the highest level of
          better situated to challenge the alleged           generality, inviting the Court to assume (i)
          antitrust violations that led to GEICO’s           that the supra-competitive prices allegedly
          injuries. Accordingly, as is the case with         charged by Defendants somehow pass into
          Reimbursement Payments where no auto               the insurance market and produce in-
          parts are purchased, these two AGC fac-            creased Total Loss Payments, (ii) that the
          tors favor a finding of antitrust standing         extent of these increases can be accurately
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                              PageID.37956         Page 33
                                    of 58




          830                   345 FEDERAL SUPPLEMENT, 3d SERIES


          measured and properly apportioned among         than a direct purchaser of auto parts or
          the Defendant auto part suppliers, and (iii)    the owner of a fleet of vehicles, Defendants
          that any such means of measuring and            argue that any such claims have been set-
          apportioning damages will be equally valid      tled and released under the terms of the
          across the various forms of auto insurance      settlement agreements entered into by the
          coverage offered by GEICO.                      EPPs and the defendant auto parts suppli-
             Indeed, Defendants correctly point out       ers in the multidistrict litigation. Specifi-
          that GEICO’s effort to recover for its To-      cally, Defendants point to provisions in
          tal Loss Payments introduces still more         these settlements in which the EPPs (i)
          levels of uncertainty into the process of       broadly released all claims they could
          attributing fault to particular Defendant
                                                          bring against the defendant suppliers aris-
          suppliers and quantifying the resulting
                                                          ing from the conduct alleged in the multi-
          harm to GEICO. As Defendants observe,
                                                          district litigation, and (ii) agreed that these
          GEICO ‘‘fails entirely to allege how in-
          sureds or claimants came to possess’’ the       releases encompassed not only any claims
          vehicles for which Total Loss Payments          that the EPPs themselves had brought or
          are made, leading to the possibility that       could have pursued, but also any claims
          some of these vehicles might have ‘‘passed      that could be asserted derivatively on their
          through multiple, intervening, used vehicle     behalf. (See Defendants’ Motion, Ex. B-2,
          transactions – including private sales          Index of Relevant Settlement Agreement
          transactions, dealer trade-ins, and non-        Provisions in Multidistrict Litigation.) In-
          arm’s-length transactions like gifts from       deed, most of these settlement agreements
          family members – on the path from the           expressly included ‘‘insurers’’ in the list of
          OEMs to the insureds.’’ (Defendants’ Mo-        non-parties whose derivative claims were
          tion, Br. in Support at 22.) Even assuming      released by the members of the EPP set-
          that GEICO could provide a reasonable           tlement classes. Defendants further ob-
          measure of harm resulting from a Total
                                                          serve that GEICO plainly had notice of
          Loss Payment for a vehicle purchased as
                                                          these settlements, given its election to opt
          new by an insured, GEICO does not limit
                                                          out of the settlement classes, but that it
          its attempted recovery to only this sub-
          class of Total Loss Payments, nor does its      nonetheless failed to lodge any objections
          complaint attempt to address, or even ac-       to the releases or any other terms of these
          knowledge, the myriad complicating fac-         agreements. It follows, in Defendants’
          tors that must be considered when Total         view, that any claims asserted by GEICO
          Loss Payments are made for used vehicles.       in this case in its role as insurer have been
          Accordingly, GEICO lacks standing to as-        released by GEICO’s insureds as members
          sert antitrust claims arising from this type    of the EPP settlement classes.
          of payment.
                                                             In response, GEICO first insists – and
            E.   To the Extent That GEICO Seeks           Defendants do not dispute – that Defen-
                 to Recover from Defendants Un-           dants’ appeal to the releases in the EPP
                 der a Theory of Subrogation, the         settlement agreements has no effect on
                 Court Cannot Determine the Via-          GEICO’s ability to pursue recoveries
                 bility of This Potential Avenue of       based on (i) its direct purchases of relevant
                 Recovery Under the Present Rec-          auto parts, or (ii) its purchase and owner-
                 ord.                                     ship of a fleet of vehicles. In these capaci-
            [28] To the extent that GEICO seeks           ties, GEICO is properly characterized as
          to recover in this case as an insurer, rather   an EPP. Because it opted out of the settle-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37957         Page 34
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                    831
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          ments reached by the EPPs in the multi-            er (or subrogee) ‘‘succeeds to the rights of’’
          district litigation, it preserved its right to     its insured (the subrogor), and seeks to
          independently assert claims of the sort            ‘‘require the party who caused the damage
          advanced, and then settled and released,           to reimburse the insurer for the payment
          by the EPPs – namely, claims of injury to          the insurer has made’’ to its insured. All-
          vehicle and replacement part purchasers            state, 175 F.3d at 258 (internal quotation
          resulting from Defendants’ alleged price-          marks and citations omitted).
          fixing conspiracies. Although Defendants              [30–32] ‘‘As a general matter, a subro-
          challenge these claims on other grounds,           gation claim by an insurer depends upon
          they do not contend that the releases              the claim of the insured and is subject to
          granted to them in the multidistrict litiga-       whatever defenses the tortfeasor has
          tion operate to bar GEICO from seeking             against the insured.’’ Allstate, 175 F.3d at
          to recover in its roles as automobile and          260 (internal quotation marks and citations
          auto part purchaser. Rather, the parties           omitted). Thus, ‘‘[w]hen an insured settles
          disagree only as to the viability of GEI-          with or releases a third party from liability
          CO’s claims in its capacity as insurer.            for a loss that the third party has caused,
             [29] Despite their differences as to the        the insurer’s subrogation right against
          merits of GEICO’s claims as insurer, the           such party may be destroyed.’’ Gibbs v.
          parties seemingly agree that these                 Hawaiian Eugenia Corp., 966 F.2d 101,
          claims – and, more specifically, the possi-        106 (2d Cir. 1992). There is an exception to
          ble release of these claims via the EPP            this general rule. ‘‘Where a third party
          settlement agreements – are properly ana-          obtains a release from an insured with
          lyzed under the law governing an insurer’s         knowledge that the latter has already re-
          right of subrogation. As explained by the          ceived payment from the insurer or with
          Sixth Circuit, the doctrine of equitable           information that, reasonably pursued,
          subrogation, ‘‘as applied in the insurance         should give him knowledge of the existence
          context, allows an insurer to sue a third          of the insurer’s subrogation rights, such a
          party for injuries that the third party            release does not bar the [insurer’s] right of
          caused to the insured, when the insurer            subrogation.’’ Gibbs, 966 F.2d at 107. This
          compensated the insured for those inju-            exception is intended to prevent a release
          ries.’’ National Surety Corp. v. Hartford          from ‘‘operat[ing] as a fraud upon the in-
          Casualty Insurance Co., 493 F.3d 752, 756          surer.’’ Allstate, 175 F.3d at 261.
          (6th Cir. 2007). Although this theory of              As discussed, the law of subrogation is
          recovery is governed by state law and an           relevant here only with respect to GEI-
          insurer’s right of subrogation therefore           CO’s claims arising from payments to its
          varies from state to state, the parties            insureds or third-party claimants. GEICO
          agree upon the general contours of the law         does not dispute that under the terms of
          of subrogation as it applies here. In partic-      the settlements reached with the defen-
          ular, ‘‘[t]he doctrine of equitable subroga-       dant auto part suppliers in the multidis-
          tion allows insurers to ‘stand in the shoes’       trict litigation, the EPPs (i) broadly agreed
          of their insured to seek indemnification by        to release the defendants from liability for
          pursuing any claims that the insured may           any claims the EPPs brought or could
          have had against third parties legally re-         have pursued relating to the conduct al-
          sponsible for the loss.’’ Allstate Insurance       leged in their complaints, and (ii) defined
          Co. v. Mazzola, 175 F.3d 255, 258 (2d Cir.         this release as encompassing not just the
          1999). In pursuing this recovery, the insur-       EPPs themselves, but also any third party
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                   PageID.37958         Page 35
                                    of 58




          832                       345 FEDERAL SUPPLEMENT, 3d SERIES


          that could assert the EPPs’ claims deriva-           ble basis for such a recovery here. Under
          tively. (See id.) Indeed, Defendants note            this theory, GEICO ‘‘succeeds to the rights
          that nearly all of the settlement agree-             of’’ its insureds in order to ‘‘require [De-
          ments expressly listed insurers as among             fendants] to reimburse [GEICO] for the
          the third parties whose claims were re-              payment[s] [it] has made’’ to its insureds
          leased. Moreover, there is no dispute that           arising from the losses they sustained in
          GEICO was aware of the terms of the                  purchasing auto parts at supra-competitive
          EPP settlements, given its express elec-             prices. Allstate, 175 F.3d at 258 (internal
          tion to opt out of the settlement classes,           quotation marks and citations omitted).
          but it did not lodge any objections to any           This ‘‘right of subrogation attaches, by op-
          aspect of these settlements.                         eration of law, upon [GEICO’s] payment of
             It follows, in Defendants’ view, that             an insured’s loss,’’ Allstate, 175 F.3d at
          GEICO’s claims in the present suit are               260, and it is precisely these claim pay-
          barred to the extent that they arise from            ments that GEICO seeks to recover from
          GEICO’s role as insurer and seek to recov-           Defendants through the various claims it
          er for payments made to insureds or third            has asserted in its role as insurer.
          parties as reimbursement for the purchase
                                                                  As observed earlier, a subrogation claim
          of auto parts at supra-competitive prices.
                                                               brought by GEICO as insurer ‘‘depends
          As Defendants observe, these insureds and
                                                               upon the claim of [its] insured and is sub-
          third-party claimants ‘‘are members of the
                                                               ject to whatever defenses the tortfeasor
          EPP settlement classes,’’ (Defendants’ Mo-
                                                               has against the insured.’’ Allstate, 175 F.3d
          tion, Br. in Support at 24), and they there-
                                                               at 260 (internal quotation marks and cita-
          fore have settled and released their claims
                                                               tions omitted). Ordinarily, then, once an
          against Defendants arising from the auto
                                                               insured ‘‘settles with or releases a third
          part purchases covered by the settlements.
                                                               party from liability for a loss that the third
          Moreover, these releases encompass not
                                                               party has caused,’’ the insurer’s right of
          only the claims that were brought or could
                                                               subrogation is extinguished. Gibbs, 966
          have been brought by the EPPs them-
                                                               F.2d at 106. Defendants contend that un-
          selves, but also claims asserted derivative-
                                                               der this usual rule, the EPPs’ settlements
          ly by third parties such as GEICO that
                                                               and releases in the multidistrict litigation
          rest upon the same underlying auto part
                                                               preclude GEICO from pursuing claims of
          transactions. Accordingly, Defendants
                                                               subrogation in this case, as these claims
          maintain that any claims asserted by GEI-
                                                               are subject to the same defense of release
          CO as an insurer, regardless of the under-
                                                               that would prevent the EPPs themselves
          lying legal theory of recovery, have been
                                                               from seeking any additional recovery from
          released as a result of the EPPs’ settle-
                                                               Defendants. Defendants further point out
          ments in the multidistrict litigation.6
                                                               that GEICO does not even purport to as-
            [33] As Defendants recognize, howev-               sert any claims of subrogation in its com-
          er, the doctrine of subrogation arguably             plaint. This pleading deficiency is particu-
          provides an avenue for GEICO to avoid                larly acute, in Defendants’ view, where
          this result, assuming it can identify a via-         GEICO’s rights to subrogation ‘‘depend[ ]

          6.     Of course, to the extent that the Court has     EPP settlements. This includes, most notably,
               determined elsewhere in this opinion and or-      GEICO’s claims under antitrust law resting
               der that GEICO’s claims as an insurer are         upon repair, replacement, and total loss pay-
               defeated on other grounds, it need not decide     ments made pursuant to GEICO’s policies
               whether these claims were released under the      with its insureds.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                 PageID.37959         Page 36
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                     833
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          on the terms of its contracts with its in-           [34] This dispute cannot be resolved in
          sureds and the [state] law[s] governing            the context of the present Rule 12(b)(6)
          those contracts,’’ but where GEICO has             motion to dismiss. First, Defendants cor-
          failed to ‘‘allege[ ] any of the terms of its      rectly observe that GEICO has not even
          insurance contracts’’ or ‘‘any facts showing       attempted to plead a theory of subrogation
          that it could meet the required elements           in its present complaint, and the Court
          for a subrogation claim under the laws of          cannot analyze the viability of this theory
          any state.’’ (Defendants’ Motion, Br. in           of recovery in a vacuum. Next, through
          Support at 25-26.)                                 their appeal to the release provisions in
             Yet, while the releases granted by the          the EPP settlement agreements, Defen-
          EPPs in their settlements ordinarily would         dants have raised an affirmative defense to
          operate to defeat GEICO’s right of subro-          GEICO’s claims as an insurer. See Fed. R.
          gation, this rule is subject to a recognized       Civ. P. 8(c)(1) (identifying ‘‘release’’ as an
          exception that arguably might apply here.          affirmative defense that must be asserted
          Specifically, ‘‘[w]here a third party obtains      in response to a complaint). As uniformly
          a release from an insured with knowledge           recognized in the case law, it generally is
          that the latter has already received pay-          not appropriate to grant a Rule 12(b)(6)
          ment from the insurer or with information          motion to dismiss on the basis of an affir-
          that, reasonably pursued, should give him          mative defense, because a plaintiff ordi-
          knowledge of the existence of the insurer’s        narily has no obligation to plead around
          subrogation rights, such a release does not
                                                             this affirmative defense in order to state a
          bar the [insurer’s] right of subrogation.’’
                                                             viable claim. See, e.g., Estate of Barney v.
          Gibbs, 966 F.2d at 107. In GEICO’s view,
                                                             PNC Bank, N.A., 714 F.3d 920, 926 (6th
          Defendants cannot establish that they
                                                             Cir. 2013); Cataldo v. U.S. Steel Corp., 676
          lacked knowledge or notice of GEICO’s
                                                             F.3d 542, 547 (6th Cir. 2012); see also
          claim payments to its insureds and its
                                                             Deckard v. General Motors Corp., 307
          resulting right of subrogation, particularly
                                                             F.3d 556, 560 (7th Cir. 2002).
          in light of ‘‘the nature of the [a]uto [p]arts
          business (in which insurance companies
                                                                [35] To be sure, a motion to dismiss
          are intricately involved in paying for parts
          and labor to restore insureds’ vehicles to         may be granted where the ‘‘undisputed
          pre-loss condition).’’ (Plaintiffs’ Response       facts’’ as set forth in the pleadings ‘‘conclu-
          Br. at 32.) Defendants, for their part, note       sively establish an affirmative defense as a
          the absence of any allegations in the com-         matter of law.’’ Estate of Barney, 714 F.3d
          plaint that GEICO ‘‘notified Defendants of         at 926 (internal quotation marks and cita-
          any subrogation rights that may have ac-           tions omitted). Here, however, the plead-
          crued as a result of paying claims to the          ings do not address, much less conclusively
          EPPs,’’ and they further observe that              resolve, the factual question whether De-
          GEICO has not ‘‘attempt[ed] to identify            fendants had knowledge or notice of GEI-
          the EPPs whose claims might be subrogat-           CO’s potential subrogation rights arising
          ed, to notify the Defendants of the number         from its claim payments to EPPs, such
          or value of EPP claims that might be               that the releases granted by the EPPs to
          subrogated, or to put Defendants on notice         Defendants did not operate to extinguish
          that they were at risk of paying the EPP           these rights. Consequently, GEICO’s abili-
          claims twice if the Settlement Agreements          ty to pursue its claimed right of subroga-
          became effective.’’ (Defendants’ Motion,           tion – assuming that it intends to pursue
          Br. in Support at 27.)                             such a theory of recovery, and that such a
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                            PageID.37960        Page 37
                                    of 58




          834                  345 FEDERAL SUPPLEMENT, 3d SERIES


          claim is properly asserted in the amended      ery rules, fraudulent concealment, and
          pleadings authorized elsewhere in this         class action tolling to extend the deadline
          opinion and order – is not defeated at the     for timely commencement of this suit. At a
          present juncture by the affirmative de-        minimum, to the extent that Defendants
          fense of release.                              offer speculation or cite extrinsic evidence
                                                         that might cast doubt upon GEICO’s alle-
            F.   The Timeliness of This Suit Turns       gations of timely filing, GEICO contends
                 upon Factual Issues That The            that such factual issues are not properly
                 Court Cannot Resolve in the Con-        resolved in the context of a Rule 12(b)(6)
                 text of a Rule 12(b)(6) Motion to       motion to dismiss. As discussed below, the
                 Dismiss.                                Court finds that GEICO has the better of
             [36] According to Defendants, GEI-          this argument.
          CO’s federal antitrust claims are governed        [37] Defendants’ statute of limitations
          by a four-year statute of limitations, and     challenge is an affirmative defense that
          its state law antitrust claims ‘‘are subject   must be set forth in response to a com-
          to statutes of limitation ranging from two     plaint. See Fed. R. Civ. P. 8(c)(1). A plain-
          to four years.’’ (Defendants’ Motion, Br. in   tiff ordinarily need not plead around such
          Support at 30.) Similarly, GEICO’s state       affirmative defenses, and ‘‘a motion under
          law consumer protection and unjust en-         Rule 12(b)(6), which considers only the
          richment claims are governed by statutes       allegations in the complaint, is generally
          of limitation ‘‘ranging from three to six      an inappropriate vehicle for dismissing a
          years.’’ (Id.) Defendants contend that all     claim based upon the statute of limita-
          of GEICO’s federal and state law claims        tions.’’ Cataldo, 676 F.3d at 547; see also
          are time-barred under these statutes of        In re Automotive Parts Antitrust Litiga-
          limitation, where GEICO’s claims purport-      tion (In re Wire Harness Cases—Truck &
          edly accrued ‘‘at the very latest TTT in       Equipment Dealer Actions), 2015 WL
          February 2010,’’ when the DOJ and for-         10376960, at *3 (E.D. Mich. Dec. 30, 2015)
          eign investigative agencies announced          (‘‘Wire Harnesses—Trucks’’). Nonetheless,
          raids and investigations of auto part man-     dismissal under Rule 12(b)(6) is appropri-
          ufacturers, yet GEICO did not bring this       ate where ‘‘the allegations in the complaint
          suit until more than six years later, in       affirmatively show that the claim is time-
          September of 2016. (Id. at 30-32.) Al-         barred,’’ Cataldo, 676 F.3d at 547, and it is
          though Defendants acknowledge that GEI-        the plaintiff’s burden in this instance to
          CO has invoked various mechanisms – in-        affirmatively ‘‘plead circumstances which
          cluding state discovery rules, the doctrine    would indicate why [the events giving rise
          of fraudulent concealment, class action        to a claim] w[ere] not discovered earlier’’
          tolling, and the continuing violation doc-     or ‘‘why the statute [of limitations] should
          trine – in an effort to bring its claims       be tolled,’’ Auslender v. Energy Manage-
          within the applicable limitation periods,      ment Corp., 832 F.2d 354, 356 (6th Cir.
          they argue that GEICO’s allegations fail       1987).
          to support these various attempts to save         Both sides agree that a federal antitrust
          its allegedly untimely filing.                 claim must be brought within four years
             In response, GEICO views the pertinent      after the claim accrues. See In re Automo-
          case law – including, most notably, this       tive Parts Antitrust Litigation (In re Oc-
          Court’s rulings in the multidistrict litiga-   cupant Safety Restraints), 2014 WL
          tion – as supporting its appeals to discov-    4272784, at *10 (E.D. Mich. Aug. 29, 2014)
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37961        Page 38
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                   835
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          (‘‘Occupant Safety Restraints’’) (citing 15        tions in GEICO’s complaint as purportedly
          U.S.C. § 15b). In addition, GEICO’s state          demonstrating that GEICO’s claims ac-
          law antitrust claims ‘‘are subject to stat-        crued in February of 2010 at the latest.
          utes of limitation ranging from two to four        First, GEICO alleges that the DOJ and its
          years.’’ (See Defendants’ Motion, Br. in           law enforcement counterparts in Europe
          Support at 30 (citing authorities collected        and Japan conducted ‘‘[p]arallel raids’’ in
          in Ex. C).) GEICO’s state law ‘‘consumer           February of 2010 as ‘‘part of a coordinated
          protection claims are subject to statutes of       international operation’’ to investigate sus-
          limitation ranging from three to six years,’’      pected anticompetitive activities by auto
          and its equitable claims of unjust enrich-         part suppliers. (SAC at ¶¶ 129-31.) In con-
          ment likewise are subject to the same peri-        nection with these raids, the DOJ ‘‘issued a
          ods of limitation that govern its state law        general statement that it was ‘investigat-
          antitrust and consumer protection claims.          ing the possibility of anticompetitive cartel
          (Id.) As GEICO observes, however, even             conduct of automotive electronic compo-
          where its state law consumer protection            nent suppliers’ but provided no further
          and unjust enrichment claims may be gov-           detail.’’ (Id. at ¶ 131.) Next, Defendants
          erned by the same statutes of limitation,          read GEICO’s complaint as alleging that
          these claims ‘‘may be subject to different         ‘‘Defendants committed the last overt acts
          accrual and tolling rules.’’ (Plaintiffs’ Re-      in furtherance of the alleged conspiracy’’ in
          sponse Br. at 25 n.23.)                            February of 2010. (Defendants’ Motion,
                                                             Br. in Support at 31 (citing SAC at
             As the starting point of their statute of
                                                             ¶ 179).)
          limitations challenge, Defendants maintain
                                                                Neither of these allegations, properly
          that the statutes of limitation for GEICO’s
                                                             construed in the context of the complaint
          various claims ‘‘began to run, at the latest,
                                                             as a whole, demonstrates conclusively that
          in February 2010, which is when GEICO
                                                             GEICO’s claims accrued by February of
          alleges both that Defendants engaged in
                                                             2010 at the latest. Regarding the February
          the last overt act in furtherance of the
                                                             2010 announcements by the DOJ and other
          alleged conspiracy and that it learned of
                                                             law enforcement authorities that they were
          investigations of suppliers of [a]uto [p]arts
                                                             investigating possible anticompetitive con-
          for antitrust violations.’’ (Defendants’ Mo-
                                                             duct by auto part suppliers, this Court has
          tion, Br. in Support at 28.) Because ‘‘all of
                                                             found that the requisite inquiry notice that
          GEICO’s claims are governed by limita-
                                                             triggers claim accrual is not established
          tions periods of six years or less,’’ (id.),
                                                             through the ‘‘availability of limited infor-
          and because GEICO did not bring this suit
                                                             mation in the public domain’’ regarding a
          until September of 2016, Defendants con-
                                                             government investigation. In re Automo-
          tend that GEICO’s complaint is subject to
                                                             tive Parts Antitrust Litigation (In re Ce-
          dismissal in its entirety as untimely filed.       ramic Substrates), No. 16-03802, Dkt. 27,
          In response, GEICO asserts that the alle-          slip op. at 11-12, 2017 WL 7689654 (E.D.
          gations of its complaint are sufficient to         Mich. May 5, 2017) (‘‘Ceramic Sub-
          raise factual issues as to both the accrual        strates’’). As the Court explained in the
          of its claims and the availability of tolling,     multidistrict litigation, although the gov-
          so that it would not be appropriate to             ernment investigations into the suspected
          resolve these questions of fact in the con-        antitrust activities of auto part suppliers
          text of a Rule 12(b)(6) motion to dismiss.         garnered ‘‘substantial and widespread’’
            Turning first to the matter of claim ac-         publicity over time, the initial February
          crual, Defendants cite two sets of allega-         2010 announcements identified only some
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                              PageID.37962        Page 39
                                    of 58




          836                   345 FEDERAL SUPPLEMENT, 3d SERIES


          auto part suppliers and a small subset of        the DOJ’s February 2010 announcement to
          the auto parts, markets, and alleged con-        the accrual of GEICO’s claims.
          spiratorial activities that have since engen-
          dered the multiplicity of complaints filed in       Nonetheless, Defendants insist that
          the multidistrict litigation. See Wire Har-      there must be an ascertainable end date to
          nesses—Trucks, 2015 WL 10376960, at *4-          GEICO’s appeals to discovery rules and
          *5. More generally, this Court emphasized        fraudulent concealment, and they point to
          that ‘‘[t]he statute of limitations inquiry is   the allegation in the complaint that ‘‘the
          not made in light of all the connections         statutes of limitations as to GEICO’s
          that subsequently came to light,’’ but rath-     claims did not begin to run, at the earliest,
          er must be confined to the information           until [the] DOJ publicly announced the
          disclosed ‘‘at the time of the publicity’’ in    investigation into each Auto Part.’’ (SAC at
          question. Id. at *6.                             ¶ 176.) Based on this allegation, Defen-
                                                           dants have produced a chart summarizing
             In addition, GEICO affirmatively alleges
                                                           their views as to which of GEICO’s part-
          that it remained unaware of Defendants’
                                                           specific claims would be time-barred by a
          alleged price-fixing conspiracies for a peri-
                                                           statute of limitations that began to run on
          od of time after the DOJ’s initial February
          2010 announcement. Specifically, GEICO           the date of the public announcement of an
          alleges (i) that Defendants and their co-        investigation into a given auto part. (See
          conspirators ‘‘met and communicated in           Defendants’ Reply, Exhibit A.) Yet, GEI-
          secret and agreed to keep the facts about        CO’s invocation of discovery rules and the
          their collusive conduct from being discov-       doctrine of fraudulent concealment cannot
          ered,’’ (ii) that they ‘‘engaged in other        be addressed in isolation, without regard
          surreptitious activity, including the use of     for its concurrent appeals to the continuing
          code names and meeting at private resi-          violation doctrine and class action tolling,
          dences or remote locations,’’ (iii) that they    both of which are discussed below. GEICO
          ‘‘coordinated their pricing in a manner to       notes, for example, that although a Defen-
          avoid detection,’’ and (iv) that due to these    dant supplier’s sales of a specific auto part
          affirmative efforts to conceal price-fixing      at supra-competitive prices ‘‘may have
          activities, GEICO lacked knowledge or in-        stopped when the Department of Justice
          quiry notice ‘‘until the public announce-        made an announcement for that particular
          ments of the government investigation[s]         part,’’ discovery might yet reveal that
          into each Auto Part.’’ (SAC at ¶¶ 183-84.)       ‘‘some conspirators TTT did not exit the
          This Court has repeatedly held that simi-        conspiracy immediately upon the DOJ an-
          lar allegations of active concealment were       nouncement and continued to [sell this
          sufficient to support appeals to the doc-        part at] illegally inflated prices.’’ (Plain-
          trine of fraudulent concealment, and there-      tiffs’ Response Br. at 24 n.20 (emphasis in
          by defer the accrual of claims. See, e.g.,       original).) Once again, then, factual issues
          Occupant Safety Restraints, 2014 WL              preclude the Court from accepting Defen-
          4272784, at *10-*11; In re Automotive            dants’ argument that the dates of the
          Parts Antitrust Litigation (In re Fuel           DOJ’s public announcements should be
          Senders), 2014 WL 1746121, at *11 (E.D.          viewed as hard-and-fast deadlines for the
          Mich. April 30, 2014); In re Automotive          accrual of GEICO’s claims.
          Parts Antitrust Litigation (In re Wire
          Harness Cases), 2013 WL 2456584, at *12            [38] As for Defendants’ contention that
          (E.D. Mich. June 6, 2013). Therefore, fac-       GEICO has acknowledged the February
          tual issues remain as to the significance of     2010 accrual of its claims by alleging that
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                          PageID.37963          Page 40
                                    of 58



                                           GEICO CORP. v. AUTOLIV, INC.                                          837
                                             Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          ‘‘Defendants engaged in the last overt acts              Circuit decisions cited by Defendants are
          in furtherance of the alleged conspiracies               not to the contrary, but merely emphasize
          in February 2010,’’ (Defendants’ Reply Br.               that under the continuing violation doc-
          at 18), this argument both misreads GEI-                 trine, ‘‘an overt act by the defendant is
          CO’s complaint and misstates the law gov-                required to restart the statute of limita-
          erning continuing violations. First, GEICO               tions and the statute runs from the last
          alleges that ‘‘Defendants committed their                overt act.’’ DXS, Inc. v. Siemens Medical
          last overt acts in furtherance of the vari-              Systems, Inc., 100 F.3d 462, 467 (6th Cir.
          ous conspiracies beginning in February of                1996) (quoting Peck v. General Motors
          2010,’’ (SAC at ¶ 179 (emphasis added) ),                Corp., 894 F.2d 844, 849 (6th Cir. 1990) ).
          not that the last of the overt acts for each             Consistent with this case law, GEICO al-
          and every one of the sixteen alleged part-               leges that ‘‘Defendants committed an overt
          specific conspiracies occurred by February               act in furtherance of the conspiracies each
          2010 at the latest. Next, although Defen-                time they sold an Auto Part to an OEM,’’
          dants suggest that GEICO ‘‘contradicts                   and that ‘‘[f]or each [such] overcharge TTT,
          TTT controlling Sixth Circuit precedent’’ by             a cause of action accrued, restarting the
          asserting that ‘‘claims accrued with each                relevant statute of limitations.’’ (SAC at
          sale of an Auto Part,’’ (Defendant’s Reply               ¶¶ 178-79.) Accepting these allegations as
          Br. at 20 n.22), GEICO points to control-                true, the Court finds that GEICO’s claims
          ling Supreme Court precedent that sup-                   continued to accrue after February of
          ports its appeal to the continuing violation             2010, and it rejects Defendants’ appeal to
          doctrine. Specifically, as an example of a               this date as the last viable point of accru-
          ‘‘continuing violation,’’ the Court cited a              al.7
          ‘‘price-fixing conspiracy that brings about
          a series of unlawfully high priced sales                    [39] Finally, Defendants challenge
          over a period of years,’’ explaining that                GEICO’s attempt to invoke class action
          ‘‘each sale to the plaintiff’’ qualifies as an           tolling as an additional means of avoiding
          ‘‘overt act that is part of the violation’’ and          the applicable statutes of limitation. As all
          thereby ‘‘starts the statutory period run-               parties here recognize, the commencement
          ning again.’’ Klehr v. A.O. Smith Corp.,                 of a class action suit tolls the applicable
          521 U.S. 179, 189, 117 S.Ct. 1984, 1990, 138             statutes of limitation for all those who
          L.Ed.2d 373 (1997) (internal quotation                   would have been members of the putative
          marks and citations omitted). The Sixth                  class but instead ‘‘elect[ ] to opt out of the

          7.      As Defendants observe, although each overt          theories of recovery asserted by GEICO. (See
               act starts a new period of limitation for              Defendants’ Reply Br. at 20-21 (citing Defen-
               claims arising from this act, ‘‘the commission         dants’ Reply, Exhibit B).)
               of a separate new overt act generally does not
               permit the plaintiff to recover for the injury            Plainly, however, GEICO cannot be expect-
               caused by old overt acts outside the limitation        ed at this juncture to identify and allege each
               period.’’ Klehr, 521 U.S. at 189, 117 S.Ct. at         individual auto part sale for which it seeks to
               1990-91. Accordingly, Defendants argue that            recover, so this matter cannot be resolved in
               GEICO should not be permitted to recover               the context of a Rule 12(b)(6) motion. More-
               ‘‘for acts (and damages) that are alleged to           over, it is possible, as already discussed, that
               have occurred years outside any applicable             the accrual of claims arising from earlier auto
               limitations period,’’ and they have provided a         part sales might be deferred by resort to dis-
               chart summarizing the purported cut-off                covery rules or the doctrine of fraudulent
               dates for recoverable auto part purchases un-          concealment, and this again is not an issue
               der the relevant statutes of limitation of vari-       that is amenable to resolution through a mo-
               ous states that govern each of the state law           tion to dismiss.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                             PageID.37964         Page 41
                                    of 58




          838                   345 FEDERAL SUPPLEMENT, 3d SERIES


          class action [and] file individual claims.’’    sureds or third-party claimants cannot
          Weston v. AmeriBank, 265 F.3d 366, 368          plausibly be characterized as involving
          (6th Cir. 2001). GEICO alleges in its com-      purchases of auto parts ‘‘for personal use
          plaint that it ‘‘was a putative member of       and not for resale.’’
          the proposed classes’’ in each of the six-
          teen part-specific cases that were trans-          In response, GEICO first contends that
          ferred into the multidistrict litigation be-    it is enough that it was a putative member
          fore this Court. (SAC at ¶ 186.) It follows,    of the settlement classes certified by the
          in GEICO’s view, that the running of the        Court in each of the settlements reached
          relevant statutes of limitation was ‘‘tolled    by the EPPs and the auto part suppliers in
          from the filing of the[se] class [action]       the multidistrict litigation. (See Plaintiffs’
          suits until GEICO opted out of the litiga-      Response, App. A (chart listing the settle-
          tion on April 11, 2016.’’ (Id.)                 ment class definitions for each of the six-
                                                          teen part-specific settlements reached be-
             Defendants argue that this blanket alle-
                                                          tween EPPs and auto part suppliers).)
          gation of class membership and attendant
                                                          Even assuming that the initial complaints
          tolling is inadequate on two grounds. First,
                                                          in some of these cases featured narrower
          Defendants point to GEICO’s failure to
                                                          definitions of the plaintiff classes, GEICO
          identify any specific putative class in the
                                                          points to case law holding that class action
          multidistrict litigation, much less ‘‘explain
          how it was a member of that class.’’ (De-       tolling extends to members of the expand-
          fendants’ Motion, Br. in Support at 33.)        ed class ultimately certified by the Court.
          Next, Defendants fault GEICO for failing        See Genden v. Merrill Lynch, Pierce, Fen-
          to ‘‘allege which (if any) state law claims,    ner & Smith, Inc., 114 F.R.D. 48, 54
          covering which (if any) Auto Part and           (S.D.N.Y. 1987); see also Harris v. Union
          which (if any) of its Payments, were tolled     Electric Co., 787 F.2d 355, 361 n.2 (8th Cir.
          and for how long those claims were tolled,      1986) (finding that class action tolling ex-
          let alone whether any tolling in fact was       tended to ‘‘those members who were sub-
          long enough to rescue any of its claims.’’      sequently added to the class as a result of
          (Id.) Defendants maintain that these gaps       the court’s redefinition’’); Smith v. Pen-
          in GEICO’s allegations are especially pro-      nington, 352 F.3d 884, 894 (4th Cir. 2003)
          blematic in light of the evolving definitions   (similarly looking to a plaintiff’s motion for
          of the indirect purchaser classes in the        class certification as supplying the opera-
          multidistrict litigation, where at least some   tive definition for tolling purposes, even
          of the EPP complaints defined the plaintiff     though this definition was ‘‘more narrow
          classes as all persons and entities that        than is arguably dictated by [the plain-
          indirectly purchased specified auto parts       tiff’s] complaint’’). Although Defendants at-
          ‘‘for personal use and not for resale.’’ See,   tempt to distinguish Genden on the ground
          e.g., LaCava v. Delphi Automotive LLP,          that the court’s initial (and narrower) class
          No. 11-14399, Dkt. 1, Complaint at ¶ 75,        certification ruling in that case was ‘‘condi-
          2011 WL 5904802 (E.D. Mich. Oct. 5,             tional’’ and subject to later reevaluation,
          2011); In re Automotive Parts Antitrust         see Genden, 114 F.R.D. at 54, they fail to
          Litigation (In re Wire Harness Systems),        suggest why the same rule should not
          No. 12-103, Dkt. 132, Second Consolidated       apply here, where no class at all had been
          Amended Class Action Complaint at ¶ 177,        certified, conditional or otherwise, prior to
          2013 WL 6873857 (E.D. Mich. June 20,            the settlement classes proposed by the
          2013). In Defendants’ view, GEICO’s             parties (including Defendants here) and
          claims arising from payments made to in-        accepted by the Court. Moreover, even
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37965        Page 42
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                   839
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          accepting that Genden and the other                     G.   Defendants’ Challenges to GEI-
          above-cited cases are not directly on point,                 CO’s Antitrust Claims Under the
          it bears emphasis that Defendants have                       Laws of Various States
          cited no case in which a court has declined           Defendants next seek the dismissal of
          to apply class action tolling to the mem-          many of GEICO’s state law antitrust
          bers of a broader settlement class, and            claims on various grounds. The Court ad-
          instead limited this tolling to a narrower         dresses each of these challenges in turn.
          class as defined in the plaintiff’s initial        1.    GEICO’s Antitrust Claims Under the
          complaint.                                               Laws of the So-Called ‘‘Nexus’’
             As for Defendants’ protest that GEI-                  States Must Be Dismissed for Fail-
          CO’s complaint lacks specificity as to pre-              ure to Allege a Nexus Between De-
          cisely which of the complaints or settle-                fendants’ Conduct and Intrastate
          ment classes in the multidistrict litigation             Commerce.
          operated to ‘‘toll[ ] which of [GEICO’s]              [40] The parties agree that under the
          claims over what period of time,’’ (Defen-         antitrust laws of certain states — i.e., Ala-
          dants’ Reply Br. at 18-19), GEICO points           bama, Mississippi, Nevada, New York,
          in response to the rule, cited earlier, that a     North Carolina, South Dakota, Tennessee,
          plaintiff generally need not plead facts in        and West Virginia, (see Defendants’ Mo-
          avoidance of a statute of limitations de-          tion, Br. in Support at 35 (citing Ex. D,
          fense. See Bishop v. Lucent Technologies,          collecting relevant authority) ) — as well
          Inc., 520 F.3d 516, 520 (6th Cir. 2008).           as the District of Columbia (collectively,
          Although it is true that a plaintiff must          the ‘‘Nexus States’’), the plaintiff must
          affirmatively allege facts in support of toll-     ‘‘allege a nexus between the defendant’s
          ing where it is otherwise ‘‘apparent from          conduct and intrastate commerce.’’ Wire
          the face of the complaint that the time            Harnesses, 2013 WL 2456612, at *19. In
          limit for bringing the claim has passed,’’         seeking the dismissal of GEICO’s claims
          Bishop, 520 F.3d at 520 (internal quotation        brought under the antitrust laws of these
          marks, alteration, and citation omitted),          jurisdictions, Defendants argue that the
          nothing of the sort is apparent here. Rath-        allegations of GEICO’s complaint fail to
          er, GEICO has alleged that it is a member          establish this requisite nexus, where
          of the putative EPP class in each of the           ‘‘GEICO does not allege purchases of [rel-
          relevant part-specific cases in the multidis-      evant] [a]uto [p]arts in the Nexus States
          trict litigation. It further states without        or that any GEICO plaintiff resides in the
          dispute that prior to opting out, it was a         Nexus States.’’ (Defendants’ Motion, Br.
          member of the settlement class in each of          in Support at 35.) The Court agrees.
          these cases. Moreover, GEICO’s appeal to              In an effort to turn aside Defendants’
          class action tolling must be considered in         challenge to its allegations of a nexus with
          conjunction with its invocation of the dis-        intrastate commerce, GEICO points to the
          covery rule and the doctrine of fraudulent         passages in its complaint alleging that De-
          concealment and its allegations of continu-        fendants’ conduct ‘‘(i) fixed, raised, main-
          ing violations. The complex, fact-intensive        tained and stabilized’’ the prices of rele-
          interactions among these legal principles          vant auto parts in each of the Nexus
          preclude a determination as a matter of            States, (ii) ‘‘restrained, suppressed and
          law that Defendants necessarily will pre-          eliminated price competition for’’ the rele-
          vail on their affirmative defense of the           vant auto parts throughout each of the
          statute of limitations.                            Nexus States, (iii) ‘‘deprived GEICO and
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                              PageID.37966         Page 43
                                    of 58




          840                   345 FEDERAL SUPPLEMENT, 3d SERIES


          its insureds and claimants of free and open     leged price-fixing conspiracies ‘‘resulted in
          competition’’ in the submarkets for the         GEICO paying supra-competitive, artifi-
          relevant auto parts, and (iv) ‘‘resulted in     cially high prices for’’ relevant auto parts,
          GEICO paying supra-competitive, artifi-         (see, e.g. SAC at ¶ 202(a) ), and (ii) that as
          cially high prices for’’ relevant auto parts.   a result, GEICO ‘‘has been injured in its
          (SAC at ¶¶ 202-27.) GEICO further alleg-        business and property’’ in ‘‘each of’’ the
          es that ‘‘in each of the TTT states’’ identi-   jurisdictions identified in its complaint, (id.
          fied in its complaint, it ‘‘has been injured    at ¶ 228). As Defendants point out, GEI-
          in its business and property’’ as a result of   CO ‘‘does not dispute that it must allege a
          Defendants’ alleged price-fixing conspira-      purchase in a Nexus State to maintain a
          cies. (Id. at ¶ 228.) In GEICO’s view, this     claim under a Nexus State’s antitrust
          Court has ‘‘found the EPPs’ similar allega-     laws,’’ yet it notably fails to do so. (Defen-
          tions to be sufficient to support [the]         dants’ Reply Br. at 21.) As with the TED
          EPPs’ state antitrust claims.’’ (Plaintiffs’    plaintiffs, the Court likewise concludes
          Response Br. at 34 (citing Wire Harness-        here that GEICO’s antitrust claims under
          es, 2013 WL 2456612, at *20).)                  the laws of the Nexus States are subject to
             Yet, as Defendants correctly observe,        dismissal for lack of allegations of a nexus
          this Court has distinguished its Wire Har-      between Defendants’ allegedly unlawful
          nesses ruling in other decisions in the mul-    conduct and GEICO’s commercial activity
          tidistrict litigation, and the grounds for      within those jurisdictions.
          this distinction are present here. Most no-        To be sure, if the Court were to consider
          tably, in In re Automotive Parts Antitrust      GEICO’s alleged injuries sustained in its
          Litigation (In re Wire Harness Cases),          role as insurer, it might be reasonable to
          2015 WL 10376960, at *7 (E.D. Mich. Dec.        infer that GEICO, as one of the nation’s
          30, 2015), the Court observed that the          largest automotive insurers, has made rel-
          EPPs in Wire Harnesses had ‘‘alleged res-       evant payments to its insureds or third-
          idency of the named plaintiffs in the nexus     party claimants in each of the Nexus
          states,’’ while the truck and equipment         States. As explained earlier, however, the
          dealership (‘‘TED’’) plaintiffs had made no     allegations of GEICO’s complaint are in-
          such ‘‘express or implied allegations of in-    sufficient to establish GEICO’s standing as
          state residency or injury.’’ Because none of    an insurer to bring antitrust claims under
          the TED plaintiffs alleged that they ‘‘re-      federal or state law. Rather, GEICO’s an-
          side[d] or were injured in the nexus            titrust claims are viable only to the extent
          states,’’ the Court ordered the dismissal of    that they rest upon GEICO’s direct pur-
          the antitrust claims brought under the          chase of relevant auto parts or its owner-
          laws of those states. Id.                       ship of a fleet of vehicles, and GEICO’s
             This reasoning leads to the same out-        complaint fails to allege any such pur-
          come here. Although GEICO views the             chases of relevant auto parts or vehicles in
          allegations of its complaint as establishing    any of the Nexus States. It follows that
          that it paid ‘‘supracompetitive, artificially   GEICO’s antitrust claims under the laws
          high prices for [a]uto [p]arts in’’ each of     of the Nexus States must be dismissed.
          the Nexus States, (Plaintiffs’ Response Br.     2. Because None of the GEICO Enti-
          at 34), Defendants correctly observe that            ties Is a Citizen or Resident of
          the complaint stops short of ‘‘mentioning            Utah, GEICO Cannot Pursue an
          where any purchases were made,’’ (Defen-             Antitrust Claim Under Utah Law.
          dants’ Reply Br. at 21). Rather, the com-         [41] Under Utah law, a plaintiff must
          plaint alleges only (i) that Defendants’ al-    be ‘‘a citizen of this state or a resident of
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37967         Page 44
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                    841
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          this state’’ in order to bring to claim under      Rev. Stat. § 646.715(2). As already dis-
          Utah’s Antitrust Act. Utah Code Ann.               cussed with respect to the antitrust laws of
          § 76-10-3109(1)(a). In reliance on this stat-      the Nexus States, the allegations of GEI-
          utory language, a number of courts have            CO’s complaint do not establish a connec-
          dismissed claims brought under Utah anti-          tion between Defendants’ allegedly unlaw-
          trust law by plaintiffs who were neither           ful conduct and any relevant intrastate
          citizens nor residents of Utah. See, e.g., In      activities engaged in by any of the GEICO
          re Opana ER Antitrust Litigation, 162              entities in the state of Oregon, where none
          F.Supp.3d 704, 725 (N.D. Ill. 2016); In re         of these entities reside in that state. This
          Aggrenox        Antitrust    Litigation,   94      leaves only the possibility that Defendants’
          F.Supp.3d 224, 251-52 (D. Conn. 2015); In          allegedly anticompetitive activities had an
          re Niaspan Antitrust Litigation, 42                effect on interstate trade or commerce
          F.Supp.3d 735, 759-60 (E.D. Pa. 2014). De-         that threatened or caused injury ‘‘to a
          fendants contend that GEICO’s claim un-            person or property located in’’ Oregon.
          der Utah antitrust law is likewise subject
          to dismissal, where none of the GEICO                 The Court agrees with Defendants that
          entities named as plaintiffs in this action is     the allegations of the complaint fail to sup-
          a Utah citizen or resident.                        port this theory of recovery. Again, the
                                                             GEICO entities do not reside in Oregon,
             In response, GEICO states that it has
                                                             nor is there any allegation that GEICO
          sufficient contacts with the State of Utah
                                                             owns any property in that state. To the
          to sue or be sued in the courts of that
                                                             extent that GEICO points to the allega-
          state. Be that as it may, Utah antitrust law
                                                             tions of its complaint as demonstrating
          demands Utah citizenship or residency,
                                                             that ‘‘Defendants caused GEICO to pay
          and not the capacity to sue or be sued in
                                                             supracompetitive, artificially high prices
          that state. Although GEICO suggests that
                                                             for [a]uto [p]arts in Oregon,’’ (Plaintiffs’
          the above-cited cases are inapposite, those
                                                             Response Br. at 36), the cited portion of
          cases precisely track the language of the
                                                             the complaint alleges only that Defen-
          pertinent Utah statute, and do not engage
                                                             dants’ alleged price-fixing conspiracies ‘‘re-
          in the jurisdictional inquiry urged by GEI-
                                                             sulted in GEICO paying supra-competi-
          CO. Nor has GEICO identified any case
                                                             tive, artificially high prices for [a]uto
          law or other authority that supports its
                                                             [p]arts,’’ (SAC at ¶ 221(a) ), without indi-
          proposed reading of Utah antitrust law. In
                                                             cating that any such purchases occurred in
          accordance with the uniform weight of au-
                                                             Oregon. Although GEICO further asserts
          thority, the Court finds that GEICO’s anti-
                                                             that it made payments to repair facilities
          trust claim under Utah law must be dis-
                                                             located in Oregon and to insureds and
          missed.
                                                             third-party claimants who reside in that
          3.   GEICO’s Antitrust Claim Under Or-             state, (Plaintiffs’ Response Br. at 36), the
               egon Law Is Subject to Dismissal              complaint lacks any such specific allega-
               for Lack of Allegations of Injury to          tions and, in any event, the Court has
               a Person or Property in That State.           already determined that GEICO lacks
            [42] The Oregon legislature has man-             standing as an insurer to bring antitrust
          dated that the state’s antitrust law applies       claims under state or federal law arising
          only to ‘‘intrastate trade or commerce, and        from its alleged reimbursement payments
          to interstate trade or commerce involving          to repair facilities, insureds, or third-party
          an actual or threatened injury to a person         claimants. Finally, Defendants aptly ob-
          or property located in this state.’’ Oregon        serve that even if GEICO made such pay-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                             PageID.37968        Page 45
                                    of 58




          842                   345 FEDERAL SUPPLEMENT, 3d SERIES


          ments as an insurer to facilities or individ-    waiian legislature’s June 2002 passage of
          uals located in Oregon, the resulting injury     an amendment to Haw. Rev. Stat. § 480-
          presumably would be sustained by the             2. In Defendants’ view, this enactment
          GEICO entities in the states where they          created an avenue for indirect purchaser
          reside, and this would not establish the         recovery where none was available before.
          requisite injury ‘‘to a person or property       Defendants recognize that this Court re-
          located in’’ Oregon as necessary to bring        jected this same argument in the multidis-
          an antitrust claim under that state’s law.       trict litigation, see Wire Harnesses, 2013
          Thus, GEICO has failed to plead a viable         WL 2456612, at *18, but they suggest that
          antitrust claim under Oregon law.                the Court mistakenly relied on a ruling,
          4.   GEICO Cannot Recover Damages                In re Static Random Access Memory
               Under New Hampshire’s or Utah’s             (SRAM) Antitrust Litigation, No. 07-md-
               Antitrust Laws for Conduct That             01819, 2010 WL 5094289, at *5 (N.D. Cal.
               Occurred Prior to the Enactment of          Dec. 8, 2010), that cannot be reconciled
               Legislation That Permits Recovery           with certain decisions of the Hawaiian
               by Indirect Purchasers.                     courts holding that the relevant June 2002
             [43] As noted earlier, a number of            amendment to the Hawaiian law of unfair
          states have enacted so-called ‘‘Illinois         competition should be applied only pro-
          Brick repealer statutes’’ — that is, stat-       spectively. (Defendants’ Reply Br. at 22
          utes that override the Supreme Court’s           n.25 (citing Hawaii Medical Ass’n v. Ha-
          decision in Illinois Brick, supra, and allow     waii Medical Service Ass’n, Inc., 113 Ha-
          recovery by indirect purchasers under            wai’i 77, 148 P.3d 1179, 1209 (2006), and
          state law. Effective January 1, 2008, New        Tour2000 Co. v. Koreana Tour Service,
          Hampshire passed such a law allowing re-         Inc., No. 28209, 2009 WL 3437431, at *12
          covery of damages by indirect purchasers.        (Haw. Ct. App. Oct. 23, 2009) ).)
          See N.H. Rev. Stat. Ann. § 356.11. Like-            The state court decisions cited by Defen-
          wise, effective May 1, 2006, Utah amended        dants do not warrant a departure from the
          a provision of its antitrust law to permit       Court’s ruling in the multidistrict litiga-
          recovery by indirect purchasers. See Utah
                                                           tion. As noted, this Court relied on the
          Code Ann. 76-10-3109(1)(a). Defendants
                                                           decision in Static Random Access Memo-
          contend, and GEICO does not dispute, (see
                                                           ry, 2010 WL 5094289, at *5, and that court,
          Plaintiffs’ Response Br. at 36-37), that
                                                           in turn, discussed the Hawaiian Supreme
          these enactments operate to limit GEICO’s
                                                           Court’s holding in 1999 that the Hawaiian
          recovery under the antitrust laws of New
                                                           legislature had not conferred ‘‘a private
          Hampshire and Utah to the damages re-
                                                           claim for relief under [Haw. Rev. Stat.]
          sulting from Defendants’ alleged anticom-
                                                           § 480-13 for unfair methods of competition
          petitive activities that occurred on or after
                                                           in violation of [Haw. Rev. Stat.] § 480-2.’’
          the effective dates of these Illinois Brick
                                                           Robert’s Hawaii School Bus, Inc. v. Lau-
          repealer provisions. Indeed, the Court so
                                                           pahoehoe Transportation Co., 91 Hawai’i
          held in the multidistrict litigation, see Wire
                                                           224, 982 P.2d 853, 880 (1999) (footnote
          Harnesses, 2013 WL 2456612, at *19, and
                                                           omitted). As explained in Static Random
          GEICO does not suggest any basis for a
                                                           Access Memory, 2010 WL 9094289, at *5,
          different outcome here.
                                                           although the Hawaiian legislature’s 2002
            [44] Defendants further contend that           enactment supplanted this particular as-
          GEICO’s recovery under Hawaiian anti-            pect of the Hawaiian Supreme Court’s de-
          trust law is similarly limited by the Ha-        cision in Robert’s Hawaii School Bus, the
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                               PageID.37969        Page 46
                                    of 58



                                     GEICO CORP. v. AUTOLIV, INC.                                   843
                                      Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          Hawaiian court emphasized in that same            2456612, at *18, and finds that the 2002
          decision that its interpretation of Haw.          amendment does not limit GEICO’s recov-
          Rev. Stat. § 480-2 as it read in 1999 did         ery under Hawaiian antitrust law.
          not operate to limit ‘‘private claims for
          violations of [Haw. Rev. Stat.] §§ 480-4 or            H.   Defendants’ Challenges to GEI-
          480-9.’’ Robert’s Hawaii School Bus, 982                    CO’s Claims Under the Consumer
          P.2d at 880. Because the indirect purchas-                  Protection Laws of Various
          er plaintiffs in Static Random Access                       States
          Memory were pursuing a price-fixing con-
          spiracy claim under Haw. Rev. Stat. § 480-           In the third count of its second amended
          4, and not a claim for unfair methods of          complaint, GEICO seeks to recover under
          competition under Haw. Rev. Stat. § 480-          the consumer protection statutes of vari-
          2, the court in that case reasoned that the       ous states. Defendants challenge these
          state legislature’s 2002 amendment to             claims on various grounds, each of which is
          § 480-2 could not properly be construed as        addressed below.
          an implied repeal of a previously existing        1.    GEICO Has Adequately Pleaded Vi-
          Illinois Brick-style limitation on indirect             olations of the Consumer Protec-
          purchaser recoveries under § 480-4, where               tion Laws of Arkansas, New Mexi-
          this latter provision was wholly unaffected             co, and Nevada.
          by the legislature’s 2002 enactment. Static
          Random Access Memory, 2010 WL                        In Defendants’ view, three of GEICO’s
          5094289, at *5.                                   state law consumer protection claims —
             Viewed against this backdrop, the state        i.e., the claims brought under the consum-
          court decisions cited by Defendants are           er protection laws of Arkansas, New Mexi-
          inapposite, and do nothing to undermine           co, and Nevada — are subject to dismissal
          this Court’s reliance on Static Random            as wholly derivative of federal or state law
          Access Memory. In each of these cases,            antitrust claims that likewise should be
          the court held that the legislature’s 2002        dismissed. In support of their challenges to
          amendment to Haw. Rev. Stat. § 480-2 did          GEICO’s claims under Arkansas and New
          not apply retroactively to permit recovery        Mexico law, Defendants point primarily to
          under § 480-2 for unlawful acts committed         the decision in In re Graphics Processing
          prior to the June 28, 2002 effective date of      Units Antitrust Litigation, 527 F.Supp.2d
          this amendment. See Hawaii Medical                1011, 1029-30 (N.D. Cal. 2007), as purport-
          Ass’n, 148 P.2d at 1209; Tour2000 Co.,            edly ‘‘dismissing Arkansas and New Mexi-
          2009 WL 3437431, at *12. Here, however,           co consumer protection claims based on
          as in Static Random Access Memory,                failed antitrust claims.’’ (Defendants’ Mo-
          GEICO has asserted claims of price-fixing         tion, Br. in Support at 38-39.) Yet, as
          conspiracies, which are governed by Haw.          GEICO points out, the court in Graphics
          Rev. Stat. § 480-4 rather than § 480-2.           Processing Units did not dismiss the Ar-
          Nothing in the Hawaiian legislature’s 2002        kansas and New Mexico claims due to the
          amendment of the latter statute suggests          plaintiffs’ purported failure to establish an
          an intention to repeal an Illinois Brick          underlying violation of antitrust law, but
          limitation that was previously found in the       rather for failure to allege unconscionable
          former statute. To the contrary, § 480-4          conduct within the meaning of the relevant
          was wholly unchanged by this 2002 amend-          state statutes. See Graphics Processing
          ment. Accordingly, the Court adheres to           Units, 527 F.Supp.2d at 1029-30. Similarly,
          its ruling in Wire Harnesses, 2013 WL             although Defendants cite the decision in
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                             PageID.37970         Page 47
                                    of 58




          844                   345 FEDERAL SUPPLEMENT, 3d SERIES


          Wallis v. Ford Motor Co., 362 Ark. 317,         § 598.0923 for failure to establish an un-
          208 S.W.3d 153, 161-62 (2005), as support       derlying violation of another Nevada stat-
          for the proposition that a claim under the      ute), rev’d on other grounds, 674 F. App’x
          Arkansas Deceptive Trade Practices Act          663 (9th Cir. 2017).
          (‘‘ADTPA’’) is subject to dismissal if it is
                                                             [45] This is not the end of the matter,
          ‘‘premised on antitrust violations,’’ (Defen-
                                                          however, because there are other ways to
          dants’ Motion, Br. in Support at 38-39), the
                                                          demonstrate that a defendant has engaged
          court in that case addressed a design de-
                                                          in a ‘‘deceptive trade practice’’ as defined
          fect claim, not allegations of antitrust vio-
                                                          under Nevada law. In particular, GEICO
          lations, and it held that the plaintiff had
                                                          points to different language in § 598.0923
          not pleaded the requisite ‘‘actual damage
                                                          providing that a person engages in a de-
          or injury’’ through allegations of ‘‘diminu-
                                                          ceptive trade practice if he or she know-
          tion in value of the product,’’ Wallis, 208
                                                          ingly ‘‘[f]ails to disclose a material fact in
          S.W.3d at 161. Accordingly, Wallis is inap-
                                                          connection with the sale or lease of goods
          posite, as this Court previously explained
                                                          or services.’’ Admittedly, GEICO’s com-
          in the multidistrict litigation. See Instru-
                                                          plaint does not expressly cite to or rely
          ment Panel Clusters, 2014 WL 2993753, at
                                                          upon this particular definition of a decep-
          *19-*20.
                                                          tive trade practice, but GEICO nonethe-
             Defendants fare somewhat better in           less insists that it has sufficiently invoked
          their challenge to GEICO’s consumer pro-        this provision through its citation to Neva-
          tection claim under Nevada law, but not         da’s Deceptive Trade Practices Act as a
          enough to secure the dismissal of this          whole. (See SAC at ¶ 236.) GEICO further
          claim. As Defendants observe, one way a         asserts that it has adequately pleaded this
          plaintiff can establish a ‘‘deceptive trade
                                                          type of unlawful practice through its alle-
          practice’’ under Nevada law is by showing
                                                          gations that Defendants knowingly agreed
          that the defendant ‘‘knowinglyTTT [v]io-
                                                          to fix prices of auto parts and ‘‘undertook
          late[d] a state or federal statute or regu-
                                                          efforts to conceal their agreements from
          lation relating to the sale or lease of
                                                          GEICO and other purchasers.’’ (Id. at
          goods or services.’’ Nev. Rev. Stat.
                                                          ¶ 236(a).) Although this Nevada claim has
          § 598.0923. In this case, GEICO has al-
                                                          not been artfully pleaded, the Court finds
          leged that ‘‘Defendants’ unlawful conduct
                                                          that it withstands Defendants’ present
          constitutes deceptive trade practices in vi-
                                                          challenge, particularly where GEICO will
          olation of Nevada Revised Statutes
                                                          have an opportunity to provide more de-
          § 598.0923[ ] because Defendants know-
                                                          tailed allegations when it files the amended
          ingly violated’’ Nevada’s antitrust statute.
                                                          pleadings authorized elsewhere in this
          (SAC at ¶ 236(b).) As discussed earlier,
                                                          opinion and order.
          Nevada is one of the ‘‘Nexus States,’’ and
          GEICO’s antitrust claim under Nevada               [46] Next, Defendants contend that
          law is subject to dismissal for lack of alle-   GEICO’s claims under the consumer pro-
          gations of a nexus between Defendants’          tection laws of Arkansas and New Mexico
          allegedly unlawful conduct and injury sus-      are subject to dismissal on the additional
          tained by GEICO in Nevada. It follows           ground that GEICO has failed to allege
          that GEICO cannot establish a deceptive         unconscionable conduct as purportedly dic-
          trade practice under § 598.0923 by ap-          tated by the relevant state statutes. See
          pealing to a violation of Nevada antitrust      Ark. Code Ann. § 4-88-107(a) (defining the
          law. See Sobel v. Hertz Corp., 698              ‘‘[d]eceptive and unconscionable trade
          F.Supp.2d 1218, 1230 (D. Nev. 2010) (dis-       practices made unlawful and prohibited by
          missing the plaintiffs’ claim under             this chapter’’); N.M. Stat. Ann. § 57-12-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37971        Page 48
                                    of 58



                                       GEICO CORP. v. AUTOLIV, INC.                                  845
                                        Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          2(E) (defining an ‘‘unconscionable trade            preme Court’s AGC decision to determine
          practice’’). As GEICO observes in re-               whether a plaintiff’s injuries are too re-
          sponse, however, this Court rejected es-            mote from the defendant’s alleged wrong-
          sentially the same challenges in the multi-         doing to permit a recovery under federal
          district litigation. See Fuel Senders, 29           or state antitrust law. Defendants argue,
          F.Supp.3d at 1008-09; Wire Harnesses,               and GEICO does not dispute, that the
          2013 WL 2456612, at *24-*25. Regarding
                                                              courts have engaged in a similar ‘‘remote-
          Arkansas’s consumer protection law, the
                                                              ness’’ inquiry, either with or without spe-
          Court explained that the state statute
                                                              cific reference to the AGC factors, in de-
          ‘‘does not limit itself to unconscionable
          acts,’’ and that allegations of ‘‘false or de-      termining whether a plaintiff may pursue a
          ceptive acts’’ suffice to state a claim. Wire       claim under the consumer protection laws
          Harnesses, 2013 WL 2456612, at *24. As              of Arkansas, New York, or Vermont. See,
          for the New Mexico statute, the Court               e.g. Independence County v. Pfizer, Inc.,
          observed that its definition of an ‘‘uncon-         534 F.Supp.2d 882, 888-89 (E.D. Ark. 2008)
          scionable trade practice’’ encompasses acts         (addressing a claim under Arkansas’s con-
          or practices that ‘‘take[ ] advantage of the        sumer protection statute), aff’d, 552 F.3d
          lack of knowledge, ability, experience or           659 (8th Cir. 2009): State of New York v.
          capacity of a person to a grossly unfair            Daicel Chemical Industries, Ltd., 42
          degree’’ or that ‘‘result[ ] in a gross dispar-     A.D.3d 301, 840 N.Y.S.2d 8, 12 (2007) (ap-
          ity between the value received by a person
                                                              plying New York law); In re Dynamic
          and the price paid.’’ Id. at *25 (quoting
                                                              Random Access Memory (DRAM) Anti-
          N.M. Rev. Stat. 57-12-2(E) ). In support of
                                                              trust Litigation, 536 F.Supp.2d 1129, 1142
          their consumer protection claims under
          Arkansas and New Mexico law, the EPPs               (N.D. Cal. 2008) (finding that a claim un-
          and IPPs in the multidistrict litigation            der New York’s consumer protection stat-
          made allegations similar to those advanced          ute ‘‘should be assessed with reference to
          by GEICO here, and the Court found                  [the] AGC factors’’); Fucile v. Visa U.S.A.,
          these allegations sufficient to withstand           Inc., No. S1560-03, 2004 WL 3030037, at *3
          scrutiny under Rule 12(b)(6). See Fuel              (Vt. Super. Ct. Dec. 27, 2004) (applying
          Senders, 29 F.Supp.3d at 1008-09; Wire              Vermont law). In Defendants’ view, just as
          Harnesses, 2013 WL 2456612, at *24-*25.             GEICO purportedly has failed to satisfy
          Defendants do not acknowledge these rul-            the AGC factors with respect to its claims
          ings, much less explain why the result here         under federal and state antitrust law, it
          should be different. Accordingly, the Court         likewise cannot satisfy these factors in
          finds that GEICO has sufficiently pleaded
                                                              support of its claims under the consumer
          claims under the consumer protection laws
                                                              protection laws of these three states.
          of Arkansas, New Mexico, and Nevada.

          2.   To the Extent It Seeks to Recover as             [47, 48] The Court addressed this issue
               an Insurer, GEICO’s Alleged Inju-              in the multidistrict litigation, explaining
               ries Are Too Remote from Defen-                that its analysis of the AGC factors with
               dants’ Alleged Wrongdoing To Sus-              respect to the plaintiffs’ antitrust claims
               tain Its Consumer Protection                   applied as well to the remoteness inquiry
               Claims Under the Laws of Arkan-                called for under the consumer protection
               sas, New York, and Vermont.                    laws of Arkansas, New York, and Ver-
            As discussed earlier, the courts have             mont. See Fuel Senders, 29 F.Supp.3d at
          applied the factors identified in the Su-           1012; Wire Harnesses, 2013 WL 2456612,
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                             PageID.37972        Page 49
                                    of 58




          846                   345 FEDERAL SUPPLEMENT, 3d SERIES


          at *30. In this case, the Court’s earlier           To be sure, these rulings were based in
          analysis of the AGC factors led to the           part on allegations that residents of these
          conclusion that GEICO could pursue anti-         states purchased the auto parts at issue.
          trust claims in its capacities as a purchaser    See, e.g., Fuel Senders, 29 F.Supp.3d at
          of auto parts and the owner of a fleet of        1010. Despite GEICO’s claims to the con-
          vehicles, but not as an insurer. As in the       trary, the complaint here lacks comparable
          multidistrict litigation, the Court finds that   allegations that GEICO paid supra-com-
          this analysis applies as well to GEICO’s         petitive prices for relevant auto parts in
          consumer protection claims under the laws        each of the states in question. Nonetheless,
          of Arkansas, New York, and Vermont.              this Court also cited allegations that the
          Thus, GEICO may pursue these claims              defendant auto suppliers’ ‘‘anticompetitive
          only to as to transactions in which it pur-      conduct caused supracom[ ]petitive price
          chased relevant auto parts or acted in its       effects nationwide’’ as sufficient to estab-
          capacity as owner of a fleet of vehicles, but    lish the required nexus with intrastate
          not in its capacity as an insurer that made      commerce, Wire Harnesses, 2013 WL
          payments to repair facilities, insureds, or      2456612, at *29; see also Fuel Senders, 29
          third-party claimants.                           F.Supp.3d at 1010-12; Instrument Panel
                                                           Clusters, 2014 WL 2993753, at *21-*23,
                                                           and GEICO has made similar allegations
          3.   GEICO Has Alleged a Sufficient
                                                           in support of the claims at issue here, (see
               Nexus Between Defendants’ Alleged
                                                           SAC at ¶¶ 234(c), 237(c), 239(e), 240(e) ).
               Anticompetitive Conduct and the
                                                           Moreover, although this Court has not ad-
               States of California, New Hamp-
                                                           dressed claims under New Hampshire’s
               shire, New York, and North Car-
                                                           consumer protection statute in its deci-
               olina.
                                                           sions in the multidistrict litigation, GEICO
             [49] Defendants next point to require-        points to the ruling of another court that
          ments under the consumer protection laws         the nexus requirement of the New Hamp-
          of California, New Hampshire, New York,          shire statute was satisfied through allega-
          and North Carolina that there must be a          tions that the ‘‘defendants colluded to fix
          nexus between a defendant’s allegedly un-        the price of chocolate products that were
          lawful conduct and intrastate commerce,          then introduced into the New Hampshire
          and they argue that the allegations of           market.’’ In re Chocolate Confectionary
          GEICO’s complaint fail to establish this         Antitrust Litigation, 749 F.Supp.2d 224,
          required nexus. In response, GEICO ob-           235 (M.D. Pa. 2010). It follows that GEI-
          serves that this Court addressed precisely       CO’s similar allegations here are likewise
          these same challenges in the multidistrict       sufficient to satisfy this requirement.
          litigation, finding that the allegations in         Faced with these arguments by GEICO,
          those cases satisfied the nexus require-         Defendants do not even acknowledge the
          ments of the various state consumer pro-         relevant rulings of this Court in the multi-
          tection statutes. See Fuel Senders, 29           district litigation, much less endeavor to
          F.Supp.3d at 1010-12 (considering claims         explain why GEICO’s allegations here are
          under the consumer protection laws of Cal-       sufficiently distinguishable to warrant a
          ifornia, New York, and North Carolina);          different outcome. In the absence of any
          Instrument Panel Clusters, 2014 WL               suggestion why it should not do so, the
          2993753, at *21-*23 (same); Wire Harness-        Court elects to adhere to its decisions in
          es, 2013 WL 2456612, at *28-*29 (address-        the multidistrict litigation, and therefore
          ing claims under California law).                holds that GEICO has adequately pleaded
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                       PageID.37973          Page 50
                                    of 58



                                          GEICO CORP. v. AUTOLIV, INC.                                        847
                                           Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          the nexus element of its consumer protec-              her business or in connection with the
          tion claims under the laws of California,              operation of his or her business,’’ Vt. Stat.
          New Hampshire, New York, and North                     Ann. tit. 9, § 2451a(a), and Vermont law
          Carolina.                                              provides more generally that a statutory
          4.     GEICO Need Not Satisfy the Stan-                reference to a ‘‘person’’ encompasses cor-
                 dards of Fed. R. Civ. P. 9(b) to State          porations such as the GEICO entities in
                 a Consumer Protection Claim Un-                 this case, see Vt. Stat. Ann. tit. 1, § 128. In
                 der Florida Law.                                Defendants’ view, even if an insurance
                                                                 company such as GEICO might qualify as
             [50] Defendants next challenge GEI-
                                                                 a ‘‘person’’ under the VCFA, it is not
          CO’s claim under Florida consumer protec-              eligible for treatment as a ‘‘consumer’’ un-
          tion law, arguing that such claims must be             der the Vermont act because, to the extent
          pleaded with the particularity mandated                that it made payments as an insurer, it did
          by Fed. R. Civ. P. 9(b) for allegations of             not engage in these transactions for the
          fraud. Once again, however, the Court                  ‘‘use or benefit’’ of its own business, but
          squarely rejected this assertion in Wire               rather for the benefit of its insureds. It
          Harnesses, 2013 WL 2456612, at *23-*24,                follows, according to Defendants, that
          despite the defendants’ appeal in that case            GEICO’s claim under the VCFA must be
          to precisely the same unpublished opinion              dismissed.
          relied upon by Defendants here. Defen-
                                                                    In response, GEICO points to case law
          dants do not attempt to distinguish this
                                                                 holding, in reliance on the plain language
          Court’s prior ruling, nor even acknowledge
                                                                 of the VCFA itself, that this Vermont stat-
          it. Thus, the Court finds no basis for de-
                                                                 ute ‘‘countenances a lawsuit brought by a
          parting from its analysis of this issue in
                                                                 corporation that purchased goods or ser-
          the multidistrict litigation.8
                                                                 vices for the use or benefit of the business
                                                                 or in connection with the operation of the
          5.     GEICO’s     Consumer     Protection
                                                                 business, as long as the goods or services
                 Claim Under Vermont Law May
                                                                 were not purchased for resale.’’ Ascension
                 Rest Upon Its Purchases of Auto
                                                                 Technology Corp. v. McDonald Invest-
                 Parts for Its Own Benefit, But Not
                                                                 ments, Inc., 327 F.Supp.2d 271, 276 (D. Vt.
                 Its Payments as an Insurer.
                                                                 2003). In light of this interpretation, GEI-
             Under the Vermont Consumer Fraud                    CO argues that it has sufficiently pleaded
          Act (‘‘VCFA’’), Vt. Stat. Ann. tit. 9, § 2451          a claim under the VCFA through its alle-
          et seq., only a ‘‘consumer’’ may bring a suit          gations that it ‘‘purchased [relevant] [a]uto
          alleging a violation of this statute, Vt. Stat.        [p]arts from Defendants at artificially and
          Ann. tit. 9, § 2461(b). As relevant here, the          illegally inflated prices on behalf of itself
          VCFA defines a ‘‘consumer’’ as ‘‘a person              and as part of its contractual obligations to
          who purchases, leases, contracts for, or               its insureds and claimants.’’ (Plaintiffs’ Re-
          otherwise agrees to pay consideration for              sponse Br. at 42.) GEICO asserts that
          goods or services not for resale in the                under either circumstance, auto parts were
          ordinary course of his or her trade or                 purchased ‘‘in connection with the opera-
          business but for the use or benefit of his or          tion of [GEICO’s] business,’’ whether as an

          8.     In their reply brief, Defendants do not ad-        pleaded with particularity. (See Defendants’
               dress GEICO’s consumer protection claim un-          Reply Br. at 23-24.) Because this argument
               der Florida law, but instead suggest for the         was advanced for the first time in Defendants’
               first time that GEICO’s claim under New              reply brief, the Court declines to consider it.
               York’s consumer protection law must be               See Sundberg, 189 F.Supp.2d at 682-83.
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                            PageID.37974        Page 51
                                    of 58




          848                   345 FEDERAL SUPPLEMENT, 3d SERIES


          owner of vehicles or as an insurer, and it      GEICO allegedly engages in some consum-
          maintains that this is sufficient to support    er transactions of this sort in its role as
          a claim under the VCFA.                         the owner of a fleet of vehicles, and it may
             As Defendants point out, however, the        pursue a claim under the VCFA arising
          Supreme Court of Vermont has held to the        from these transactions. To the extent,
          contrary, at least as to transactions en-       however, that GEICO seeks to recover in
          gaged in by an insurer. In Wilder v. Aetna      its capacity as an insurer that makes pay-
          Life & Casualty Insurance Co., 140 Vt. 16,      ments to insureds or third-party claimants,
          433 A.2d 309 (1981), the plaintiff brought a    the Court finds that such a recovery is not
          claim under the VCFA based on the defen-        permitted under the VCFA.
          dant insurer’s alleged failure to make a
                                                            I.   Defendants’ Challenges to GEI-
          payment as allegedly called for under a
                                                                 CO’s State Law Claims of Unjust
          settlement agreement, but the court held
                                                                 Enrichment
          that this claim was subject to dismissal on
          two grounds. First, the court reasoned            Finally, Defendants argue that GEICO’s
          that ‘‘the selling of an insurance policy is    common-law claims of unjust enrichment
          not a contract for ‘goods or services’ within   brought under the laws of various states
          the meaning of’’ the VCFA. Wilder, 433          are subject to dismissal on a number of
          A.2d at 310. Next, and of relevance here,       grounds. The Court addresses each of
          the court observed that ‘‘we are not deal-      these challenges in turn.
          ing with a contractual situation between        1. GEICO May Properly Pursue Its
          buyer and seller,’’ but that the court in-          Claims of Unjust Enrichment as an
          stead was being ‘‘asked to read into the            Alternative Theory of Recovery,
          [VCFA] a transaction one step removed’’             Even If These Claims Rest Upon the
          from a transaction in which a buyer pur-            Same Allegations as GEICO’s State
          chases goods or services. 433 A.2d at 310.          Law Antitrust Claims.
          In the court’s view, the VCFA ‘‘deal[s]            First, and most broadly, Defendants ar-
          solely with consumer transactions in which      gue that all of GEICO’s state law claims of
          there is an actual sale of goods or services    unjust enrichment are subject to dismissal
          involving a buyer, a seller, and the goods      because the allegations in support of these
          or services,’’ and it declined to ‘‘stretch     claims ‘‘do nothing more than recast, and
          [the Act’s] meaning as to evade the Legis-      are duplicative of, the allegations of anti-
          lature’s intent.’’ 433 A.2d at 310.             competitive conspiratorial conduct that un-
            [51, 52] The Court agrees with Defen-         derlie GEICO’s antitrust claims.’’ (Defen-
          dants that this reading of the VCFA by          dants’ Motion, Br. in Support at 42.) In
          Vermont’s highest court precludes GEICO         support of this challenge, Defendants point
          from recovering under the Act in its role       to cases holding that ‘‘unjust enrichment
          as insurer. Although GEICO’s payments           may not supply a valid cause of action in
          as an insurer may reflect or somehow in-        states where [the] plaintiffs are otherwise
          volve an underlying purchase of a relevant      barred from recovery under [the] relevant
          auto part — though, as already discussed,       antitrust and consumer protection stat-
          this is not invariably the case — such an       utes.’’ In re Packaged Seafood Products
          insurance transaction is one step removed       Antitrust Litigation, 242 F.Supp.3d 1033,
          from the consumer transaction that the          1088 (S.D. Cal. 2017); see also In re Opana
          VCFA is intended to regulate — i.e., the        ER Antitrust Litigation, MDL 2580, 2016
          underlying purchase of a relevant auto          WL 4245516, at *2 (N.D. Ill. Aug. 11,
          part by a buyer from a seller. To be sure,      2016).
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37975        Page 52
                                    of 58



                                     GEICO CORP. v. AUTOLIV, INC.                                    849
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

             [53] As GEICO correctly observes in             addressed above: namely, that Plaintiff
          response, however, a plaintiff is permitted        cannot pursue claims of unjust enrichment
          under Fed. R. Civ. P. 8(a)(3) to plead             under the laws of three specific states —
          multiple theories of recovery in the alter-        Illinois, Maryland, and Rhode Island —
          native, and there is no requirement that           because indirect purchasers purportedly
          each such theory must rest upon its own            are precluded from recovering under the
          independent set of allegations. See, e.g., In      antitrust laws of these states. As noted
          re K-Dur Antitrust Litigation, 338                 earlier, a number of states have enacted
          F.Supp.2d 517, 544 (D.N.J. 2004). Defen-           so-called Illinois Brick repealer statutes
          dants’ argument to the contrary rests upon         that permit recovery by indirect purchas-
          an overly broad reading of the above-cited
                                                             ers under state antitrust law despite the
          cases, which hold only that a plaintiff who
                                                             prohibition against such a recovery under
          would otherwise be barred from recovery
                                                             federal antitrust law. In the absence of
          under the law of a particular state or its
                                                             such a repealer statute, however, some
          underlying policies cannot invoke a theory
                                                             courts have reasoned that an indirect pur-
          of unjust enrichment as a means of avoid-
                                                             chaser plaintiff should not be permitted to
          ing this state law bar. In In re Packaged
          Seafood Products, for example, the court           recover under the equitable theory of un-
          first held that the end purchaser plaintiffs       just enrichment, as this would permit the
          in that case could not pursue unjust en-           plaintiff to circumvent the bar expressed
          richment claims ‘‘where the state other-           through state law and policy against recov-
          wise bars indirect-purchaser recovery,’’           ery by an indirect purchaser. See In re
          but it then proceeded to evaluate the plain-       Packaged       Seafood     Products,     242
          tiffs’ ‘‘unjust enrichment arguments in            F.Supp.3d at 1088-89; In re Opana ER,
          states where their claims are not other-           2016 WL 4245516, at *2. In their present
          wise barred under [the] relevant antitrust         motion, Defendants assert that the three
          and consumer protection laws.’’ 242                above-referenced states have not enacted
          F.Supp.3d at 1089 (emphasis added). To be          Illinois Brick repealer statutes, but rather
          sure, Defendants separately challenge              ‘‘continue to bar indirect purchaser claims
          GEICO’s unjust enrichment claims under             under state antitrust law.’’ (Defendants’
          the laws of various states as an inappropri-       Motion, Br. in Support at 43.) It follows, in
          ate end run around state laws that would           Defendants’ view, that GEICO should not
          otherwise bar its recovery, and the Court          be permitted to pursue claims of unjust
          addresses these challenges below. Yet, De-         enrichment under the laws of these states.
          fendants’ proposed application of this prin-
          ciple as an across-the-board bar to GEI-              As GEICO aptly observes in response,
          CO’s recovery under a theory of unjust             however, Defendants cite no authority
          enrichment is not well taken, and the              whatsoever for their ipse dixit assertion
          Court rejects it.                                  that the three specified states bar recov-
                                                             ery by indirect purchasers under state an-
          2.   Defendants Have Failed to Provide             titrust law. To the contrary, GEICO states
               Support for Their Assertion That              without contradiction that under Illinois
               the Antitrust Laws of Illinois, Ma-           law, at least, indirect purchaser plaintiffs
               ryland, and Rhode Island Preclude             are barred only from pursuing a class
               Recovery by Indirect Purchasers.              action antitrust suit. See 740 Ill. Comp.
            [54] Defendants next advance a more              Stat. 10/7(2). Likewise, while the court in
          specific variation on the broad contention         In re Packaged Seafood Products found
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                             PageID.37976         Page 53
                                    of 58




          850                   345 FEDERAL SUPPLEMENT, 3d SERIES


          that unjust enrichment claims could not be      failed to allege this requisite relationship,
          brought under the laws of states that           nor has it ‘‘describe[d] how it is possible to
          ‘‘otherwise bar[ ] indirect-purchaser recov-    trace     [GEICO’s]     alleged     detriment
          ery,’’ it notably proceeded to address the      through a quagmire of insurance contracts,
          unjust enrichment claims of the indirect        deductibles, full and partial reimburse-
          purchaser plaintiffs under the laws of          ments, apportionments of fault, discount
          states that did not ‘‘otherwise bar[ ]’’ re-    arrangements with suppliers and repair
          covery by indirect purchasers, and it iden-     shops, payment caps, or insurance settle-
          tified Rhode Island as one such state. 242      ments for total losses to the Defendants’
          F.Supp.3d at 1089, 1092. This leaves only       benefit.’’ (Defendants’ Motion, Br. in Sup-
          Maryland, and Defendants do not identify        port at 44.)
          any support whatsoever for their conten-           Yet, as a threshold matter, although this
          tion that indirect purchasers are barred        Court in the multidistrict litigation found it
          from recovering under Maryland antitrust        necessary to conduct a lengthy and com-
          law. Accordingly, Defendants have not           prehensive state-by-state inquiry in order
          identified a basis for the dismissal of GEI-    to resolve a similar ‘‘direct benefit’’ chal-
          CO’s unjust enrichment claims under the         lenge, see, e.g., Fuel Senders, 29 F.Supp.3d
          laws of Illinois, Maryland, or Rhode Is-        at 1015-29; Instrument Panel Clusters,
          land.                                           2014 WL 2993753, at *26-*38, Defendants
          3.   GEICO Has Adequately Pleaded               fail to engage in any such analysis here.
               That Its Alleged Overpayments for          Instead, Defendants merely provide a list
               Auto Parts Conferred a Benefit on          of purportedly relevant case law as an
               Defendants, and That These Inju-           exhibit to their motion, (see Defendants’
               ries Flowed from Defendants’ Alleg-        Motion, Ex. F-1), without discussing these
               edly Unlawful Conduct.                     decisions or otherwise attempt to illustrate
             [55, 56] In the fourth count of its sec-     how the ‘‘direct benefit’’ element of a claim
          ond amended complaint, GEICO has as-            of unjust enrichment might be construed
          serted claims of unjust enrichment under        or applied under the law of any given
          the laws of 28 states and the District of       state. Plainly, the Court is under no obli-
          Columbia. According to Defendants, the          gation to fashion arguments or conduct
          unjust enrichment laws of thirteen of these     such a state law survey on Defendants’
          states, as well as the District of Columbia,    behalf.
          require a plaintiff to allege that it con-         In any event, Defendants’ challenge on
          ferred a direct benefit upon the defendant.     this point is largely defeated by the
          As this Court has observed in the multidis-     Court’s analysis of this issue in the multi-
          trict litigation, the ‘‘critical inquiry’’ in   district litigation. As the Court emphasized
          evaluating this ‘‘direct benefit’’ element of   at the threshold of its state-by-state inqui-
          a claim of unjust enrichment is ‘‘not wheth-    ry, GEICO’s allegations in support of its
          er the benefit is conferred directly on the     claims of unjust enrichment must not be
          defendant, but whether the plaintiff can        considered ‘‘in isolation, but in light of all
          establish [that] the relationship between       of the factual allegations in the com-
          his detriment and the defendant’s benefit       plaint[ ].’’ Fuel Senders, 29 F.Supp.3d at
          flows from the challenged conduct’’ of the      1014; see also Instrument Panel Clusters,
          defendant. Fuel Senders, 29 F.Supp.3d at        2014 WL 2993753, at *25. The Court fur-
          1015 (internal quotation marks and citation     ther observed that ‘‘although the particular
          omitted). In Defendants’ view, GEICO has        elements of [a claim of] unjust enrichment
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                 PageID.37977          Page 54
                                    of 58



                                      GEICO CORP. v. AUTOLIV, INC.                                      851
                                       Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          vary from jurisdiction to jurisdiction,’’ this     tiffs alleged that they paid unlawfully in-
          theory of recovery generally entails a             flated waste removal fees to the corporate
          showing ‘‘that Defendants received a bene-         defendant, and that this defendant, in turn,
          fit and under the circumstances of the             paid a portion of its increased profits to
          case, retention of the benefit would be            the individual defendant employees in the
          unjust.’’ Fuel Senders, 29 F.Supp.3d at            form of higher annual bonuses. Because
          1014.                                              ‘‘there was no money paid by the plaintiffs
                                                             to the named individual[ ]’’ defendants, and
             Against this backdrop, the Court has
                                                             there likewise was ‘‘no benefit conferred
          repeatedly embarked on the state-by-state
                                                             upon the individual defendants by the
          analysis that Defendants have failed to
                                                             plaintiffs,’’ the court held that the plaintiffs
          provide in their present motion. Specifical-
                                                             could not pursue claims of unjust enrich-
          ly, on at least three separate occasions in
                                                             ment against these individuals. Danny
          the multidistrict litigation, this Court has
                                                             Lynn Electrical, 2011 WL 2893629, at *6
          expressly addressed and rejected the ‘‘di-
                                                             (emphasis in original). Yet, as explained by
          rect benefit’’ challenge advanced by Defen-
                                                             this Court in distinguishing an analogous
          dants here under the laws of eleven of the
                                                             ‘‘direct benefit’’ case decided under Florida
          thirteen states identified in Defendants’
                                                             law, the decision in Danny Lynn Electri-
          motion, as well as the District of Columbia.
                                                             cal does not ‘‘involve the flow of payment
          See In re Automotive Parts Antitrust Liti-
                                                             up a chain of distribution.’’ Fuel Senders,
          gation (In re Bearings), 50 F.Supp.3d 836,
                                                             29 F.Supp.3d at 1018. Rather, the plaintiff
          864-65 (E.D. Mich. 2014) (‘‘Bearings’’);
                                                             in that case sought to expand the pool of
          Fuel Senders, 29 F.Supp.3d at 1017-28;             defendants to include not only the corpo-
          Instrument Panel Clusters, 2014 WL                 rate defendant that had demanded alleged-
          2993753, at *30-*38. In the course of this         ly excessive fees, but also those individuals
          state-by-state inquiry, the Court consid-          to whom the company had distributed a
          ered, and distinguished, many of the cases         portion of its allegedly unlawful profits.
          cited in Defendants’ table of purportedly          Thus, the Alabama case law identified by
          relevant authority. Defendants have not            Defendants fails to establish the proposi-
          acknowledged this Court’s rulings in the           tion for which it is cited: namely, that a
          multidistrict litigation, much less attempt-       claim of unjust enrichment under Alabama
          ed to distinguish them, so there is no basis       law cannot rest upon a benefit that alleg-
          for the Court to depart from its prior             edly is traceable through a chain of distri-
          treatment of the very same issues ad-              bution from the indirect purchaser plaintiff
          vanced by Defendants here.                         to the defendant supplier.
             These leaves only the unjust enrichment           The Mississippi decision cited by Defen-
          laws of two states, Alabama and Mississip-         dants is likewise distinguishable — and,
          pi, that the Court had no occasion to ad-          indeed, this Court has already distin-
          dress in the multidistrict litigation. In sup-     guished it in the multidistrict litigation,
          port of their reading of Alabama law as            albeit on slightly different grounds. In
          demanding that a plaintiff must have con-          Omnibank of Mantee v. United Southern
          ferred a direct benefit upon the defendant,        Bank, 607 So.2d 76, 93 (Miss. 1992), the
          Defendants point to the decision in Danny          court held that ‘‘a person who has con-
          Lynn Electrical & Plumbing, LLC v. Veo-            ferred a benefit on another, by making a
          lia ES Solid Waste Southeast, Inc., No.            contract with a third person, is not entitled
          2:09cv192, 2011 WL 2893629, at *6 (M.D.            to restitution from the other merely be-
          Ala. July 19, 2011). In that case, the plain-      cause of the failure of performance by the
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                              PageID.37978        Page 55
                                    of 58




          852                   345 FEDERAL SUPPLEMENT, 3d SERIES


          third person.’’ As this Court observed in        same states, see, e.g., In re Processed Egg
          the multidistrict litigation, Omnibank           Products     Antitrust     Litigation,  851
          ‘‘does not address the relationship of indi-     F.Supp.2d 867, 927-34 (E.D. Pa. 2012); In
          rect purchasers [to defendant suppliers] on      re TFT-LCD (Flat Panel) Antitrust Liti-
          a price-fixing conspiracy claim, and there       gation, 599 F.Supp.2d 1179, 1189-90 (N.D.
          was no allegation of wrongdoing by the           Cal. 2009), GEICO nonetheless must al-
          defendant’’ in that case. Fuel Senders, 29       lege that there is a ‘‘relationship between
          F.Supp.3d at 1022. Just as Omnibank did          [its] detriment and [Defendants’] benefit
          not support the ‘‘benefit of the bargain’’       [that] flows from the challenged conduct’’
          challenge advanced by the defendants in          of the Defendant auto parts suppliers,
          Fuel Senders, it has nothing to say about        Fuel Senders, 29 F.Supp.3d at 1015 (inter-
          the ‘‘direct benefit’’ issue raised by Defen-    nal quotation marks and citation omitted).
          dants here, and Defendants have not even
          attempted to put forward an argument                Admittedly, this requisite relationship
          that might lead the Court to conclude oth-       between GEICO’s detriment and benefit
          erwise.                                          to one or more Defendant suppliers may
                                                           be difficult, if not impossible, to ascertain
             To be sure, Defendants point out that
                                                           in the case of at least some of GEICO’s
          GEICO, in its role as insurer, has a more
                                                           payments as an insurer. Nevertheless,
          attenuated relationship with the Defen-
          dant auto parts suppliers than the indirect      GEICO has identified other transactions
          purchaser plaintiffs in the multidistrict lit-   in which it makes payments analogous to
          igation. Most notably, when GEICO                those remitted by a traditional indirect
          makes a Total Loss Payment — i.e., a             purchaser. Most significantly, in its role
          payment to an insured or third-party             as owner of a fleet of automobiles, GEICO
          claimant for the total loss of a vehicle —       stands in precisely the same role as other
          none of this payment is spent on the pur-        end purchaser plaintiffs who have bought
          chase of auto parts for the totaled vehicle,     vehicles at allegedly inflated prices due to
          and Defendants therefore derive no bene-         Defendants’ alleged price-fixing conspira-
          fit from such payments. Even where GEI-          cies. Even in GEICO’s role as an insurer
          CO’s payment as an insurer can ultimately        that makes payments to repair shops to
          be traced to the purchase of auto parts,         cover the cost of replacement parts used
          Defendants observe that this payment is          in fixing an insured’s or third-party claim-
          affected by myriad factors apart from De-        ant’s vehicle, GEICO points to the wide-
          fendants’ allegedly supracompetitive pric-       spread reliance on insurance to pay for
          ing, such as the terms of insurance con-         replacement parts, (see Plaintiffs’ Re-
          tracts, deductibles, discount arrangements,      sponse Br. at 17), and it argues that this
          payment caps, and insurance settlements.         ‘‘generally-understood insurance para-
          (See Defendants’ Motion, Br. in Support          digm’’ will enable it to forge a connection
          at 44.) Although this Court has recognized       between its payments and a benefit to the
          in the multidistrict litigation that, under      Defendant parts suppliers, (id. at 45-47).
          the laws of the relevant states, the requi-      Against this backdrop, the Court is satis-
          site benefit to the defendant need not be        fied that GEICO has adequately pleaded a
          conferred through direct contact with the        relationship between its detriment and
          plaintiff, see Bearings, 50 F.Supp.3d at         benefit to the Defendant suppliers for at
          864-65 (collecting cases), and other federal     least some of the transactions identified in
          district courts have reached the same con-       the complaint, and the Court declines at
          clusion under the laws of many of the            this juncture to inquire too deeply into
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                 PageID.37979        Page 56
                                    of 58



                                       GEICO CORP. v. AUTOLIV, INC.                                   853
                                        Cite as 345 F.Supp.3d 799 (E.D.Mich. 2018)

          which particular transactions may support           these very same challenges. In Bearings,
          a recovery under the unjust enrichment              50 F.Supp.3d at 865, for instance, the de-
          laws of a given state and which may not.            fendant auto part suppliers contended that
          4.   GEICO Need Not Allege That It                  the IPPs’ claims of unjust enrichment
               Failed To Receive the Benefit of the           were subject to dismissal because the
               Bargain or Bargained-For Consid-               plaintiffs had ‘‘entered into TTT voluntary
               eration in the Transactions Giving             agreement[s] and received the benefits of
               Rise to Its Claims of Unjust Enrich-           their respective bargains.’’ The Court
               ment.                                          found that the case law cited by the defen-
             [57] Defendants next point to the laws           dants in support of this challenge — a
          of seventeen states, as well as the District        series of decisions that overlaps consider-
          of Columbia, as purportedly mandating the           ably with the cases cited by Defendants
          dismissal of claims of unjust enrichment            here — ‘‘does not support dismissal of a
          ‘‘where [the] parties voluntarily have nego-        price-fixing claim on this basis,’’ but in-
          tiated, entered into and fully performed            stead was distinguishable on the ground
          their bargain.’’ (Defendants’ Motion, Br. in        that the plaintiffs in those cases had en-
          Support at 44 (quoting In re Intel Corp.            tered into contractual relationships with
          Microprocessor Antitrust Litigation, 496            the defendants. Bearings, 50 F.Supp.3d at
          F.Supp.2d 404, 421 (D. Del. 2007) (internal         865-67 (surveying cases from a number of
          quotation marks and citation omitted) ).)           jurisdictions). Thus, the Court concluded
          In Defendants’ view, although GEICO al-             that the IPPs’ unjust enrichment claims
          leges that it was overcharged for relevant          were not subject to dismissal, explaining
          auto parts, this allegation alone ‘‘is insuffi-     that ‘‘[i]n contrast to the case law cited by
          cient to state a claim for unjust enrichment        Defendants, here the parties were not in a
          where, as here, GEICO does not assert               direct bargaining relationship’’ through
          that it did not obtain what it bargained for        which the IPPs could have attained the
          (e.g., the settlement of an insurance               benefit of a contractually agreed-upon bar-
          claim).’’ Similarly, Defendants contend that        gain. 50 F.Supp.3d at 867; see also Fuel
          GEICO’s unjust enrichment claims under              Senders, 29 F.Supp.3d at 1015-28 (likewise
          the laws of nine states are defeated by             addressing most of the cases cited by De-
          virtue of Defendants having provided ‘‘bar-         fendants here and concluding that the
          gained-for consideration’’ in the form of           IPPs’ claims of unjust enrichment were
          functioning auto parts delivered to OEMs            not subject to dismissal under this authori-
          or other direct purchasers. (Defendants’            ty); Instrument Panel Clusters, 2014 WL
          Motion, Br. in Support at 45-46.) Once              2993753, at *26-*38 (same).
          again, however, Defendants’ support for                These same decisions in the multidistrict
          these challenges consists largely of tables         litigation likewise defeat Defendants’ con-
          of purportedly relevant authorities, (see           tention that they cannot be held liable for
          Defendants’ Motion, Exs. F-2, F-3), with-           unjust enrichment because they ‘‘provided
          out any accompanying explanation of what            consideration in exchange for any pay-
          these cases hold or how they might apply            ments they received.’’ (Defendants’ Mo-
          to the facts and allegations presented here.        tion, Br. in Support at 46 (footnote omit-
             More importantly, Defendants again               ted).) In Bearings, 50 F.Supp.3d at 863, for
          have made no attempt to distinguish the             example, the Court first observed that the
          decisions of this Court in the multidistrict        defendants had ‘‘failed to cite a single case
          litigation that addressed and rejected              finding that payment or receipt of any-
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                       PageID.37980          Page 57
                                    of 58




          854                         345 FEDERAL SUPPLEMENT, 3d SERIES


          thing of value from a defendant will defeat              law); Fuel Senders, 29 F.Supp.3d at 1024
          a plaintiff’s claim[ ] for unjust enrichment.’’          (rejecting the contention that the IPPs’
          As for the cases cited by the defendants in              claim under New York law was subject to
          support of this challenge — nearly all of                dismissal because the connection between
          which Defendants likewise rely upon in                   them and the defendant suppliers was ‘‘too
          this case — the Court found them distin-                 attenuated’’); Bearings, 50 F.Supp.3d at
          guishable as either (i) arising ‘‘in the con-            868 (declining to apply an exhaustion-of-
          text of general contractor/subcontractor                 remedies requirement to the IPPs’ claim
          relationships,’’ or (ii) addressing ‘‘inappo-            under Tennessee law); Fuel Senders, 29
          site’’ and fact-specific circumstances such              F.Supp.3d at 1028 (finding that the IPPs
          as the terms of a particular contract or the             had adequately pleaded the elements of a
          liability of a principal for the actions of its          claim of unjust enrichment under West
          agent. Bearings, 50 F.Supp.3d at 863-64                  Virginia law).
          (surveying cases); see also Fuel Senders,
          29 F.Supp.3d at 982; Instrument Panel                       This leaves only Defendants’ cursory
          Clusters, 2014 WL 2993753, at *26. Consis-               contention — advanced in the span of
          tent with these prior rulings in the multi-              three sentences and unaccompanied by any
          district litigation, the Court holds that                reasoned argument or discussion of sup-
          GEICO’s unjust enrichment claims with-                   porting authority — that the laws of elev-
          stand Defendants’ ‘‘benefit of the bargain’’             en states and the District of Columbia
          challenge, as well as Defendants’ conten-                foreclose a claim for unjust enrichment
          tion that the remedy of unjust enrichment                where ‘‘the subject of the dispute is cov-
          is unavailable where the Defendant auto                  ered by a contract’’ that ‘‘affords [the
          part suppliers provided consideration in                 plaintiff] an adequate remedy at law.’’ (De-
          exchange for the payments they received.                 fendants’ Motion, Br. in Support at 47.)
           5.    GEICO Has Satisfied the Specific                  Although Defendants state as a matter of
                Pleading Requirements Identified                   ipse dixit that the subject of the dispute in
                     in Defendants’ Motion.                        this case is covered by the ‘‘contract[s]
             Finally, Defendants maintain that GEI-                between GEICO and its insureds,’’ (id.),
          CO has not met the specific pleading re-                 GEICO correctly observes in response
          quirements purportedly imposed under the                 that the true matter in dispute here —
          unjust enrichment laws of Illinois, Missis-              namely, ‘‘the artificially inflated prices
          sippi, New York, Tennessee, and West Vir-                caused by Defendants’ [allegedly] illegal
          ginia. As GEICO correctly observes in re-                conduct’’ — cannot remotely be viewed as
          sponse, however, the Court rejected these                covered by or addressed in GEICO’s in-
          very same challenges to state law claims of              surance contracts with its insureds. (Plain-
          unjust enrichment in its decisions in the                tiffs’ Response Br. at 49.) Nor do Defen-
          multidistrict litigation. See Bearings, 50               dants suggest how any relief available to
          F.Supp.3d at 867 (rejecting the defendants’              GEICO under its insurance contracts
          challenge under Illinois law); 9 Fuel Send-              might serve as an adequate remedy at law
          ers, 29 F.Supp.3d at 1022 (declining to                  for the overcharges giving rise to its
          dismiss the IPPs’ claim under Mississippi                claims of unjust enrichment. Finally, the

          9.     It also is worth noting that the Illinois deci-    accurate statement of the [Illinois] law on the
               sion cited by Defendants here, Martis v. Grin-       equitable claim for unjust enrichment,’’ Na-
               nell Mutual Reinsurance Co., 388 Ill.App.3d          tional Union Fire Insurance Co. v. DiMucci,
               1017, 329 Ill.Dec. 82, 905 N.E.2d 920, 928           393 Ill.Dec. 495, 34 N.E.3d 1023, 1043 (Ill.
               (2009), has been called into doubt as ‘‘not an       App. Ct. 2015).
Case 2:12-md-02311-SFC-RSW ECF No. 2060-13 filed 06/18/20                                PageID.37981       Page 58
                                    of 58



                               KESTERSON v. KENT STATE UNIVERSITY                                    855
                                       Cite as 345 F.Supp.3d 855 (N.D.Ohio 2018)

          Court has addressed and distinguished              opinion and order. In all other respects,
          many of the cases identified by Defendants         Defendants’ motion is denied.
          in support of this challenge. See Fuel
                                                                IT IS SO ORDERED.
          Senders, 29 F.Supp.3d at 1019; Instrument
          Panel Clusters, 2014 WL 2993753, at *27.

                                                                             ,
          Accordingly, this final challenge to GEI-
          CO’s claims of unjust enrichment lacks
          merit.


          V.   CONCLUSION

             For these reasons, the Court GRANTS                  Lauren KESTERSON, Plaintiff,
          IN PART and DENIES IN PART Defen-
                                                                                   v.
          dants’ April 14, 2017 collective motion to
          dismiss GEICO’s second amended com-                       KENT STATE UNIVERSITY,
          plaint (Dkt. 62). Specifically, this motion is                et al., Defendants.
          granted as to: (i) GEICO’s improper join-
                                                                          Case No. 5:16-cv-298
          der of sixteen part-specific antitrust con-
          spiracy claims in a single suit; (ii) GEICO’s              United States District Court,
          inadequate allegations of Article III stand-               N.D. Ohio, Eastern Division.
          ing to assert claims under the laws of each
          of the various jurisdictions identified in its                    Signed 11/05/2018
          complaint; (iii) GEICO’s lack of antitrust         Background: Public university student
          standing in its capacity as insurer to pur-        brought action against university, head
          sue claims under federal and state anti-           coach of university’s women’s softball
          trust law; (iv) GEICO’s assertion of anti-         team, and assistant coach, alleging, inter
          trust claims under the laws of the nine            alia, claim under Title IX against universi-
          jurisdictions identified earlier in this opin-     ty based on deliberate indifference, and
          ion as the ‘‘Nexus States,’’ as well as the        violation of the Equal Protection Clause
          laws of Utah and Oregon; (v) GEICO’s               against head coach, arising from student’s
          assertion of antitrust claims under the            report of her alleged sexual assault by
          laws of New Hampshire and Utah arising             another student, the head coach’s son. De-
          from conduct that predated the states’ en-         fendants moved for summary judgment.
          actment of Illinois Brick repealer provi-          Holdings: The District Court, Sara Lioi,
          sions; and (vi) GEICO’s assertion of con-          J., held that:
          sumer protection claims under the laws of
                                                             (1) head coach was not an appropriate per-
          Arkansas, New York, and Vermont in its
                                                                 son under Title IX notice require-
          capacity as insurer. With respect to GEI-
                                                                 ments;
          CO’s improper joinder of separate part-
          specific conspiracies in a single suit and its     (2) university was not liable to student
          inadequate allegations of Article III stand-           under Title IX for deliberate indiffer-
          ing, GEICO is granted leave to file sepa-              ence;
          rate suits for each of the alleged part-           (3) factual issues precluded summary
          specific conspiracies, and it may take this            judgment on claim against head coach
          opportunity to address the Article III                 for violation of Equal Protection based
          standing deficiencies identified in this               on deliberate indifference;
